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               UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF MICHIGAN


   THERISA D. ESCUE, BILLY R. ESCUE,
   JR., KIM SCHELBE, BRIAN P.
   WEATHERILL, KENNETH C. MORANDI,
   JILL JEFFRIES, and DANIEL SINGH on
   behalf of themselves and all others similarly   Case No. 2:24-cv-10853
   situated,
                                                   Hon. Brandy R. McMillion
                             Plaintiffs,
                                                   Hon Mag. David R. Grand
               v.
                                                   JURY TRIAL DEMANDED
   UNITED WHOLESALE MORTGAGE, LLC,
   UWM HOLDINGS CORPORATION,                       CLASS ACTION
   SFS HOLDING CORP., and
   MATHEW RANDALL ISHBIA,

                             Defendants.




              FIRST AMENDED CLASS ACTION COMPLAINT
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       Plaintiffs Therisa D. Escue, Billy R. Escue, Kim Schelble, Brian P.

 Weatherill, Kenneth C. Morandi, Jill Jeffries, and Daniel Singh, on behalf of

 themselves and all others similarly situated, based on personal knowledge as to

 themselves, and upon information and belief as to all other matters, allege as follows:

                                  INTRODUCTION

       1.     This straightforward case seeks to hold the largest wholesale mortgage

 lender in the United States, Defendant United Wholesale Mortgage, LLC (“UWM”),

 accountable for orchestrating and executing a deliberate scheme, in coordination

 with a host of corrupted mortgage brokers, to deceive hundreds of thousands of

 borrowers into paying billions of dollars in improper fees and excessive interest rates

 to finance their homes. The fraudulent scheme—and the illicit enterprise that UWM

 has assembled to perpetrate it—undermines the fundamental structure and purpose

 of the wholesale mortgage industry in America.

       2.     UWM and the brokers hired by class members hold out the wholesale

 channel as the best way for borrowers to obtain the most affordable mortgages

 because, unlike in the retail channel, borrowers in the wholesale channel are

 represented and guided by “independent” mortgage brokers who are supposed to

 survey options on their behalf and shop for the most competitive prices and rates. In

 reality, however, despite emphatic claims to the contrary, UWM does everything in

 its power to ensure that the mortgage brokers in its network are anything but



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 “independent.” Through systematic misrepresentations, deception, and unlawful

 inducements, UWM has corrupted brokers’ independence and conspired with them

 to induce class members to retain a broker in the wholesale channel on the premise

 that those brokers are independent and working on each class member’s behalf when

 those brokers are, in reality, UWM loyalists who then cooperate in a scheme with

 UWM to funnel those unsuspecting borrowers into UWM loans that are materially

 more expensive than the available alternatives. As a result, UWM has moved

 billions of dollars from the pockets of borrowers across the country into its own.

       3.     The residential mortgage industry in the United States is divided into

 two channels: retail and wholesale. American borrowers are likely most familiar

 with the retail channel, which constitutes the majority of the overall mortgage

 market. The retail channel is made up of numerous large national and regional

 financial institutions such as Chase, Bank of America, Citi, and many other

 household names. To obtain a mortgage through the retail channel, a prospective

 borrower reaches out directly to the financial institution and interacts with a loan

 officer who works for that specific institution. The loan officer then provides the

 prospective borrower with information and prices about the mortgage options

 offered only by that specific financial institution.

       4.     The key difference between the wholesale and retail channels is that, in

 the wholesale channel, the prospective borrower does not speak directly to the



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 lenders (e.g., they cannot simply walk into the lending institution and speak to its

 loan officer). Instead, to access offerings in the wholesale channel, the prospective

 borrower must hire an “independent mortgage broker” whose duties include, among

 other things, surveying the pricing and options offered by a variety of wholesale

 lenders, presenting the information to the borrower, counseling the borrower

 regarding the available options, and helping the borrower complete and submit loan

 application paperwork to lenders. For the broker’s work on behalf of the borrower,

 the independent mortgage broker is handsomely rewarded with a fee up to 4% of the

 principal amount of the loan upon closing.

       5.     According to UWM itself, the core value proposition underlying the

 wholesale channel—as distinct from the retail channel—is the hired independent

 mortgage broker’s independence.        Unlike a loan officer at a retail lender, an

 “independent” mortgage broker owes loyalty to the borrower, not the bank. Because

 the broker is not tied to any particular lending institution, the broker can collect and

 present options from many different lenders to ensure the borrower receives the most

 competitively priced options in their best financial interest.

       6.     Indeed, this distinction is the centerpiece of UWM’s marketing

 messages to the public, which are aimed at convincing prospective borrowers to get

 their mortgages through the wholesale channel instead of the retail channel because




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 “brokers are better.” Here is how Defendant Mat Ishbia, the Chief Executive Officer

 of UWM, describes the role of the mortgage broker:

              “Mortgage brokers are completely independent. They are
              not captive or connected to my company or any company.
              They are independently shopping. . . . We really believe
              that the best place for a borrower to get a loan, that’s at an
              independent mortgage broker. That’s because the broker
              has access to multiple lenders instead of just one lender. If
              you are a banker, you have access to just your lender.”1
       7.     And here is Mr. Ishbia again extolling the benefits of the wholesale

 channel over the retail channel:

              “Brokers have more products than any retail lender or
              big bank because they have access to multiple lenders. So
              if UWM has a unique product, brokers have access to that,
              just as they have access to Flagstar or Caliber’s unique
              products. So being a broker gives you more product
              options, not less, because brokers have access to all
              lenders.”2

       8.     And here again is Mr. Ishbia touting the ability of independent

 mortgage brokers to secure “the best deal” for borrowers by shopping the wholesale

 market including at UWM’s competitors like Quicken (now called Rocket

 Mortgage):



 1
  Tracey Velt, Transcript of Interview with Mat Ishbia, Feb. 15, 2019, available at
 https://www.realtrends.com/articles/mat-ishbia-ceo-united-wholesale-mortgage/.
 2
  Kimberly Greene, In order to grow, mortgage brokers need to know how to
 combat falsehoods, Mortgage Professional America, Mar. 13, 2019,
 https://www.mpamag.com/us/mortgage-industry/business-growth/fighting-myths-
 one-at-a-time/162167.


                                            4
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               “And so, what’s going to take us to number one is really
               just educating consumers because when people realize the
               best way to get a mortgage is cheaper, faster, and easier to
               go to a mortgage broker.                     So go to
               findamortgagebroker.com. You find a local mortgage
               broker. And they shop. They send you to me at UWM,
               or to Quicken, or whoever the best deal for you is. But
               you get a lower rate.”3

         9.    This is, of course, what thousands of so-called independent brokers

 themselves represent to their customers as well. On their websites, social media

 pages, and direct communications with borrowers, brokers hold themselves out as

 “trained professionals” who serve as “trusted guides” that “represent you.” As one

 broker website puts it:

               “Mortgage Brokers represent you, the customer, not the
               lender. Because they are not employees of a lending
               institution, Brokers are not limited in the product they
               can offer you. . . . There is a wide assortment of options
               and features available to homebuyers today. Shopping
               around takes a lot of time and effort. The mortgage
               process within today’s very competitive marketplace
               intimidates many homebuyers. It pays to work with a
               mortgage professional who will represent you and
               ensure the mortgage you get is the one best suited to
               your needs.”4

         10.   The problem is that this is all a giant put-on that UWM orchestrates. In

 fact, UWM even authors many of these brokers’ promises to, among other things,



 3
  Interview with Mat Ishbia, Yahoo! Finance Live, Dec. 4, 2020,
 https://www.facebook.com/MatIshbiaUWM/videos/1330920580574049/.
 4
     Edge Home Finance, https://edgehomefinance.com/about-us/.


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 shop around and to work on the borrower’s—not the lender’s—behalf in UWM-

 authored marketing templates that it provides to brokers to ensure substantial

 uniformity in the deceptive marketing. While UWM proclaims that “brokers are

 better” because they are “not captive or connected” to any one lender, but instead

 “independently shop” to get borrowers the “best deal,” UWM works deliberately to

 ensure this is not the case. Instead, in pursuit of increased revenues and market

 share, UWM has corrupted thousands of so-called “independent” mortgage brokers

 to make them captive and connected to UWM, so that they do not “independently

 shop.” This means borrowers do not get the “best deal.” Instead, they get the UWM

 deal—no matter what—even if it is significantly more expensive, as it almost

 always is.

       11.    As a result, hundreds of thousands of American consumers have been

 duped. In reliance on misleading representations and fraudulent omissions made to

 the public by UWM and the thousands of brokers it has roped into its enterprise,

 plaintiffs and members of the class each entered the wholesale channel rather than

 the retail channel and engaged an “independent” mortgage broker believing—as

 UWM wanted them to believe—that they would be getting “independent” advice

 and representation to help them find the most affordable and suitable mortgage loan

 available among multiple lenders. But instead, these hundreds of thousands of

 unsuspecting borrowers did not obtain any such “independent” advice or



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 representation—rather, they were ensnared in UWM’s scheme, and steered, without

 their knowledge, into UWM loans.

       12.    The statistics are astonishing. As of 2023, nearly half of all UWM

 mortgages are originated by brokers who refer 75% or more of their business to

 UWM. Over the past three years, UWM has issued nearly $39 billion in mortgages

 through purportedly “independent” brokers who refer 99% of their business to

 UWM. And during last year alone, more than 8,000 so-called “independent” brokers

 funneled 99% or more of their mortgages to UWM, worth at least $11.7 billion. In

 short, those brokers are not “independent” brokers shopping around to other lenders.

 They are not seeking the best prices for their principals. They are instead captive to

 UWM. Through a series of intentional and illegal practices, UWM has thus

 corrupted a large swath of brokers and turned them into the functional equivalent of

 “loan officers” that retail financial institutions use.

       13.    These corrupted brokers are in essence employees in the UWM

 enterprise. And thanks to a blizzard of misrepresentations and omissions from

 UWM and its broker partners that demonstrate a clear intent to deceive, hundreds of

 thousands of borrowers who finance their homes with UWM loans have entered into

 a mortgage transaction under a false understanding.          While these borrowers

 reasonably believed they did their due diligence in seeking out an independent

 mortgage broker who would prioritize their needs—not UWM’s—in reality, by



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 working with certain UWM-captive brokers, these borrowers were essentially and

 unknowingly predestined to get a UWM loan, even if it was not in their interests to

 do so.

          14.   The consequences to these UWM borrowers have been devastating.

 Not only were they deprived of the very “independent” representation that they

 sought (and paid for) in making one of the largest financial decisions of their lives,

 but UWM rarely offered the best available pricing throughout the past four years and

 routinely charged fees and costs that substantially exceeded their competitors’

 offerings to the tune of billions of dollars.

          15.   At bottom, UWM and its corrupted brokers have been richly rewarded

 for their illicit activities, siphoning billions of dollars from consumers in fees and

 costs by funneling them to UWM loans against their financial interests. Consumers

 are the unwitting victims in the scheme, mere afterthoughts in UWM’s scheme to

 enrich itself. This action therefore seeks to rectify UWM’s cynical, destructive

 campaign to take advantage of American borrowers who sought exactly what UWM,

 its CEO Mat Ishbia, and their corrupted brokers promised—“independent[]

 shopping,” honest “access to multiple lenders instead of just one lender,” and “the

 best deal” at the “lowest rate”—but who received exactly the opposite, costing them

 billions of dollars.




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                                   THE PARTIES

       16.    Plaintiffs Therisa D. Escue and Billy R. Escue are residents of

 Tennessee.

       17.    Plaintiff Kim Schelble is a resident of North Carolina.

       18.    Plaintiff Brian P. Weatherill is a resident of Florida.

       19.    Plaintiff Kenneth C. Morandi is a resident of California.

       20.    Plaintiffs Jill Jeffries and Daniel Singh are residents of Florida.

       21.    Defendant United Wholesale Mortgage, LLC (“UWM”), formerly

 known as United Shore Financial Services, LLC, is a limited liability company

 formed in the state of Michigan with a principal place of business in Pontiac,

 Michigan.

       22.    UWM Holdings, LLC (“Holdings LLC”) is a limited liability company

 formed in the state of Delaware with a principal place of business in Pontiac,

 Michigan. Holdings LLC is the sole member and manager of UWM.

       23.    Defendant UWM Holdings Corporation (“Holdings Corp.”) is a

 Delaware corporation with a principal place of business in Pontiac, Michigan.

 Holdings Corp. is the publicly traded corporate parent of Holdings LLC and its

 operating subsidiary, UWM.

       24.    Defendant SFS Holding Corp. (“SFS Corp.”) is a Michigan corporation

 with a principal place of business in Pontiac, Michigan. Prior to the closing of a



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 business combination transaction in January 2021, SFS Corp. was the sole member

 and owner of UWM. Currently, SFS Corp. holds and controls approximately 79%

 of the combined voting power of the common stock of Holdings Corp. and thereby

 controls Holdings Corp. and its subsidiaries, including Holdings LLC and UWM.

 With respect to Holdings Corp., SFS Corp. “[has] the ability to determine all

 corporate actions requiring stockholder approval, including the election and removal

 of directors and the size of [its] Board, any amendment to [its] certificate of

 incorporation or bylaws, or the approval of any merger or other significant corporate

 transaction, including a sale of substantially all of [its] assets.”5 SFS Corp. is owned

 and controlled by members of the Ishbia family, including Mathew Ishbia, his

 brother Justin Ishbia, and his father Jeffrey A. Ishbia. SFS Corp., Holdings Corp.,

 Holdings LLC, and UWM are referred to collectively herein as the “UWM Entities”.

       25.    Defendant Mathew Randall Ishbia is the Chief Executive Officer of

 UWM, the Chairman, President and Chief Executive Officer of Holdings Corp., the

 Secretary and Director of SFS, and a resident of Bloomfield Township in the state

 of Michigan.




 5
  UWM Holdings Corporation, Annual Report (Form 10-K) (“UWM 2023 Form
 10-K”) at 33 (Feb. 28, 2024),
 https://www.sec.gov/edgar/browse/?CIK=1783398&owner=exclude.


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                           JURISDICTION AND VENUE

       26.    This Court has subject matter jurisdiction over this action pursuant to

 28 U.S.C. § 1332(d)(2)(A) because this is a class action for a sum exceeding

 $5,000,000.00, exclusive of interest and costs, and at least one class member is a

 citizen of a state different than the Defendants.

       27.    Personal jurisdiction over Defendants is proper because Defendants

 either (i) reside, are headquartered and/or incorporated in Michigan; (ii) regularly

 conduct business in Michigan, and/or (iii) have otherwise intentionally availed

 themselves of the Michigan consumer market by engaging in or facilitating

 mortgage loan transactions with consumers in Michigan. Personal jurisdiction is

 also proper because Defendants knowingly entered into a conspiracy with Michigan-

 based Defendants to deceive Plaintiffs and the class and deprive them of benefits of

 hiring mortgage brokers, and overt acts in furtherance of the conspiracy were

 committed in Michigan for the benefit of Defendants. This purposeful availment

 renders the exercise of jurisdiction by this Court over Defendants permissible under

 traditional notions of fair play and substantial justice.

       28.    Venue is proper in this district pursuant to 28 U.S.C. § 1391 because

 numerous Class Members reside in this District; Defendants engaged in business in

 this District; a substantial part of the events or omissions giving rise to the claims at




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 issue occurred in this District; and because Defendants entered into transactions

 and/or received substantial profits from Class Members who reside in this District.

                            FACTUAL ALLEGATIONS
 I.    Wholesale Mortgages, Unlike Retail Mortgages, Are Originated
       Through Third Party Intermediaries: “Independent” Mortgage Brokers
       29.    Residential mortgage loans in the United States generally fall into one

 of two categories: (1) retail mortgage loans, and (2) wholesale mortgage loans.

       30.    Retail mortgage loans are originated through a direct interaction

 between the prospective borrower and the lender. In the retail setting, the borrower’s

 financial interests are not represented by a third-party broker with fiduciary duties

 to the borrower. The borrower approaches the lender directly and works with an in-

 house loan officer to (i) complete a loan application, (ii) consider the various

 mortgage products offered by the lender, and (iii) submit the necessary

 documentation for income verification and underwriting. The entire loan origination

 transaction occurs within the corporate structure of the retail lender and the loan is

 closed using lender-supplied funds.6 Direct-to-consumer mortgage loans account

 for the majority of mortgage loans in the United States—over 61.2% (or $982




 6
  See Loan Originator Compensation Requirements Under the Truth in Lending
 Act (Regulation Z), 78 FR 11280, 11284,
 https://www.federalregister.gov/documents/2013/02/15/2013-01503/loan-
 originator-compensation-requirements-under-the-truth-in-lending-act-regulation-z.


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 billion) as of 2023.7 Major retail lenders include big banks (like Wells Fargo, Bank

 of America, and Chase), online non-bank mortgage lenders (like Rocket Mortgage

 and LoanDepot), and credit unions (like Navy Federal Credit Union).

       31.    The remaining 38.8% (or $623 billion) of mortgage loans are originated

 through what is often called the “wholesale channel.”8 Wholesale mortgage loans,

 unlike retail mortgage loans, are originated through a process that involves a third-

 party intermediary—an independent mortgage broker.9            Instead of interacting

 directly with the lender, the prospective borrower hires the services of a mortgage

 broker who (i) collects relevant information about the borrower’s finances and the

 amount of the desired loan, (ii) surveys the wholesale market to determine what loan

 products and rates are available to the borrower from a variety of wholesale

 mortgage lenders, (iii) helps the borrower evaluate the options to select the loan with

 the best pricing, and (iv) communicates with the lender on the borrower’s behalf to

 complete the application and close the loan. Borrowers rely on the relationships and



 7
  Inside Mortg. Fin., First-Lien Mortgage Originations by Production Channel
 (published Feb. 29, 2024),
 https://www.insidemortgagefinance.com/products/313551-originations-by-
 production-channel-2003-4q23-pdf.
 8
  Id. This channel is sometimes called the “third-party origination” or “TPO”
 channel as well.
 9
  Unless otherwise indicated, the term “broker” as used herein refers collectively to
 mortgage brokers who operate in the wholesale channel and the individual loan
 officers who work with and for them.


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 expertise of their broker to find and recommend the loan product that is most

 affordable.

       32.     Upon closing, mortgage brokers receive compensation, typically in the

 form of a fee or commission equivalent to between 1% and 4% of the principal

 amount of the loan. Broker compensation is usually paid through the lender, though

 in some cases, the borrower may pay directly instead.             Even when broker

 compensation is paid by the lender, however, borrowers often pay extra financing

 charges to the lender to cover the cost of broker compensation.

       33.     Independent mortgage brokers’ conduct and compensation is subject to

 standards and limits prescribed by various federal and state statutes and authorities.

 In the wake of the financial crisis of 2008, which was fueled in part by incentives

 that drove deceptive and reckless business practices on the part of mortgage brokers,

 legislation at federal and state level sought to strengthen and codify rules concerning

 brokers’ duties to their clients and the manner in which brokers may be compensated.

       34.     At the federal level, mortgage brokers are subject to requirements under

 the Truth in Lending Act (“TILA”), as modified by the Dodd-Frank Wall Street

 Reform and Consumer Protection Act (“Dodd-Frank”), which places limitations and

 caps on broker compensation,10 and prohibits brokers from steering consumers into


 10
   See, e.g., 12 C.F.R. § 1026.43(e)(3)(i); Consumer Financial Protection Bureau,
 Summary of the final rule on mortgage loan originator qualification and


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 higher-cost mortgage loans based on the prospect of additional benefit to the broker

 unless such loans are in the borrower’s interest.11 Mortgage brokers are also subject

 to the Real Estate Settlement Practices Act (“RESPA”), which prohibits a lender

 from providing any “fee, kickback or thing of value” to a broker pursuant to any

 agreement or understanding that the broker will refer mortgage loan business to a

 particular lender.12

          35.   At the state level, numerous state legislatures have passed statutes

 concerning mortgage brokers’ duties to borrowers.13 Moreover, even aside from the

 statutes specifically defining a mortgage broker’s duty, states across the country

 have recognized a mortgage broker’s heightened responsibility based on its agency

 or fiduciary relationship with the borrower.        And through various consumer




 compensation practices (Jan. 2013),
 https://files.consumerfinance.gov/f/201301_cfpb_loan-originator-compensation-
 rule_summary.pdf.
 11
      See, e.g., 15 U.S.C. § 1639(p)(2); 12 C.F.R. § 1026.36(e).
 12
      See 12 U.S.C. § 2607(a); 12 C.F.R. § 1024.14(b).
 13
   See, e.g., Cal. Civ. Code § 2923.1 (“A mortgage broker providing mortgage
 brokerage services to a borrower is the fiduciary of the borrower”); N.C. Gen. Stat.
 Ann. § 53-244.109(9)-(10) (“Any mortgage broker engaged in the mortgage
 business . . . shall . . . [r]epresent the borrower’s best interest in the course of
 brokering a mortgage loan . . . [and] have a duty of loyalty to the borrower, which
 shall include a duty not to compromise a borrower’s right or interest in favor of
 another’s right or interest, including a right or interest of the mortgage broker.”).


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 protection laws, states prohibit business practices that deceive, mislead, defraud, or

 are unfair toward consumers.

         36.   Lenders like UWM are keenly aware of brokers’ obligations to their

 borrowers under state and federal law. For instance, in its most recent Annual Report

 submitted to the Securities and Exchange Commission (“SEC”), UWM advises

 investors that brokers “are subject to parallel and separate legal obligations” and that

 “[w]hile these laws may not explicitly hold the originating lenders responsible for

 the legal violations of [brokers], U.S. federal and state agencies increasingly have

 sought to impose such liability.”14

 II.     According to UWM and Others, the Core Value Proposition of the
         Wholesale Channel Arises from the Mortgage Broker’s “Independence”
         from the Lender

         37.   Borrowers who are interested in obtaining mortgages have a key,

 threshold decision to make: whether to enter into the retail channel or the wholesale

 channel. UWM – and the brokers with which it has conspired – work to persuade

 prospective borrowers to enter into the wholesale channel. The more borrowers that

 enter the wholesale channel, the more potential clients UWM and those brokers have

 in the market. By contrast, prospective borrowers who enter the retail channel

 instead cease to be a potential borrower for UWM and a client for wholesale channel

 brokers.


 14
      UWM 2023 Form 10-K at 15.


                                           16
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       38.    In view of this, UWM and the brokers with which it has conspired tout

 that a key distinguishing feature of entering the wholesale mortgage channel rather

 than the retail channel is that, in the wholesale channel, a borrower engages an

 independent mortgage broker who represents the borrower through the open market

 process. That is a premium service, that borrowers pay a premium for, as distinct

 from the retail channel where a borrower does not retain a broker and thus does not

 pay for such services.

       39.    Buying a home is the most consequential financial transaction that most

 Americans will make in their lifetimes. For many, the process can be overwhelming.

 Prospective borrowers that choose to enter the wholesale channel and hire mortgage

 brokers—rather than simply entering the retail market—do so because they are

 promised a trusted agent that will guide them through the process and provide them

 confidence and security in connection with this important decision in their lives. The

 assurance of the mortgage broker’s “independence” and undivided loyalty is what

 the borrower is paying for. When a borrower hires an independent broker, the

 borrower is paying for assuredness that the broker will honestly serve his or her

 principal in an unconflicted manner, and that the broker does not maintain

 relationships with lenders that limit, and/or that are designed to limit, the broker’s

 ability to present competitive and affordable mortgage options.




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       40.    As one UWM-funded industry trade group, the Association of

 Independent Mortgage Experts (“AIME”), has explained, the independence of the

 mortgage broker is essential from the borrower’s perspective. For the borrower, the

 value of working with an independent mortgage broker derives primarily from the

 broker’s ability “review loan offerings from different lenders to find the best option

 for borrowers” and to “negotiate with mortgage lenders to get the most competitive

 interest rates and pricing.”15 If brokers are captive to a particular lender and do not

 independently represent the interests of their clients, borrowers are deprived of the

 economic benefit of an open competitive market for wholesale loans.

                                       Figure 1




 15
   See Figure 1, Independent Mortgage Brokers Create Value for Homeowners
 Across America, AIME Infographic, https://aimegroup.com/wp-
 content/uploads/2022/07/AIME-Infographic-Print-Original-Format-1.pdf.


                                           18
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       41.    A broker’s independence also is essential to the broker’s ability to be

 economically competitive—or at least it should be in a functioning, non-corrupted

 market for wholesale loans. Brokers attract borrowers by promising to find them the

 most competitive loan terms available. To actually find competitive loan terms for

 borrowers, brokers must survey a variety of lenders in the market because lenders

 are constantly competing with one another to earn business themselves, and no

 individual lender is always offering the best terms. In other words, in a properly

 functioning wholesale mortgage market, brokers can successfully compete for

 business from prospective borrowers only by working with multiple lenders and

 allocating loans to whichever lender is offering the most attractive terms at the

 relevant time.

       42.    As AIME has explained: “One of the most important things for brokers,

 and what makes them brokers, is their ability to work with a variety of lenders.”

 “In order to remain competitive in an increasingly competitive purchase

 environment, mortgage brokers need to provide an array of loan options from a

 variety of wholesale mortgage lenders to fully support the changing demographics

 of the American homeowner.”16 A broker, AIME explains, should distribute loans




 16
   How to Grow Your Brokerage by Diversifying Your Mortgage Lenders, AIME,
 Jul. 7, 2021, https://aimegroup.com/how-to-grow-your-brokerage-by-diversifying-
 your-mortgage-lenders/.


                                         19
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 among at least seven different lenders, with no lender receiving more than 31.4% of

 the broker’s loans17

                                      Figure 2




       43.    Mortgage brokers acknowledge the importance of maintaining their

 independence—or at least the appearance of independence—from any particular

 wholesale lender in the market. As one broker who previously has sent loans to

 UWM has explained, if borrowers knew that a broker was funneling loans to a




 17
   Figure 2, How to Grow Your Brokerage by Diversifying Your Mortgage Lenders,
 AIME, Jul. 7, 2021, https://aimegroup.com/how-to-grow-your-brokerage-by-
 diversifying-your-mortgage-lenders/.


                                         20
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 particular lender, that broker would be at a “huge competitive disadvantage” because

 borrowers would flock to competitors who can actually tout their independence and

 lower rates.

         44.    Put differently, in the wholesale channel, if Broker A is independent

 and Broker B is captive to one lender, and these facts are actually disclosed to (rather

 than concealed from) prospective borrowers, Broker A will out-compete Broker B

 and win more business from prospective borrowers over time. This is unsurprising:

 prospective borrowers who choose to enter into the wholesale channel in the first

 place do so because they prioritize the confidence and security that comes with

 having an independent broker working on their behalf. They do not enter the

 wholesale channel to hire a broker who operates in substantially the same way as a

 loan officer in the retail channel.

         45.    Consistent with this, numerous industry websites, publications, and

 experts routinely tout the “independence” of mortgage brokers as the central reason

 why borrowers should hire and rely on them. A broker’s lack of attachment to any

 particular lender, they often explain, creates flexibility enabling the broker to shop

 across multiple lenders to find the borrower the best available loan. For example,

 industry experts and trade groups, including organizations funded by UWM, have

 said:




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             a. “Brokers work for the borrower, not the bank. Independent
                mortgage brokers have flexibility to shop rates from multiple
                lenders with unmatched earning potential.”18

             b. “One of the most important things for brokers, and what makes
                them brokers, is their ability to work with a variety of lenders. Not
                only does that ability allow brokers to shop for the best price and
                process for their clients, but also allows them to handle
                unconventional loans. That optionality may be even more important
                as a more diverse and younger group of people begin looking for
                homes.”19

             c. “Mortgage brokers are the matchmakers of the home-buying
                process. They work on the homebuyer’s behalf and shop multiple
                lenders to find the rates and terms that meet their clients’ needs.
                Mortgage brokers usually rely on their relationships with wholesale
                lenders . . . who offer discounted rates that aren’t available
                directly.”20

             d. “Typically, brokers provide . . . [m]ore options to the consumer, by
                enabling them to shop the market for the best price.”21

             e. “A mortgage broker works to connect home buyers or homeowners
                with the best mortgage rates possible. . . . [W]ith a mortgage broker



 18
   Why Brokers Are Better, brokersarebetter.com,
 https://brokersarebetter.com/why-brokers-are-better/.
 19
   How To Grow Your Brokerage By Diversifying Your Mortgage Lenders, AIME
 Group, Jul. 7, 2021, https://aimegroup.com/how-to-grow-your-brokerage-by-
 diversifying-your-mortgage-lenders/.
 20
   Wholesale Mortgage vs Retail Mortgage: What's the Difference?,
 beamortgagebroker.com, Mar. 27, 2020,
 https://www.beamortgagebroker.com/blueprint-blog/wholesale-mortgage-vs-retail-
 mortgage.
 21
   Mortgage 101: What’s the Difference Between a Mortgage Broker and a
 Mortgage Banker?, AIME Group, https://aimegroup.com/wp-
 content/uploads/2022/07/AIME_BankerVsBroker.pdf.


                                         22
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                     in your corner, you gain access to a wider network of lenders – and
                     that alone could pave the way to a really good deal.”22

                  f. “If you’re the type of shopper who always buys at the first store or
                     gets overwhelmed by options, a bank or online lender may be best.
                     If you want a mortgage veteran to shop loans and communicate
                     with lenders on your behalf to find you the best rate (think lower
                     monthly payments), you’ll need to find a mortgage broker.”23

            46.   UWM routinely promotes, echoes, and amplifies the same messages

 concerning the critical importance of mortgage broker independence.

            47.   In particular, UWM’s CEO Mat Ishbia regularly and publicly touts

 mortgage brokers’ ability to independently shop options from multiple lenders as a

 key reason why the “broker” channel is more beneficial than retail. For example,

 Ishbia has said:

                  a. “Mortgage brokers are completely independent. They are not
                     captive or connected to my company or any company. They are
                     independently shopping. . . . We really believe that the best place for
                     a borrower to get a loan, that’s at an independent mortgage broker.
                     That’s because the broker has access to multiple lenders instead of
                     just one lender. If you are a banker, you have access to just your
                     lender.”24

                  b. “The broker versus banker, we’re all originators out there trying to
                     help consumers, which is great. We believe that options are better,
                     more options are better than less and that’s why we believe in the
                     broker channel and that’s why we’ve invested all of our time and

 22
   Maurie Backman, What Is a Mortgage Broker, The Ascent, Feb. 22, 2023,
 https://www.fool.com/the-ascent/mortgages/what-mortgage-broker/.
 23
      Id.
 24
   Tracey Velt, Transcript of Interview with Mat Ishbia, Feb. 15, 2019, available at
 https://www.realtrends.com/articles/mat-ishbia-ceo-united-wholesale-mortgage/.


                                              23
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                effort in trying to help the broker channel grow and thrive because
                it’s best for consumers and best for our loans and that’s where we’ve
                been aligned for the last couple of years.”25

             c. “Brokers have more products than any retail lender or big bank
                because they have access to multiple lenders. So if UWM has a
                unique product, brokers have access to that, just as they have access
                to Flagstar or Caliber’s unique products. So being a broker gives
                you more product options, not less, because brokers have access to
                all lenders.”26

             d. “Wholesale lenders must offer competitive pricing to compete. They
                don’t have a captive loan like big banks and retail lenders do. Retail
                lenders know that if a loan comes to their system, they are getting
                that loan whether their price is 4.5% or 4.625%, it doesn’t matter.
                In wholesale, if their rate is 4.625% instead of 4.5%, they don’t
                have a chance to compete. The loan will go somewhere else. So
                thinking that it’s more expensive to go to a middleman is just not
                true.”27

             e. “Whether you’re shopping for a house, an airline ticket or groceries,
                it’s always better to have options. Imagine what life would be like
                if you were limited to only one choice for everything. It’s the same
                thing when it comes to mortgages. Loan originators on the retail
                side are captive to one set of programs, one set of rates and one set
                of turn times. They’re limited to the products, pricing and programs
                that they have in-house. On the other hand, brokers have access to
                numerous lenders, which ensures they have far more options when




 25
      Id.
 26
   Kimberly Greene, In order to grow, mortgage brokers need to know how to
 combat falsehoods, Mortgage Professional America, Mar. 13, 2019,
 https://www.mpamag.com/us/mortgage-industry/business-growth/fighting-myths-
 one-at-a-time/162167.
 27
      Id.


                                         24
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                it comes to products, pricing, guidelines, and turn times, which in
                turn means better solutions for clients.”28

             f. “And so, what’s going to take us to number one is really just
                educating consumers because when people realize the best way to
                get a mortgage is cheaper, faster, and easier to go to a mortgage
                broker. So go to findamortgagebroker.com. You find a local
                mortgage broker. And they shop. They send you to me at UWM,
                or to Quicken, or whoever the best deal for you is. But you get a
                lower rate.”29

             g. “[W]e’re wholesale, which means we offer lower rates. And you
                have to get our rates through an independent mortgage broker.
                Mortgage brokers offer lower rates and fees to consumers. It’s not
                my opinion. It’s fact. It’s backed up by data after data, after data
                point that if you go alone to, uh, you know, mortgage broker,
                findamortgagebroker.com or wherever you may go to find a local
                mortgage broker, you will get lower rates.”30

             h. “What excites me is the impact we can make on consumers because
                consumers don’t know how to get a mortgage. They still think you
                call a bank or you ask your parents and you put 20 percent down.
                It’s just the wrong way. You got to go to findamortgagebroker.com.
                You find a local person that's an expert and they will shop on your
                behalf.”31



 28
   Mat Ishbia, Game over: Independent mortgage broker shops are obvious choice
 for LOs, HousingWire, Apr. 1, 2019, https://www.housingwire.com/articles/48679-
 game-over-independent-mortgage-broker-shops-are-obvious-choice-for-los/.
 29
   Interview with Mat Ishbia, Yahoo! Finance Live, Dec. 4, 2020,
 https://www.facebook.com/MatIshbiaUWM/videos/1330920580574049/.
 30
   Mat Ishbia on Leadership and Mortgage Lending, Masters in Business,
 BLOOMBERG, at 17:00, Jul. 16, 2021, https://podcasts.apple.com/us/podcast/mat-
 ishbia-on-leadership-and-mortgage-lending/id730188152?i=1000529129066.
 31
   Mat Ishbia – CEO of United Wholesale Mortgage Speaks on Company Culture
 and Leadership, The Casey Adams Show, at 18:00, Nov. 4, 2021,
 https://www.youtube.com/watch?v=-Nq5cXfW2J4.


                                        25
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              i. “Brokers are independent loan officers that are not captive to one
                 lender, not captive to me, not captive to anyone. They’re
                 independent. And if I'm a loan officer, why would I want to be
                 captive? I’d rather be independent. And so it's happening.”32

              j. “[O]ur job is to empower mortgage brokers. . . They are the fastest,
                 easiest, and cheapest way to get a mortgage. And that's not my
                 opinion its supported by data and facts. And so what my job is, is
                 to make sure. That they stay fastest and easiest. We already know
                 they’re cheaper. So if, if you learn nothing from me or nothing, like
                 the cheapest way to get a mortgage is through a mortgage broker
                 and that's findamortgagebroker.com.”33

       48.    And Ishbia is not the only one at UWM attempting to convince

 consumers of brokers’ independence. In fact, UWM’s representations concerning

 the importance of brokers’ independence and access to options are so pervasive they

 can be characterized as the cornerstone of UWM’s marketing message.

       49.    UWM’s public-facing social media accounts frequently emphasize

 brokers’ independence and ability to shop across multiple lenders.           As one

 emblematic example on UWM’s Instagram account demonstrates, UWM represents

 to the public that the key attributes of an independent mortgage broker are that he or




 32
   Mat Ishbia on how UWM is prepared for the 2022 market, Power House
 Podcast, HousingWire, at 0:20, Mar. 24, 2022,
 https://podcasts.apple.com/us/podcast/mat-ishbia-on-how-uwm-is-prepared-for-
 the-2022-market/id1426081802?i=1000555098554.
 33
   Mortgage Rate Predictions from the Nation’s #1 Lender w/Mat Ishbia,
 BiggerPockets Real Estate Podcast, at 13:00, Sep. 6, 2022,
 https://podcasts.apple.com/na/podcast/biggernews-september-mortgage-rate-
 predictions-from/id594419649?i=1000578498263.


                                          26
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 she “WORKS ON YOUR BEHALF,” “PROVIDES MORE LOAN OPTIONS,” and

 is “NOT TIED TO ONE LENDER.”34

                                      Figure 3




       50.   UWM’s          public-facing        broker      directory      website,

 MortgageMatchup.com (which is discussed in more detail in Section V.C. infra),

 also emphasizes broker independence. In a UWM-authored blog post intended to

 educate prospective borrowers about the difference between the retail and wholesale

 channels, UWM represents: “A loan officer is an employee of a bank or retail lender

 that can only offer mortgage loan products and rates on behalf of their employer. In

 contrast, a mortgage broker works on your behalf to secure the home loan that

 best suits your situation and needs. Brokers can work alone or within a mortgage


 34
   Figure 3, @uwmlending, Instagram (Oct. 30, 2020),
 https://www.instagram.com/p/CG-jVgGJTrI/.


                                         27
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 brokerage, but they all leverage access to multiple lenders to present the best loan

 options available.”35

       51.    Broker independence is likewise a point of emphasis in UWM’s

 investor-facing communications. In UWM’s 2022 Annual Report to the SEC, for

 example, the company included a section explaining the benefits of the wholesale

 channel for borrowers, which stated: “Independent Mortgage Brokers are able to

 provide borrowers with multiple options on product structure and pricing rather than

 being rooted in a single platform offering, which we believe empowers borrowers

 and enhances their borrowing experience.” It further stated: “In the wholesale

 channel, the interests of the Independent Mortgage Broker and the borrower are

 aligned to achieve the best outcome for the borrower . . . .”36

       52.    The purpose and effect of these messages is to convey not only that a

 broker’s independence is essential to her or his ability to source competitive loan

 pricing for borrowers, but also that each broker who originates a loan through UWM

 is “completely independent,” has “access to all lenders,” “shops” for the best price


 35
   5 Facts about Your Local Mortgage Broker, MortgageMatchup.com,
 https://mortgagematchup.com/resources/blog/5-facts-about-your-local-mortgage-
 broker.
 36
   UWM Holdings Corporation, Annual Report (Form 10-K) (“UWM 2022 Form
 10-K”) at 5 (Mar. 1, 2023),
 https://www.sec.gov/ix?doc=/Archives/edgar/data/0001783398/000178339823000
 008/uwmc-20221231.htm. Notably, UWM removed this language from its 2023
 Annual Report.


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 without being “captive or connected” to UWM, and that they choose UWM to “get

 a lower rate.”

       53.    UWM does not stop there. Pursuant to UWM’s instructions, mortgage

 brokers themselves frequently parrot similar representations to the public. In an

 effort to win prospective borrowers’ trust, confidence, and ultimately their business,

 thousands of brokers and loan officers across the country consistently emphasize

 their lack of attachment to any single lender and their consequent freedom to act on

 a borrower’s behalf and in pursuit of the borrower’s best interests. For example,

 brokers’ websites, social media platforms, public statements to the press, and private

 statements to prospective borrowers often include representations like:

              a. “Shopping around for the most affordable option is not just for cars
                 or vacations, it’s for mortgages, too. We’re brokers—we partner
                 with a variety of lenders to find the ideal solution for you.”37

              b. “Retail mortgage rates leaving a lot to be desired? You’re not alone,
                 and you’re not out of options! Wholesale brokers (like me!) can
                 shop multiple lenders to find the most competitive rates on the
                 market. DM me to see how much you could save!”38

              c. “Getting something you want for less requires a little comparison
                 shopping—that’s exactly what independent mortgage brokers like

 37
   Whitney Bulbrook, LinkedIn, May 12, 2024,
 https://www.linkedin.com/posts/whitney-bulbrook-cv_shopping-around-for-the-
 most-affordable-option-activity-7195482882801381377-
 WxH6?utm_source=share&utm_medium=member_desktop.
 38
   Whitney Bulbrook, LinkedIn, Feb. 20, 2024,
 https://www.linkedin.com/posts/whitney-bulbrook-cv_retail-mortgage-rates-
 leaving-a-lot-to-be-activity-7165782176146317312-cZH8/.


                                          29
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                me do every day. Call me and we’ll find the right home loan option
                for you.”39

             d. “Why work with big banks and corporations when independent
                mortgage professionals provide faster closings, better service and
                lower rates? We shop multiple lenders to find the best rate and
                product for your needs.”40

             e. “When you work with a local independent mortgage broker like me
                . . . You’re getting a mortgage expert . . . I have the access and know-
                how to shop dozens of lenders on your behalf . . You get all the
                benefits of shopping around without having to do the legwork.”41

             f. “Banks are a one-stop shop. They shop once, then they stop. Work
                with an independent mortgage broker that doesn’t stop shopping
                until they find the option that suits you best! Call today.”42

             g. “Retail lenders and banks offer fewer options! Independent
                mortgage brokers like us are able to partner with multiple lenders to
                find you great loans and rates. Reach out to me to see what I can do
                for you.”43



 39
   Jason Hands at Simple Home Lending, Facebook, Feb. 9, 2024,
 https://www.facebook.com/jrthands/photos/getting-something-you-want-for-less-
 requires-a-little-comparison-shopping-thats-
 /932276458907219/?paipv=0&eav=AfbQWuG90-
 KBV_F7vvOkbhkb24mqqXfZfO0j-kXviB4vejyP7vcsfX2c6QGMlRESAks&_rdr.
 40
   @skyeclosesmaine, Instagram, May 26, 2021,
 https://www.instagram.com/p/CPVv6z-Aqiv/?hl=en.
 41
   @skyeclosesmaine, Instagram, Feb. 28, 2022,
 https://www.instagram.com/p/CaiXy3orFd4/?hl=en&img_index=1.
 42
    Lee Lieberman, LinkedIn, Mar. 31, 2023, https://www.linkedin.com/posts/lee-
 lieberman-7133296_banks-are-a-one-stop-shop-they-shop-once-activity-
 7047601888912887808-qYgD/.
 43
   Erik, Fritsche, LinkedIn, Dec. 23, 2023,
 https://www.linkedin.com/posts/activity-7144356005483589632-
 UHkS?utm_source=share&utm_medium=member_desktop.


                                          30
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             h. “As a mortgage broker at Epoch Lending, I’m not captive to what
                only one company or lender can offer . . . I have options to suit all
                of my clients’ needs – if the program exists, I can get access to it.
                This allows me, and every other broker, to help more people achieve
                homeownership.”44

       54.   UWM is directly involved in these and other representations that many

 brokers make to their current and prospective clients. UWM instructs brokers to use

 marketing tools designed by UWM’s in house marketing team to standardize and

 coordinate the promotional appeals that brokers make to prospective borrowers.

       55.   To take one example, UWM has partnerships with at least two website

 development vendors—LenderHomePage and TAYGO—and provides brokers in its

 network “turnkey website templates.”45 Brokers can simply select a template with

 marketing language and features that UWM itself has produced, reviewed, and

 approved, and then customize their website by adding their specific colors and

 branding. Among other things, the templates come with “[b]uilt-in SEO” (search

 engine optimization), “[a]utomated chat engagement,” “[m]obile apps,” and

 “[m]ortgage marketing support.”46



 44
    Quote from Chad Cattani of Epoch Lending in Mortgage Banker Vs. Mortgage
 Broker: Why Independence Is Better, AIME Group, Mar. 1, 2022, available at
 https://aimegroup.com/mortgage-banker-vs-mortgage-broker-why-independence-
 is-better/.
 45
   Figure 4, https://www.lenderhomepage.com/uwm/
 46
   BUILD YOUR OWN WEBSITE, https://www.uwm.com/grow-your-
 business/more-marketing-tools/build-your-own-website.


                                         31
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                                       Figure 4




       56.    UWM embeds marketing messages in these templates that advertise

 these brokers’ purported independence. For example, UWM provides brokers a

 template that includes a “blog post” titled “How Working With A Mortgage

 Professional Can Save You Money,” which explains: “Mortgage professionals

 specialize in finding mortgages that meet your needs – they’re not a salesperson

 trying to push a particular loan product. Instead, they help you find a loan that fits

 your financial situation, which enables you to save cash.”47




 47
   Figure 5, How Working With A Mortgage Professional Can Save You Money,
 https://on-lab-wwj4.lhp3.lhpdomains.com/blog/how-working-with-a-mortgage-
 professional-can-save-you-money.


                                          32
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                                    Figure 5




       57.   This very same “blog post” appears over and over on the websites of

 broker after broker, thus amplifying and parroting UWM’s own deceptive messaging

 and misrepresentations to prospective borrowers. 48 In this way, UWM uses its


 48
  Figure 6, https://www.visiononemortgage.com/blog/how-working-with-a-
 mortgage-professional-can-save-you-money;


                                       33
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 corrupted brokers as a vehicle for UWM to induce borrowers to enter the wholesale

 channel, retain those brokers, and ultimately be funneled into a UWM loan.

                                     Figure 6




 https://www.steadfastmortgage.com/blog/how-working-with-a-mortgage-
 professional-can-save-you-money; https://www.hawaiiloans.com/blog/how-
 working-with-a-mortgage-professional-can-save-you-money;
 https://www.libertyrva.com/blog/how-working-with-a-mortgage-professional-can-
 save-you-money.


                                        34
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       58.    Additionally, UWM instructs brokers to use a marketing portal called

 “Brand 360,” which includes a tool called “Brand Builder.” As UWM describes it:

              “[Brand Builder] is like having your own team of
              marketing professionals without the expense. Use Brand
              Builder to promote your business to borrowers and real
              estate agents by sending out completely customized emails
              and fliers, or create social graphics and videos and post
              them directly to your social account. Start by selecting a
              campaign or product, choose from dozens of
              professionally written and designed materials, and then
              personalize them with your company logo, font, and color.
              You can even swap out images for ones that are better
              representative of your area or region of the country.”49

       59.    UWM’s account executives strongly encourage all brokers and loan

 officers in UWM’s network to use each of its Brand 360 tools, including Brand

 Builder. They also frequently give training presentations to educate brokers and

 loan officers on how to use UWM’s various marketing tools. As one UWM account

 executive explained in one such presentation: “The reason I love Brand 360 is you

 set it, and you forget it. You take the five minutes to do your profile—your headshot,

 your website, your social media linkage, turn on your licenses, select a few

 compliance logos—and you’re done. We do everything for you.”50



 49
   Brand 360 Brand Builder, https://www.uwm.com/grow-your-business/brand-
 builder (accessed Aug. 13, 2024).
 50
  Figure 7, Unlock Pro Elite Status: Your Guide to Top Mortgage Turn Times,
 YouTube, Dec. 6, 2023, https://www.youtube.com/watch?v=KPGIGA2UdqA
 .


                                          35
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                                         Figure 7




            60.   And with respect to Brand Builder, UWM emphasizes that the

 marketing materials the tool produces are “completely branded” to the particular

 broker or loan officer, concealing UWM’s involvement in the creation of the

 marketing materials. As the same training presentation makes clear: “there is

 nothing UWM on it.”51

            61.   UWM representatives even affirmatively instruct brokers not to change

 the UWM-authored marketing content. As a UWM account executive has explained

 in regard to the marketing materials generated by Brand Builder, “if you do change

 some verbiage, you get a little message that pops up, hey Corrina you’re changing



 51
      Id.


                                            36
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 the verbiage, you may want to check with compliance, something along those lines,

 so I would just advise you, do not change anything.”

       62.    As a result, thousands of brokers and loan officers across the country

 send their prospective clients duplicated representations about the benefits of using

 an “independent” mortgage broker.52 And UWM instructs brokers not to change

 messages prospective clients see, while failing to disclose its own involvement in

 the “independent” brokers’ marketing.




 52
   Figure 8, The Loan Guys, Facebook, Mar. 30, 2021,
 https://www.facebook.com/TheLoanGuys; Angie Parke, LinkedIn, Mar. 31, 2021,
 https://www.linkedin.com/posts/angie-parke-33b5a219a_were-mortgage-experts-
 who-know-how-to-shop-activity-6783025341582639104-bR5o/; Rolf Monson,
 LinkedIn, Apr. 6, 2021, https://www.linkedin.com/posts/rolf-monson-
 19628671_were-mortgage-experts-who-know-how-to-shop-activity-
 6785244864264081409-FMnO/; @fen23, X.com, Mar. 28, 2021,
 https://x.com/fen23/status/1376142034818506753; Elliott Bowman, Your
 Mortgage Copilot, Mar. 31, 2021,
 https://yourmortgagecopilot.com/2021/03/31/we-shop-til-we-drop-your-rate/;
 Above All Mortgage, Facebook, Mar. 31, 2021,
 https://www.facebook.com/amythelendinglady; @murilofairml, Instagram, Jan. 27,
 2020, https://www.instagram.com/p/B7126gzoy3G/; Vicki Jones, LinkedIn, Dec.
 15, 2021, https://www.linkedin.com/posts/vjonestx_were-mortgage-experts-who-
 know-how-to-shop-activity-6876921639876079616-HTrP/; see also Appendix A.


                                          37
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                                    Figure 8




       63.   The problem, as explained below, is UWM’s and these brokers’

 representations concerning broker “independence” are deliberately and knowingly

 false and misleading.



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 III.   UWM’s Position in the Wholesale Mortgage Industry

        64.    In 2012, shortly after Ishbia became UWM’s CEO, UWM was the

 eighth-largest wholesale lender for broker-originated loans in the country,

 responsible for approximately $5.9 billion in loans and 3% of all broker-originations

 annually.53

        65.    Over the next decade, UWM’s annual originations and market share for

 broker-originated loans grew substantially.54 In 2020, UWM became the largest

 wholesale lender.55 It subsequently became the largest mortgage lender overall—

 retail or wholesale—accounting for more than $107.9 billion of mortgage

 originations annually.56




 53
   Inside Mortg. Fin., Top Broker and Correspondent Producers 2012 (published
 Aug. 22, 2018),
 https://www.insidemortgagefinance.com/ext/resources/files/pdfs/imfpubs_reports/t
 /o/p/_/b/top_broker_correspondent_producers_4q12.pdf?1558553175.
 54
   See Figure 9, UWM Broker Origination & Market Share (2012-2023), based on
 Inside Mortg. Fin. data.
 55
   Inside Mortg. Fin., Top Third-Party Originators: 12M20 (published Feb. 18,
 2021), https://www.insidemortgagefinance.com/ext/resources/Data-
 charts/2020/4Q20/IMF2107-03.pdf?1613667066
 56
   Inside Mortg. Fin., Top 50 Mortgage Lenders: 12M23 (published Jan. 25, 2024),
 https://www.insidemortgagefinance.com/ext/resources/Data-
 charts/2023/4Q23/IMF2404-01.pdf?1706200716.


                                          39
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                                       Figure 9




       66.    UWM’s business practices in pursuit of greater market share are widely

 regarded as bitterly aggressive. For example, one of UWM’s competitors is Rocket

 Mortgage, LLC (“Rocket Mortgage”) (formerly known as Quicken Loans).57 Ishbia

 explained in a recent interview in regard to Rocket Mortgage’s CEO, Dan Gilbert:

 “He doesn’t like me and I don’t like him. That’s how it is. . . . His company used to

 be No 1 in mortgage; UWM, my business, is No. 1 in mortgage. I don’t like the way




 57
   See, e.g., David Krechevsky, Ishbia Takes Shots At Gilbert, His Lending & NBA
 Rival, National Mortgage Professional, May 4, 2023,
 https://nationalmortgageprofessional.com/news/ishbia-takes-shots-gilbert-his-
 lending-nba-rival; Arnie Aurellano, UWM vs. Rocket Mortgage: Here’s where
 things stand now, Scotsman Guide, Mar. 29, 2021,
 https://www.scotsmanguide.com/news/uwm-vs-rocket-mortgage-heres-where-
 things-stand-now/.


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 they do business in a lot of things. He probably doesn’t like the way we do things.

 We’re in the same town. We compete. We’re winning. That’s what it is right now.”58

       67.      During 2020 and 2021, the hostility between UWM and Rocket

 Mortgage reached new levels. In September 2020, Rocket Mortgage’s wholesale

 lending division rebranded as “Rocket Pro TPO” and increased its service offerings

 to mortgage brokers, hoping to cut into UWM’s share of the broker origination

 market.59 Rocket’s expansion in the wholesale channel threatened UWM’s share of

 the broker origination market because Rocket was regularly able to offer lower

 pricing, and had other advantages in the marketplace (including, for example, that

 Rocket was ranked higher than UWM in industry publications like Bankrate and J.D.

 Power in regards to satisfaction, affordability, availability, and borrower

 experience).

       68.      What followed was what many industry observers called a “mortgage

 war” between the companies, with each side deploying increasingly aggressive




 58
   AD Wreaks Havoc With Kevin O’Connor, Suns Owner Mat Ishbia Stops By, Plus
 Chris Mannix on the Failing Celtics at 00:59:04–21, The Bill Simmons Podcast,
 May 3, 2023, https://podcasts.apple.com/us/podcast/ad-wreaks-havoc-with-kevin-
 oconnor-suns-owner-mat/id1043699613?i=1000611550020.
 59
   Michael Bates, Quicken Loans Unit to Be Rebranded Rocket Pro TPO,
 MortgageOrb, Sep. 22, 2020, https://mortgageorb.com/quicken-loans-unit-to-be-
 rebranded-rocket-pro-tpo; QLMS Is Becoming Rocket Pro TPO, YouTube, Sep. 22,
 2020, https://www.youtube.com/watch?v=l5sCGnCpsL4.


                                         41
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 public relations and commercial tactics to gain an edge over the other.60 This

 “mortgage war,” which included dueling Super Bowl ads, culminated in UWM’s

 implementation and enforcement of a contractual ultimatum, which effectively

 prohibited any broker who does business with UWM from submitting any mortgage

 loan applications to Rocket Mortgage, as discussed in greater detail in Section IV.A

 below.

       69.    Amidst this increasingly hostile competitive environment, in January

 2021, the UWM Entities completed a merger transaction with Gores Holdings IV,

 Inc., a special purpose acquisition company (a “SPAC”). As a result of the SPAC

 transaction, Holdings Corp., UWM’s corporate parent, became a publicly traded

 company initially valued at $16.1 billion.

       70.    The Ishbia family has maintained majority ownership and control of the

 UWM Entities and their affiliates both before and after the SPAC merger. In

 addition to Mat Ishbia, Mat’s father Jeffrey Ishbia, and his brother, Justin Ishbia,

 60
   Breana Noble, Pontiac’s United Shore roughs up Detroit’s Rocket Mortgage in
 Super Bowl ad, The Detroit News, Jan. 31, 2020,
 https://www.detroitnews.com/story/business/2020/01/31/pontiacs-united-shore-
 roughs-up-detroits-rocket-mortgage-super-bowl-ad/2858164001/; JC Reindl, UWM
 CEO issues ultimatum, escalates war against Rocket Companies, Detroit Free
 Press, Mar. 4, 2021,
 https://www.freep.com/story/money/business/2021/03/04/united-wholesale-
 mortgage-ultimatum-rocket-companies/4578357001/; James Kleimann, UWM &
 Rocket both declare victory in broker war, HousingWire, Mar. 18, 2021,
 https://www.housingwire.com/articles/uwm-rocket-both-declare-victory-in-broker-
 war/.


                                          42
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 also sit on the board of UWM’s corporate parent, Holdings Corp. Justin Ishbia

 likewise manages the family’s holding company, SFS Corp., which remains the

 majority and controlling owner of Holdings Corp.’s stock.

       71.   Today, UWM is the largest wholesale mortgage lender with a market

 share of more than 48.1% of all broker-originated mortgage loans.61 It is also the

 largest mortgage lender overall, responsible for more than 7.8% of all mortgage

 origination volume in the country.62 According to UWM’s statements, the company

 rapidly grew and maintained its revenues and market share in the wholesale market

 by building what it calls a “Competitive Moat” through its “unique partnership

 model” which results in “a continually sticky customer base and significant pricing

 power.”63




 61
   Inside Mortg. Fin., Top Wholesale-Broker Platforms: 12M23 (published Feb. 29,
 2024), https://www.insidemortgagefinance.com/ext/resources/Data-
 charts/2023/4Q23/IMF2409-04.pdf?1709219683.
 62
   Inside Mortg. Fin., Top 50 Mortgage Lenders: 12M23 (published Jan. 25, 2024),
 https://www.insidemortgagefinance.com/ext/resources/Data-
 charts/2023/4Q23/IMF2404-01.pdf?1706200716.
 63
   UWM Holdings Corporation Presentation at 18, Mar. 1, 2024,
 https://investors.uwm.com/news-and-events/events-and-presentations/default.aspx.


                                         43
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 IV.   UWM Employs Tactics Designed to “Cultivate Loyalist Brokers” Who
       Steer Borrowers into UWM Mortgages Even When Those Mortgages
       Are Not in the Borrowers’ Best Interest

       72.    As UWM explains to its investors, a core aim of its business model is

 to “cultivate ‘loyalist’ brokers who then expand the customer network.”64 When

 UWM refers to “loyalist” brokers, it means brokers who direct their loyalty, first and

 foremost, to UWM—not to the hundreds of thousands of American consumers whose

 best financial interests those brokers are duty-bound to represent and protect. It

 achieves this through a variety of means explained below.

       A.     UWM Imposes Contractual Requirements on Brokers to Prevent
              Them from Exercising Independent Judgment

       73.    One of UWM’s primary means of “cultivating ‘loyalist’ brokers” and

 eliminating their “independence,” is the enforcement of onerous and restrictive

 provisions in its Wholesale Broker Agreement. UWM mandates that any broker

 who wishes to do business with UWM must first agree to its Wholesale Broker

 Agreement. The Wholesale Broker Agreement sets forth, among other things, the

 terms and conditions under which UWM agrees to consider purchasing and/or

 funding mortgage loans provided by the broker, and which govern UWM’s payment

 of fees to the broker. UWM will not fund loans from or pay the fees of brokers who

 refuse to be bound by its Wholesale Broker Agreement.


 64
   UWM Holdings Corporation Presentation at 6, Mar. 1, 2024,
 https://investors.uwm.com/news-and-events/events-and-presentations/default.aspx.


                                          44
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       74.    At least two provisions in UWM’s Wholesale Broker Agreement

 specifically and explicitly bar brokers from shopping for loans in the best financial

 interest of their clients by forcing them to either ignore more competitive offerings

 from non-UWM lenders or to conceal them from their clients. Violating either

 provision exposes a broker to termination of their relationship with UWM and/or

 exorbitant financial penalties.

       75.    First, UWM has implemented and continues to enforce a policy—the

 “All In” policy—that contractually prohibits any broker who does business with

 UWM from shopping for loans from two of its competitors, Rocket Mortgage and

 Fairway Independent Mortgage. The prohibition is categorical: it applies regardless

 of circumstance, without exception—even if the loan products offered by those

 lenders are lower-cost and in the best interest of the broker’s client.

       76.    By way of background, in September 2020, Rocket Mortgage launched

 its new rebranded wholesale lending services division, “Rocket Pro TPO.”65 At the

 time, Rocket Mortgage was the number one overall mortgage lender in the country,

 with UWM ranking third,66 while UWM was the number one wholesale mortgage



 65
   QLMS Is Becoming Rocket Pro TPO, YouTube, Sep. 22, 2020,
 https://www.youtube.com/watch?v=l5sCGnCpsL4.
 66
   Inside Mortg. Fin., Top 100 Mortgage Lenders: 9M2020 (published Dec. 8,
 2020), https://www.insidemortgagefinance.com/ext/resources/Data-
 charts/2020/3Q20/IMF2048_01.pdf?1607619759.


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 lender, with Rocket Mortgage ranking second in that category.67 UWM viewed

 Rocket Mortgage’s increased investment in the wholesale channel as a threat.

       77.   Several months after Rocket Mortgage’s wholesale lending rebrand,

 UWM decided to take a drastic and controversial step. On or around March 4, 2021,

 UWM distributed a written amendment to its Wholesale Broker Agreement to every

 broker in its network. Many brokers received the amendment electronically through

 UWM’s EASE platform, and others received it through communications with UWM

 account executives or other personnel. The amendment provided:

             United Wholesale Mortgage, LLC (“UWM”) is amending
             its broker, correspondent and financial institution
             agreements by adding a representation and warranty that
             its clients will not submit loans to either Rocket Mortgage
             or Fairway Independent Mortgage. Client acknowledges
             and agrees, that until client provides written notice
             terminating its agreement with UWM, client and its
             employees will not submit mortgage loan applications or
             mortgage loans to either Rocket Mortgage or Fairway
             Independent Mortgage for review, underwriting, purchase
             and/or funding (unless such loan was locked with Rocket
             Mortgage or Fairway Independent Mortgage prior to
             March 15, 2021). If client or client’s employees breach
             this representation and warranty, client agrees to pay
             liquidated damages to UWM of: (i) Five Thousand Dollars




 67
   Inside Mortg. Fin., Top Wholesale-Broker Channels: 9M2020 (published Nov.
 25, 2020), https://www.insidemortgagefinance.com/ext/resources/Data-
 charts/2020/3Q20/IMF2046_07.pdf?1606322169.


                                         46
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             ($5,000.00) per loan closed with UWM, or (ii) Fifty
             Thousand Dollars ($50,000.00), whichever is greater.68
                                   Figure 10




       78.   Brokers who received the amendment electronically were presented

 with an option at the bottom of their screens to either accept or decline the

 amendment. Those who declined the amendment were shown a message which

 stated: “By declining this amendment you are terminating your relationship with

 United Wholesale Mortgage. You will be able to close any loans currently in our

 pipeline, however. Please confirm below.”




 68
  Figure 10, ECF No. 1-1, Ex. A at 3, The Okavage Group, LLC v. UWM Holdings
 Corporation et al., 21-cv-00448-WWB-LLL (M.D. Fla. Apr. 23, 2022)


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       79.    For brokers who had not yet signed UWM’s Wholesale Broker

 Agreement before the effective date of the ultimatum (March 15, 2021), UWM

 altered its standard Wholesale Broker Agreement by adding a provision at Section

 3.03(x) requiring all brokers to represent, warrant, and covenant, with respect to each

 mortgage loan the broker submits to UWM, that the broker “will not submit a

 mortgage loan or mortgage loan application to Rocket Mortgage or Fairway

 Independent Mortgage for review, underwriting, purchase, and/or funding.” UWM

 also added a liquidated damages provision at Section 7.30 which specifies the

 damages for a breach of Section 3.03(x) shall be “the greater of: (i) Five Thousand

 Dollars ($5,000.00) per loan closed with Rocket Mortgage, Fairway Independent

 Mortgage . . . , or (ii) Fifty Thousand Dollars ($50,000.00), as liquidated damages

 for such breach without the need for proof of damages by UWM.”69

       80.    The implementation of UWM’s “All-In” ultimatum had an immediate

 impact. According to UWM, within one week of the announcement “a majority of

 the largest independent mortgage broker shops across the country . . . signed the

 UWM all-in addendum representing over 90% of broker shops who will no longer

 work with Rocket Mortgage or Fairway Independent Mortgage Corporation.”70


  ECF No. 1-2 at 3.03(x), 7.30, United Wholesale Mortgage, LLC v. America’s
 69

 Moneyline, Inc., 22-cv-10228-LJM-EAS (E.D. Mich. Feb. 3, 2022).
 70
   Press Release, LARGEST MORTGAGE BROKER SHOPS IN AMERICA ARE
 ALL-IN WITH UNITED WHOLESALE MORTGAGE, UWM, Mar. 11, 2021,


                                           48
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 During an earnings call in or around May 2021, Ishbia stated of the “All-In”

 ultimatum initiative: “I couldn’t have imagined it going so well.” According to

 UWM, of the 12,000 brokers in its network before the ultimatum became effective,

 only 600 refused to sign and 1,000 did not respond. In the first month after the

 ultimatum took effect (April 2021), brokers submitted 17,000 more loan applications

 to UWM than they had in February.71

       81.   UWM’s effort to compel brokers to funnel more loans to it (and away

 from its competition) by threatening brokers’ interests as opposed to enriching

 borrowers’ interests had its intended effect. As Ishbia explained in a February 2023

 interview: “The penalty of working with Rocket . . . is you don’t get to work with

 UWM. And nobody is willing to take that chance. . . . Once you have brokers that

 don’t work [with] UWM, they lose out. That’s why of the 12,000 brokers, 11,500

 all stayed with UWM.”72




 https://www.uwm.com/about-us/media-resources/press-releases/2021/march-11-
 2021.
 71
   JC Reindl, United Wholesale CEO: Our hardball tactic against Dan Gilbert firm
 a big success, Detroit Free Press, May 11, 2021,
 https://www.freep.com/story/money/business/2021/05/11/united-wholesale-
 mortgage-rocket-companies/5021895001/.
 72
   Brenda Noble, Mat Ishbia happy to take battle with Dan Gilbert into new arena,
 The Detroit News, Feb. 14, 2023,
 https://www.detroitnews.com/story/business/2023/02/14/mat-ishbia-happy-to-take-
 battle-with-dan-gilbert-into-new-arena/69900833007/.


                                         49
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       82.    Not all brokers succumbed to UWM’s strong-arm tactics.             In an

 interview with National Mortgage Professional in August 2023, one such broker,

 who previously sent loans to both UWM and Rocket Mortgage, explained: “When

 the ultimatum came out in 2021 that was a deal breaker for me. If you lose that

 ability to choose it’s an entire danger to the whole broker community.” Another

 broker who declined the “All-In” ultimatum, called UWM the “anti-broker model.”

 He elaborated: “[T]hey always say brokers are better. Whoever says one thing and

 does the other thing, you shouldn’t work with them.”73 Another such broker was

 asked by an interviewer: “If there was never an ultimatum . . . if that never existed,

 would you have continued using Rocket and United Wholesale depending on which

 one better served your client at the time?” Swindell’s response was: “One hundred

 percent. That’s our job—it’s to provide the best options for our clients.”74

       83.    Consistent with UWM’s intent and these brokers’ observations,

 UWM’s “All-In” policy has resulted in an increasingly captive network of brokers.

 UWM forces brokers to consent to its “All-In” ultimatum as a precondition of

 submitting any loan application to the company or accessing any of UWM’s


 73
   Katie Jensen, Brokerage Brawlers Discuss Ultimatum & Broker Independence,
 National Mortgage Professional, Aug. 29, 2023,
 https://nationalmortgageprofessional.com/news/brokerage-brawlers-discuss-
 ultimatum-broker-independence.
 74
   Brokers under fire for working with UWM, YouTube, Feb. 1, 2024,
 https://www.youtube.com/watch?v=4vyb5j0Tr6s.


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 technology or services. Consequently, any borrower who hires a broker that does

 business with UWM is necessarily missing out on loan products offered by other

 lenders, including where those loan products have a lower rate and/or lower

 origination costs. Essentially, because of the ultimatum, brokers are forced to go

 “All-In” for UWM as opposed to their clients.

        84.    Given the critical mass of brokers that collectively joined UWM’s

 restrictive efforts, the defecting brokers were drowned out by the growing army of

 UWM loyalists.

        85.    Second, in addition to the “All-In” policy, UWM mandates that every

 broker who wishes to do business with UWM must accept the restrictive rate “Lock-

 In” policy, which is also operationalized through its Wholesale Broker Agreement.

 It is common in mortgage loan transactions for borrowers to seek to “lock-in” the

 interest rate in a lender’s offer to protect against the possibility that the interest rate

 may increase between the rate quote and the execution of loan documents, which

 could be weeks later. Lenders offer to lock-in their quoted interest rates at the

 beginning of the loan origination process to provide borrowers certainty that the

 quoted price will be honored on the closing date, even if interest rates have increased

 in the interim. But such “Lock-In” offers generally bind the lender to the interest

 rate; they do not preclude the borrower or the broker from continuing to shop the

 market for better terms in the lead up to closing.



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         86.   UWM, however, imposes decidedly anti-consumer “Lock-In” terms.

 In particular, Section 2.03(a) of the Wholesale Broker Agreement provides:

               UWM will provide price protection for the Mortgage
               Loans which it agrees to purchase and/or fund hereunder
               in the form of a written lock-in confirmation pursuant to
               its lock-in policies and in accordance with UWM’s
               lending requirements. The time at which the interest rate
               for a Mortgage Loan is locked in shall be at Broker’s
               option, provided, however, a Mortgage Loan with a locked
               in interest rate must be presented to UWM for purchase
               and/or funding before the expiration of the lock-in period.
               For purposes of the Agreement, the “lock-in period” shall
               be determined in accordance with UWM’s lending
               requirements. If a Mortgage Loan is not presented for
               funding by UWM within the lock-in period, such Loan
               may be re-priced at the sole option of UWM. The transfer
               or sale by Broker of a Mortgage Loan locked in by UWM
               during the lock-in period to another entity, shall
               constitute a violation of the Agreement, and the Broker
               shall be liable, and promptly indemnify UWM, for any
               loss sustained as a result thereof by UWM. In addition,
               Broker shall notify UWM immediately should any
               commitment by UWM for a locked-in Mortgage Loan be
               canceled, withdrawn, or otherwise determined not to be set
               for purchase and/or funding by UWM.75
         87.   Under Section 2.03(a), accordingly, once a mortgage broker obtains a

 “locked-in” rate quote from UWM on the borrower’s behalf, the broker is effectively

 precluded from shopping for a loan from another lender that would be more

 advantageous for the borrower—even if such offers from other lenders exist and the

 broker is aware of them. If, after the rate is locked-in with UWM, the broker tries


 75
      Wholesale Broker Agreement § 2.03(a) (emphasis added).


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 to fulfill his or her responsibilities to the borrower by alerting him or her to a better

 rate or finding and placing a mortgage loan with another lender on better terms, “the

 Broker shall then be liable, and promptly indemnify UWM, for any loss sustained as

 a result thereof by UWM.”

       88.    No other wholesale lender imposes such strict no-shop restrictions in

 connection with rate-locks. This provision is unique to UWM. The effect is that a

 rate-lock with UWM not only “locks-in” the interest rate, it “locks-in” the borrower

 to a UWM mortgage, even if there are better options elsewhere that broker is

 precluded from presenting.

       89.    Critically, neither UWM nor the brokers disclose the terms of UWM’s

 Wholesale Broker Agreement to borrowers prior to the borrower’s engagement of

 the broker or the closing of the loan. So at all relevant times, borrowers are entirely

 unaware of the significant contractual restrictions—like the “All-In” and “Lock In”

 provisions—that UWM imposes on their brokers.             The concealment and non-

 disclosure of these restrictions from borrowers, including the Plaintiffs, is a

 component of UWM’s scheme.

       B.     UWM Carefully Monitors Broker Loyalty and Punishes Brokers
              Who Honor The Duties They Owe to Borrowers by Shopping for
              Lower Rates With UWM’s Competitors
       90.    Importantly, UWM’s “All-In” and “Lock-In” policies are not just

 public relations stunts or empty threats. UWM expends significant resources to



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 police brokers’ transactions to ensure that none of the brokers in its network submit

 a single loan or loan application that violates any provisions in its Wholesale Broker

 Agreement, including its “All-In” and “Lock-In” policies.

       91.    To this end, UWM compiles and closely monitors information available

 from public and private databases, which enables it to track every mortgage loan in

 which each of the brokers in its network is involved. Among other things, UWM

 maintains a detailed internal database, which contains information on every broker

 and loan officer in its network. At all times, for example, UWM knows and tracks:

              a. How many loans each broker and loan officer has sent to UWM over

                 various time ranges (e.g., in the last month, the last year, over the

                 lifetime of the broker’s or loan officer’s relationship with UWM);

              b. What percentage of total loans and total loan volume each broker

                 and loan officer has sent to UWM (e.g., in the last month, the last

                 year, over the lifetime of the broker’s or loan officer’s relationship

                 with UWM);

              c. How often each broker and loan officer is using various UWM

                 services and technological platforms; and

              d. Whether a broker or loan officer has originated a loan that is not in

                 compliance with either UWM’s “All-In” or “Lock-In” policies.




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       92.    UWM’s account executives and other employees are tasked with

 monitoring UWM’s databases to ensure that brokers’ and loan officers’ engagement

 with and fidelity to UWM remains high. Brokers and loan officers have reported

 receiving harassing communications from UWM employees demanding to know

 why the percentage of loans they sent to UWM versus other wholesale lenders

 dropped in the preceding month. Brokers and loan officers have likewise reported

 receiving similar communications from UWM after placing loans with rival lenders.

 In directing employees to make these harassing communications, UWM intended to

 influence, and did influence, mortgage brokers to act in the interests of UWM rather

 than the borrowers.

       93.    Because of UWM’s effort to continuously monitor brokers’ and loan

 officers’ transactions, whenever a broker or loan officer closes a loan that is not in

 compliance with the company’s “All-In” or “Lock-In” policies, UWM is aware.

       94.    UWM also routinely takes legal action against brokers to enforce the

 restrictions in its Wholesale Broker Agreement. In the three years since UWM first

 implemented its “All-In” ultimatum, the company has brought at least five lawsuits

 against various brokerage firms seeking damages for alleged breaches of the

 ultimatum provisions in its Wholesale Broker Agreement.




                                          55
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             a. In February 2022, UWM sued Mid Valley Funding & Investment,

                Inc. in the Eastern District of Michigan seeking at least $310,000 in

                damages. The parties settled the dispute on June 5, 2023.76

             b. In February 2022, UWM sued California broker America’s

                Moneyline, Inc. in the Eastern District of Michigan seeking at least

                $2,800,000 in damages. The action remains pending.77

             c. Also in February 2022, UWM sued Kevron Investments Inc. in the

                Eastern District of Michigan seeking at least $110,000 in liquidated

                damages. The action remains pending.78

             d. In December 2023, UWM sued Madison Atrina LLC d/b/a District

                Lending in the Eastern District of Michigan seeking at least

                $685,000 in damages. The action remains pending.79




 76
   United Wholesale Mortg., LLC v. Mid Valley Funding & Inv., Inc., Case No. 22-
 cv-10396-LJM-CI (E.D. Mich.); see also Flávia Furlan Nune, “UWM and broker
 shop Mid Valley settle ‘ultimatum’ lawsuit,” HOUSINGWIRE, Jun. 6, 2023,
 https://archive.ph/G3grj#selection-1269.2-1271.19.
 77
   United Wholesale Mortg., LLC v. Am.’s Moneyline, Inc., Case No. 22-cv-10228-
 LJM-EAS (E.D. Mich.).
 78
   United Wholesale Mortg., LLC v. Kevron Invs., Inc., Case No. 2:22-CV-10395-
 LJM-EAS (E.D. Mich).
 79
   United Wholesale Mortg., LLC v. Madison Atrina LLC, Case No. 2:23-CV-
 13176-LJM-KGA (E.D. Mich).


                                         56
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             e. Finally, in January 2024, UWM sued Atlantic Trust Mortgage

                   Corporation in the Eastern District of Michigan seeking at least

                   $355,000 in damages. The action remains pending.80

       C.    UWM Sustains and Grows Its Group of Corrupted Broker
             Partners by Offering Value to Brokers If They Demonstrate Their
             Commitment to Funneling Loans to UWM

       95.   UWM also corrupts brokers by offering them value in exchange for the

 brokers’ demonstration of loyalty to UWM, including through funneling clients to

 UWM. In view of its market position, UWM is uniquely suited to direct borrowers

 to brokers and thus to control brokers’ deal-flow—the lifeblood of a broker’s

 revenue stream.

       96.   Often, UWM will expressly offer value to brokers in exchange for the

 brokers increasing the rate at which they funnel loans to UWM. As discussed above,

 UWM tracks wholesale brokers’ funneling rates. When UWM finds that a broker’s

 funneling rate is unacceptably low, UWM has been known to offer the broker value

 – such as an offer to waive penalties to the broker for a borrower’s early pay-off –

 expressly contingent on the broker increasing the rate at which he funnels loans to

 UWM.




 80
   United Wholesale Mortg., LLC v. Atlantic Trust Mortg. Corp., Case No. 24-cv-
 10216-TGB-DRG (E.D. Mich.).


                                          57
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       97.      In addition, in May 2018, UWM launched a borrower-facing website

 called FindAMortgageBroker.com. The website, according to UWM, purportedly

 was designed to serve both as a national search engine that prospective borrowers

 could use to locate a mortgage broker in their area, and as an educational guide with

 written and video content explaining the value of using a mortgage broker. As

 UWM’s CEO Mat Ishbia stated in the press release announcing the new website:

 “FindAMortgageBroker.com gives consumers nationwide a platform to easily locate

 nearby mortgage brokers and learn about why they’re the best choice for getting a

 mortgage.”81

       98.      Since its launch, the website has featured content describing the

 supposed value proposition for using an independent mortgage broker—namely that

 a broker’s allegiance lies with the borrower, not an individual lender, and thus a

 broker can shop offers from multiple lenders to find the best deal for the borrower.

 For example, beginning no later than May 2021 the front page of the website stated:

                “Connecting with an independent mortgage broker means
                having a local expert by your side for one of life’s biggest
                financial decisions. Because they are independent,
                licensed professionals, mortgage brokers can shop
                multiple lenders — giving them access to more home
                loan options than what a bank or online lender can offer.



 81
   Caroline Basile, United Wholesale Mortgage launches consumer-facing broker
 website, HousingWire, May 8, 2018, https://www.housingwire.com/articles/43304-
 uwm-launches-consumer-facing-broker-website/.


                                            58
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             The result is a cheaper, faster and easier mortgage for you.
             . . .”82
                                     Figure 11




       99.   The explanatory video that resided at the top of the homepage conveys

 a similar message. The narrator explains:

             “Most banks and big online lenders only offer their own
             mortgage products, with limited options, limited
             communication, and lengthy waiting periods that can drag
             out your closing. When you work with an independent
             mortgage broker, you have a local mortgage expert on
             your side to personally advise you throughout the process,
             and who has your best interest in mind. They’ll shop
 82
   Figure 11, https://findamortgagebroker.com, Retrieved from Internet Archive,
 (archived on May 18, 2021),
 https://web.archive.org/web/20210518114811/https://findamortgagebroker.com/.


                                         59
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             dozens of lenders to find the right home loan for your
             needs. . . .”83
                                     Figure 12




       100. Other “Guides” and articles on the website likewise describe a

 mortgage broker as “a home loan expert that connects prospective homeowners with

 willing mortgage lenders” and who “shop[s] around to find the best interest rates,

 terms, and loan products” that meet the borrower’s needs.84



 83
   Figure 12, https://findamortgagebroker.com, Retrieved from Internet Archive
 (archived on May 18, 2021),
 https://web.archive.org/web/20210518114811/https://findamortgagebroker.com/.
 84
   5 Facts About Your Local Mortgage Broker, Jan. 22, 2021,
 https://findamortgagebroker.com/resources/guides/all-guides/guides/2021/01/23/5-
 facts-about-working-with-a-local-mortgage-broker, Retrieved from Internet
 Archive (archived on May 18, 2021),
 https://web.archive.org/web/20210518100649/https://findamortgagebroker.com/
 resources/guides/all-guides/guides/2021/01/23/5-facts-about-working-with-a-local-
 mortgage-broker.


                                         60
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         101. In January 2024, UWM rebranded FindAMortgageBroker.com,

 changing its name to MortgageMatchup.com.85 The rebranded website contains

 much of the same content, including the broker search directory, UWM’s

 representations that mortgage brokers “shop around to find the best interest rates,

 terms, and loan products that meet your needs,”86 and that the search engine will

 help the prospective borrower connect with a local mortgage broker who is an

 “independent, licensed professional in your area who can shop on your behalf and

 give you access to more home loan options… than a bank or an online lender.”87

         102. UWM has spent, and continues to spend, considerable effort and

 millions of dollars in advertisements to promote its website in order to drive more

 web traffic to the content it features.    Among other things, UWM promoted

 FindAMortgageBroker.com in two television commercials that aired during Super

 Bowl LIV in 2020 and Super Bowl LV in 2021 respectively.88


 85
   Press Release, UWM Rebrands FindAMortgageBroker.com to Mortgage
 Matchup, UWM.com, Jan. 17, 2024, https://www.uwm.com/about-us/media-
 resources/press-releases/2024/january-17-2024.
 86
   See Facts About Your Local Mortgage Broker,
 https://mortgagematchup.com/resources/blog/facts-about-your-local-mortgage-
 broker.
 87
      https://mortgagematchup.com/
 88
    Figure 13, Kimberly Greene, UWM challenges Rocket Mortgage in first-ever
 Super Bowl ad, MPAmag.com, Jan 31, 2020,
 https://www.mpamag.com/us/news/general/uwm-challenges-rocket-mortgage-in-
 first-ever-super-bowl-ad/212162; FindAMortgageBroker.com Superbowl LV


                                           61
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                                       Figure 13




       103. UWM’s CEO Mat Ishbia also frequently promotes the website during

 interviews and on social media.89 For example, in a January 2021 interview with

 Bloomberg, Ishbia explained: “You know, it’s all about you know finding great

 mortgage    brokers.       So    we    work       with   great   mortgage   brokers.

 FindAMortgageBroker.com. There’s a lot of great mortgage brokers. It’s the

 cheapest, fastest, easiest way to get a mortgage. And so what we’re really big on is

 helping advocate for them, and help educate consumers that the best way to get a

 mortgage is to go through them. Then you get great partners. . . .”




 Commercial, Mat Ishbia’s Facebook Page, Feb. 2, 2021,
 https://www.facebook.com/MatIshbiaUWM/videos/421213375778520/.
 89
   See, e.g., Figure 14, Mat Ishbia Bloomberg 1.15.21, Mat Ishbia’s Facebook
 Page, Jan. 15, 2021,
 https://www.facebook.com/MatIshbiaUWM/videos/432886534423072/; Mat
 Ishbia’s Facebook Page, Mar. 4, 2021 at 1:38 PM,
 https://www.facebook.com/MatIshbiaUWM.


                                          62
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                                      Figure 14




       104. In reality, FindAMortgageBroker.com (now MortgageMatchup.com) is

 a tool for UWM to compel brokers to steer loans to UWM.

       105. From the brokers’ perspective, it is critical to be featured in the search

 results of the FindAMortgageBroker.com. It is also highly valuable to them—much

 like the value to businesses in securing priority search results on Google, which

 businesses pay substantial amounts to accomplish. This means that UWM has

 enormous market power through its directory website.

       106. And UWM leverages that power. In short, UWM uses the website to

 steer borrowers on FindAMortgageBroker.com to the brokers that steer the most

 loans to UWM by featuring them in search results. The message to brokers is

 simple: the more you steer borrowers to UWM, the more UWM will steer borrowers




                                         63
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 to you on FindAMortgageBroker.com and thus increase your deal-flow and

 revenue.

         107. The specifics are as follows: To be listed on UWM’s broker directory,

 a broker must be a “UWM Partner” who has signed UWM’s Wholesale Broker

 Agreement. The results from the broker search engine therefore exclude brokers

 who (a) do not do business with UWM; and/or (b) who do business with UWM’s

 chief competitor, Rocket Mortgage.

         108. None of this is disclosed on the website. On the contrary, the statements

 on the website, in combination with pervasive public representations by company

 representatives and UWM itself (including through the brokers) (see supra Section

 II), are intended to mislead consumers into believing the brokers do not have

 undisclosed allegiances or connections to UWM.

         109. When borrowers visit the website, they are invited to enter their

 address, city, or ZIP code into a search bar at the top of the screen.90 The algorithm

 that determines the search results, however, ranks brokers according to their “PRO

 Score,” a numerical value that UWM assigns every broker in its network as part of

 its “PRO Rankings” system. As UWM explains on its broker-facing website, “[t]he

 higher your PRO Score . . . the more visibility you’ll have on Mortgage Matchup.”91


 90
      Figure 15, https://mortgagematchup.com/.
 91
      PRO Rankings, https://www.uwm.com/pro-rankings (accessed Mar. 16, 2024).


                                           64
Case 2:24-cv-10853-BRM-DRG ECF No. 21, PageID.448 Filed 08/30/24 Page 68 of 249




                                    Figure 15




       110. A broker’s “PRO Score” is calculated each month based on actions the

 broker has taken in the prior month. Brokers earn “points” toward their PRO Score

 by, among other things, (i) submitting loan applications with UWM, (ii) visiting

 UWM’s campus, (iii) communicating with UWM account executives, and (iv)

 engaging with UWM’s content online.92




 92
   Figure 16, PRO Rankings Scoring Key, https://www.uwm.com/pro-rankings-
 scoring-key.


                                         65
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                                      Figure 16




       111. Each of these components of a broker’s PRO Score is a proxy for

 loyalty to UWM. The brokers who are most loyal to UWM, and who place the

 highest proportions of their loans with UWM, receive the highest PRO Scores and

 the accompanying promotional services and access to other benefits.

       112. For example, brokers can earn up to 50 points each month by achieving

 up to six “Ultimate Loan Submissions.” To achieve an “Ultimate Loan Submission”

 a broker must submit a loan application while using at least five of UWM’s exclusive

 tools for compiling, organizing, and verifying borrower information—tools that can



                                         66
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 only be used in connection with UWM loan submission.93 Similarly, brokers can

 earn points by ordering a “Memory Maker” on high proportions of their loans (5

 points for 50-69% of their loans; 10 points for 70% or more of their loans). But

 “Memory Makers”—personalized thank you gifts for real estate agents or borrowers,

 like cutting boards or welcome mats—can only be ordered for loans placed with

 UWM. So essentially, brokers can earn these points only if they place an increasing

 proportion of their loans overall with UWM.

         113. As a result, the search results on FindAMortgageBroker.com (and now

 MortgageMatchup.com) are deliberately biased toward brokers who are corrupted

 in favor of UWM. The website is designed to steer borrowers to brokers who funnel

 nearly all their business to UWM, regardless of whether UWM offers the most

 competitive loan terms. Conversely, brokers who do not funnel loans to UWM can

 expect UWM (through mortgagematchup.com) to decrease the number of borrowers

 that seek their services. And finally, the search results are designed to categorically

 exclude brokers who ever refer borrowers to Rocket Mortgage, even when Rocket

 Mortgage offers better prices.

         114. To illustrate the point, if a borrower enters a ZIP code in Chapel Hill,

 North Carolina into the search bar, the top six brokers that appear in the results are

 Patrick Roman (NMLS #204441), Whitney Bulbrook (NMLS #48522), Stephen

 93
      Ultimate Loan Submission, https://www.uwm.com/ultimate-loan-submission.


                                           67
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 Fitzpatrick (NMLS #92185), Teante Gray (NMLS #2080243), Erica Sanders

 (NMLS #390083), and Robert Bajakian (NMLS #77324).94 Each of those brokers

 funneled nearly all of her or his loans to UWM (and they also effectively pledged to

 withhold information from borrowers about any lower interest rates offered by

 Rocket). Roman sends upwards of 80% of his loans to UWM. Bulbrook sends 99%.

 Fitzpatrick sends 100%. Gray sends 89%. Sanders sends 86%. Bajakian sends

 92%. Accordingly, none of these brokers is actually shopping across multiple

 lenders for the best loans available for their clients. Instead, they are sending the

 vast majority of their clients to one lender: UWM.

                                      Figure 17




 94
      Figure 17, https://mortgagematchup.com/search?query=27514.


                                          68
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         115. Together, the website and PRO Score system create a powerful

 mechanism to corrupt so-called “independent” brokers into UWM loyalists. With

 up to tens of thousands unique visitors per month, UWM’s website is among the

 most valuable and important sources of business generation for mortgage brokers in

 the United States. These tools have become a critical component of UWM’s

 participation in funneling borrowers to UWM against the borrowers’ interests.

         116. Placement on FindAMortgageBroker.com and MortgageMatchup.com

 is not the only inducement that UWM provides to brokers to influence and interfere

 with their decision making. UWM also uses its PRO Rankings and LO Partner

 Points programs to provide financial and other benefits to brokers who steer their

 customers to UWM.

         117. In short, and with respect to the Pro Rankings System, brokers increase

 their “PRO Score” and “PRO Ranking status” by funneling more borrowers to

 UWM.95 The “PRO Score” that UWM assigns to each broker in its network provides

 them access to one of three “status” tiers—PRO Basic (for scores of 0-49), PRO Plus

 (for scores of 50-69), or PRO Elite (for scores of 70+).96




 95
      PRO Rankings, https://www.uwm.com/pro-rankings.
 96
   Figure 18, UWM’s LinkedIn Page, https://www.linkedin.com/posts/united-
 wholesale-mortgage_weve-made-some-powerful-changes-that-make-activity-
 7022203122810839040-lt9P/.


                                          69
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                                      Figure 18




       118. UWM provides increasingly attractive financial and other benefits to

 brokers depending on the “status” tier they achieve by funneling loans to UWM. As

 Ishbia recently explained on UWM’s Instagram feed: “Being PRO Elite matters.

 You get more FindAMortgageBroker.com leads. You get more opportunity. Faster

 turn times. All the things matter with PRO Elite.”97 Whether characterized as getting

 “more leads” or “more opportunities,” in substance what brokers receive is UWM’s

 valuable assistance in making more money for themselves, regardless of the

 consequences to borrowers.

       119. One particularly crucial benefit for brokers who achieve PRO Plus or

 PRO Elite status is faster turn times. This is a highly valuable benefit for mortgage

 brokers. The more time that passes between the beginning of the approval process

 and closing, the greater the chance that something might derail the transaction—an

 interest rate fluctuation, cold feet from the buyer, etc. Because brokers only get


 97
   @uwmlending, Instagram, Oct. 2, 2023,
 https://www.instagram.com/p/Cx5sgI1uFee/?img_index=1.


                                          70
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 compensated if the mortgage loan closes, speed is therefore paramount to brokers.

 Time spent on a transaction that was too slow to close is time wasted for the broker.

 The faster transactions can close, the more deal-flow brokers can generate and

 process, the more money they can make for themselves.

         120. Generally, when a new loan file is submitted to UWM for underwriting,

 it will take more than two days for UWM’s underwriters to review and verify the

 information in the file and send it back to the broker. For brokers who achieve PRO

 Plus status, however, UWM’s underwriters will guarantee completion of initial

 underwriting within two days. For brokers who achieve PRO Elite status, the initial

 underwriting turn time is guaranteed within one day. And if the file is returned with

 conditions—that is, if the underwriter is requesting additional documentation or

 clarification concerning certain information in the file—UWM will ensure the

 additional information is reviewed and confirmed also within one day, but again,

 only if the submitting broker has PRO Plus or PRO Elite status.98

                                      Figure 19




 98
      Figure 19, PRO Rankings, https://www.uwm.com/pro-rankings.


                                          71
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       121. Again, the message that UWM sends to brokers through this scheme is

 clear: the more loans you funnel to UWM, the faster UWM will process loans for

 you, and the more money you will make.

       122. Additionally, by achieving elevated PRO status or accruing LO Partner

 Points—“points” that can be redeemed for various gifts and other benefits—brokers

 can gain access to exclusive UWM teaser products such as interest rate discounts,

 “1% down” products, and rate relocks. But, again, these are offered only to those

 brokers who first prove their loyalty by funneling borrowers to UWM. And even

 those offerings generally do not convert into actual savings for clients. As discussed

 below, even after accounting for such offerings, UWM borrowers who worked with

 UWM’s corrupted brokers routinely pay hundreds or even thousands more than they

 would have with even just a median loan product (much less, the most competitive

 product at the time).

       123. Through its FindAMortgageBroker.com website and its PRO Rankings

 and LO Partner Points programs, UWM sends a clear and unmistakable message to

 the population of “independent brokers” in the market: If you funnel loans to UWM

 rather than shop on behalf of your customers, UWM will enrich you. The predictable

 result is that brokers—chasing their self-interest—accede to UWM’s inducement,

 resulting in the dynamic described below in Sections V and VI, where UWM and




                                          72
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 thousands of brokers collude to drive an unconscionable proportion of borrowers to

 UWM who would be better off getting their loans elsewhere.

       124. As discussed above in Section II, UWM also creates advertising

 materials that it provides to its corrupted brokers for no cost. These benefits, which

 are not disclosed to borrowers, enable corrupted brokers to take UWM-created social

 media and video content, insert the broker’s own branding, and present it as their

 own.99 For example, individual brokers and brokerage firms can take the television

 commercial     UWM        produced     for    the   Super     Bowl     to    promote

 FindAMortgageBroker.com and pass it off as their own, as One Stop Financial

 Group, LLC—a firm whose brokers funnel over 90% of their loans to UWM—does

 on its Facebook page.100 Producing these marketing materials (or hiring an firm to

 design them) would otherwise cost brokers upwards of tens of thousands of dollars.

                                      Figure 20




 99
   Brand 360 Brand Builder, https://www.uwm.com/grow-your-business/brand-
 builder.
 100
    Figure 20, One Stop Financial Group, LLC’s Facebook Page, Oct. 20, 2023,
 https://www.facebook.com/onestopfinancialgroupllc/videos/358371569860194;
 United Wholesale Mortgage’s YouTube Channel, Jan. 31, 2020,
 https://www.youtube.com/watch?v=-X4dvNICep4.


                                          73
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         125. UWM also frequently flies corrupted brokers to its campus in Pontiac,

 Michigan for days-long conventions, training courses, and events, which often

 feature lavish meals and live entertainment, all at UWM’s expense.

         126. Among other things, UWM hosts an annual convention called “UWM

 LIVE!” during which it welcomes “thousands of brokers” to its campus for “a

 packed day of insights, connections and fun.”101 The event includes speeches on

 broker practices from wholesale industry stakeholders including UWM personnel

 and brokers, as well as networking sessions to provide broker attendees opportunities

 to discuss their brokerage activities with one another and UWM.

                                      Figure 21




 101
       Figure 21, UWM Live!, https://www.uwm.com/uwm-live.


                                          74
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       127. Numerous brokers who have attended UWM LIVE! and UWM’s many

 other in-person networking events and trainings describe them as raucous parties,

 heavy on free perks for attendees.

       128. UWM and Ishbia ensure that the top brokers and loan officers who

 demonstrate the highest degrees of loyalty—steering exceptionally high volume and

 high percentages of loans to UWM—are rewarded handsomely. Every year, for

 example, UWM distributes an “Excellence Award” to brokers with high UWM loan

 funneling percentages. It also distributes “Top Broker” awards to the top brokers

 and loan officers in every state, “Top 1%” awards to the brokers who rank in the top

 1% of all brokers ranked by UWM loan volume, and “Elite 100” awards to the

 brokers who UWM has ranked in the top 100 of all UWM broker partners across the

 country.

       129. In addition to the recognition, these awards often come with

 extravagant benefits, including vacations, meals, and entertainment. In 2019, for

 example, UWM and AIME funded an “awards trip” to a 5-star luxury hotel, the

 Andaz Costa Rica Resort at Peninsula Papagayo, for a select group of high-funneling

 brokers and loan officers.102

 102
    Figure 22, Melanie Walburg, LinkedIn, Jan. 31, 2020,
 https://www.linkedin.com/posts/melaniewalburg_grateful-pumpedfor2020-
 brokersarebetter-activity-6629008645722030080-
 Bubr?utm_source=share&utm_medium=member_desktop.


                                         75
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                                      Figure 22




 V.    UWM’s Tactics Have Caused Thousands of Mortgage Brokers to
       Funnel Loans to UWM, Costing UWM Borrowers Billions in Above-
       Market Costs

       130. UWM’s tactics were intended to cause, and did cause, a steadily

 increasing proportion of mortgage brokers to refer the vast majority of their

 borrower-clients to UWM without shopping for loans that are in those borrower-

 clients’ best financial interests. This trend is evident throughout the wholesale

 mortgage industry—up and down the market, in every geography.

       131. According to publicly available data, starting in 2021, the year UWM’s

 “All-In” ultimatum went into effect, the proportion of loan officers who steer 75%

 or more of their loans to UWM has expanded dramatically.

       132. By last year, 2023, of the 30,229 loan officers who sent at least one loan

 to UWM, 12,936 loan officers sent more than 75% of their loans to UWM, which

                                         76
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 constituted more than 42% of the loan officers who sent at least one loan to UWM,

 up from approximately 22% in 2020. And of those loan officers, 8,665 sent more

 than 99% of their loans to UWM. Between 2020 and 2023, the proportion of loan

 officers who steer virtually all (99% or more) of their loans to UWM more than

 doubled, increasing from 13.4% of the total UWM loan officer population to over

 28.7% of the loan officer population.103

                                                                  Figure 23

                                           Increasing Number of UWM-Corrupted Loan Officers
                                  13,500                                                                   12,936

                                  12,500
                                                                  11,490             11,414
                                  11,500
        Number of Loan Officers




                                  10,500

                                   9,500
                                                                                                           8,665
                                   8,500

                                   7,500                                              7,076
                                           6,359                  6,512
                                   6,500

                                   5,500

                                   4,500     3,822

                                   3,500
                                             2020                 2021                2022                 2023

                                           LOs with >75% UWM Loans Share        LOs with >99% UWM Loan Share




 103
       Figures 23 & 24, Analysis of publicly available data.


                                                                           77
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                                                                                   Figure 24

                                                        Increasing Percentage of UWM-Corrupted Loan Officers


                                            45%                                                                          42.8%
     Percentage of All UWM Loan Officers




                                            40%                                                   37.8%
                                                                                34.6%
                                            35%


                                            30%                                                                          28.7%


                                            25%                                                   23.4%
                                                         22.4%
                                                                                19.6%
                                            20%


                                            15%          13.4%


                                            10%
                                                          2020                   2021              2022                   2023

                                                  % of All UWM LOs Funneling >75% to UWM        % of All UWM LOs Funneling >99% to UWM




                                           133. As the population of loan officers who steer loans to UWM has

 expanded, the loans that are generated by those loan officers have become

 increasingly critical to UWM’s business overall. Figure 25 below shows this trend.

 In 2020, loan officers who sent 99% or more of their loans to UWM accounted for

 approximately 4% of UWM’s brokered loans (16,423 loans total). By 2023, that

 number had more than tripled to 14% (30,252 loans total). Similarly in 2020, loan

 officers who sent more than 75% of their loans to UWM accounted for




                                                                                           78
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 approximately 22% of UWM’s total brokered loan volume ($32,094,902,497). By

 2023, that number had doubled to 45% ($35,993,472,073).104

                                                                        Figure 25

                                               Share of UWM Loans Attributable to Funnelers Is Rising
                                        100%          4%               7%                   10%
                                                      6%                                                  14%
                                        90%
                                                                       14%                  12%
                                                     13%
                                        80%                                                               11%
         Percentage of UWM Loan Count




                                        70%
                                                                       23%                  21%
                                                                                                          21%
                                        60%          32%

                                        50%
                                                                       27%                  26%
                                        40%                                                               27%

                                        30%

                                        20%          45%
                                                                       29%                  30%           27%
                                        10%

                                         0%
                                                     2020              2021                 2022          2023

                                                            <50%   50-74%     75-89%   90-98%      >99%



                    134. In particular, the loan volume attributable to the loan officers who are

 the most prolific loan-funnelers—those who send 99% or more of their loans to

 UWM—has accounted for an increasing amount of UWM’s business. From 2021

 to 2023, these fully captive loan officers, who send 99% or more of their business to

 UWM, have accounted for over $32.9 billion of UWM’s loan volume. In the same

 time period, the loan officers who send at least 75% of their business to UWM have

 accounted for over $153.3 billion of UWM’s loan volume.


 104
       Figure 25, Analysis of publicly available data.


                                                                              79
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       135. Even when considering only loan officers who originate a minimum of

 five loans in a year, the proportion of loan officers who send more than 75% of their

 loans to UWM is also steadily increasing.105 In 2020, 12% of all loan officers who

 originated five or more loans in a year (2,972 loan officers total) sent 75% or more

 of their loans to UWM. By 2023, that number more than doubled to 27% of all such

 loan officers (5,385 loan officers total).

       136. These loan officers—who originate at least five loans in a year and who

 funnel at least 75% of their loans to UWM—likewise account for a growing

 proportion of the total loans and loan volume that UWM originates. In 2020, this

 group accounted for 96,761 loans, the collective value of which was

 $30,730,894,873 (or 21.6% of UWM’s total brokered loan volume). In 2023, this

 group accounted for 86,049 loans, the collective value of which was

 $31,601,648,995 (or 39.9% of UWM’s total brokered loan volume). From 2021 to

 2023, the total loan volume generated by these loan officers is over $143.1 billion.




 105
     Likewise, from 2021-2023, the overall volume of loans brokered by (1) loan
 officer who broker a minimum of five loans in a year and sent more than 75% of
 their loans to UWM is of a substantially similar magnitude to that of (2) all loan
 officers who sent 75% or more of their loans to UWM, including loan officers who
 brokered fewer than five loans in a year. For example, in 2023, the first category
 of loan officers sent 97,333 loans to UWM with a collective loan volume of
 $35,993,472,073. In 2023, the second category of loan officers sent 86,049 loans
 to UWM with a collective loan volume of $31,601,648,995.

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       137. The same phenomenon presents when considering data at the broker

 level as opposed to the loan officer level. For instance, in 2020, 1,752 brokers (or

 12.2% of all brokers that brokered at least five loans that year) funneled 75% or more

 of their total loans to UWM. By 2023, that number ballooned to 2,622 (or 29.2% of

 all brokers that brokered at least 5 loans that year).

       138. The data is clear, moreover, that this loan funneling behavior among

 loan officers and brokerages is neither a naturally occurring phenomenon, nor a

 function of UWM offering more affordable loans than the competition. One way to

 evaluate this is to compare UWM’s loan origination fees to those of other lenders

 for mortgage loans at comparable interest rates. Origination fees are upfront fees

 paid by the borrower to the lender as compensation for executing and processing the

 loan. Origination fees do not correlate with anything of value to the borrower; they

 are simply higher costs that inure to the benefit of the lender (and the broker, to the

 extent the broker’s fee is paid out of the overall origination fee). Thus, among the

 loan products with the same interest rates, the borrower’s only financial motivation

 is to obtain the product with the lowest origination fee.

       139. Publicly available data published pursuant to the Home Mortgage

 Disclosure Act (“HMDA”) demonstrates that UWM consistently charges higher

 origination fees than the median wholesale lender—let alone the most competitively

 priced lenders. According to one analysis of HMDA data, in 2020, borrowers paid



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 on average $211 more in closing costs for a UWM loan as compared to a borrower

 who paid the median amount of closing costs for a similar loan from another

 wholesale lender controlling for interest rates. By 2023, that discrepancy had more

 than quadrupled. Borrowers paid over $865 more than the median for a UWM loan,

 controlling for loan type and interest rate.

           140. When comparing UWM borrowers’ origination costs to more

 competitively priced lenders (those whose origination costs are at the twentieth

 percentile), UWM borrowers paid, on average, approximately $2,500 more in 2023.

           141. In addition to having higher costs (while controlling for interest rates),

 UWM also does not offer lower interest rates when controlling for costs. In 2023,

 its rates were consistently at or above the median. Indeed, Defendant Ishbia has

 boasted to investors that he can “set the margins daily” and dictate the costs and rates

 borrowers pay. “It’s not market-driven,” Ishbia said on an earnings call last year.

 “Every day, I look at the pricing, I set it with our capital markets team. Personally, I

 do it.”

           142. Calculated rate spreads do not materially change the analysis. When

 individual UWM loans are compared to substantially similar loans available at the

 same time from other wholesale lenders, the data shows that UWM’s loans are

 systematically more expensive, regardless of whether or not UWM claims that its

 average rate spread is purportedly lower than that of other wholesale lenders. This



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 is true for numerous reasons, including that (i) different lenders calculate the inputs

 to a rate spread calculation differently, meaning that comparing rate spreads across

 lenders is not reliably an apples-to-apples comparison; and (ii) a crude comparison

 of lenders’ average rate spread fails to control for the different mix of loan products

 that different lenders offer.

         143. The consideration of FICO scores also support the conclusion that

 UWM’s loans are systematically more expensive. For example, according to

 UWM’s 2023 10-K: “For the year ended December 31, 2023, our originated loans

 had a weighted average loan to value ratio of 82.89%, and a weighted average FICO

 score of 737. For the year ended December 31, 2022, our originated loans had a

 weighted average loan to value ratio of 79.67%, and a weighted average FICO score

 of 738.”106    For comparison, according to Rocket Mortgage’s 2023 10-K, its

 originated loans had a weighted average FICO score of 733 in both 2023 and 2022.107

 Based on the difference in the weighted average FICO score, Rocket Mortgage

 would be expected to have more expensive loans, on average, than UWM—but the

 opposite is true: UWM had more expensive loans, on average, than Rocket.




 106
       UWM 2023 Form 10-K at 59.
 107
    Rocket Companies, Inc., Annual Report (Form 10-K) at 61 (Feb. 27, 2024),
 https://www.sec.gov/ix?doc=/Archives/edgar/data/1805284/000180528424000009/
 rkt-20231231.htm.


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       144. Consistent with this, UWM is the largest wholesale lender by a wide

 margin—it originates approximately half of all wholesale loans and 8% of all

 residential mortgages in the country. As a consequence of its position, UWM lends

 to borrowers across the distribution of FICO scores, and there is nothing to indicate

 that UWM originates a disproportionate percentage of its loans to borrowers with

 poor credit.

       145. On its face, the behavior of a broker or loan officer who steers such

 high proportions of her loans to a single lender—UWM—is incompatible with the

 notion that the broker or loan officer is “independent” or working on the borrower’s

 behalf, much less that the broker or loan officer is meeting the fiduciary and agency

 duties owed to her clients. In fact, it is essentially statistically impossible for the

 corrupted brokers and loan officers to be fulfilling their duties—and doing the job

 for which they are being handsomely paid—to survey the market for multiple lenders

 and present their borrower clients with the best mortgage option.

       146. As a former member of the National Association of Mortgage Brokers

 has stated: “I have been tracking rate sheets on wholesale lenders for 17 years, and

 I can tell you there’s not one time in history, not one time close in history, when I

 can see consistently sending more than 40% of loans—and that’s generous, usually

 it’s closer to 20% or 30%—to any one lender.” Another professional in the mortgage

 lending industry, who provided over $2.6 billion in loans in 2023, stated that brokers



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 should generally be working with “seven to ten” lenders, but in no event should be

 working with any fewer than “three to five.”

       147. But for UWM’s tactics, the brokers who do business with UWM would

 have maintained their independence and acted on behalf of their clients—not

 UWM—including by evaluating options from multiple lenders to offer their

 borrowers into economically advantageous mortgages.           However, because of

 UWM’s tactics, thousands of brokers have represented to borrowers that they would

 act that way, but then instead acted with loyalty to UWM (not their clients),

 abandoned their duties to their clients, and funneled increasingly higher percentages

 of their business to UWM alone. The upshot is that if UWM borrowers had worked

 with brokers that did not participate in the UWM scheme, those borrowers would

 have actually obtained the services they sought when they entered into the wholesale

 channel to begin with, including obtaining the benefit of having a professional acting

 independently and on their behalf to place them into more competitively priced

 mortgages. Instead, UWM borrowers are on the hook for billions of dollars in

 excessive fees and costs.

       148. UWM’s representations at the core of its advertising and marketing

 materials (including those made through the brokers it provides them to)—that

 “brokers are better” because they are “not captive or connected” to any one lender,

 and instead “independently shop” to get borrowers the “best deal”—are therefore



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 false. The data demonstrates that brokers in UWM’s network are captive; they are

 not independently shopping; and they certainly are not getting borrowers the “best

 deal.” These representations are not false by coincidence—they are false because

 UWM and its corrupted brokers are structuring their relationships for the purpose

 of making those representations false.

       149. Further, the brokers who have conspired with UWM in this way are an

 identified group. UWM monitors the activities of the brokers in the wholesale

 channel, including the rates at which they funnel loans to UWM along with which

 brokers agree to the “All In” ultimatum. UWM therefore knows which brokers are

 participating in the scheme and which are not. They also can be identified in the

 publicly-available data. For example, attached as Appendix B is a list of 2,502 loan

 officers who have funneled over 75% of their loans to UWM from 2021-2023 and

 are in the 75th percentile of total volume of loans brokered. According to the data,

 over that period, these loan officers funneled 270,693 loans to UWM with a total

 value of over $93 billion.108 These and other core participants in the scheme and

 enterprise are known, tracked, and identified. And Appendix A reflects a non-

 exhaustive collection of examples of loan officers and brokers who have funneled



 108
     The list of loan officers in Appendix B has been anonymized to the extent any
 of the loan officers listed therein are not identified in this First Amended
 Complaint as having brokered Plaintiffs’ UWM loans. Plaintiffs are prepared to
 identify each of the loan officers listed in Appendix B if the Court would like.


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 over 75% of their loans to UWM—including many loan officers listed in

 Appendix B—participating in the misleading and deceptive marketing messages that

 they and UWM have conspired to disseminate in furtherance of the scheme.

       150. UWM has reaped enormous rewards from the increasing prevalence of

 brokers’ loan funneling conduct, which it deliberately causes and substantially

 assists through its business practices. The increases in loan funneling within

 UWM’s broker network have translated directly into increases in market share,

 fueling and sustaining the company’s position as the originator of more than 48.1%

 of all broker-originated mortgages loans in the country and nearly 8% of all

 mortgages regardless of channel.

       151. In November 2022, as a result of this surge of growth, UWM surpassed

 Rocket Mortgage to become the largest mortgage lender by volume in the United

 States—retail or wholesale. For Ishbia, as somebody driven by a relentless desire

 for UWM to be recognized as “number one,” attaining that distinction was a massive

 personal and professional triumph. It also earned him bragging rights in his bitter

 rivalry with fellow billionaire and NBA team owner Dan Gilbert, the founder and

 owner of Rocket Mortgage. In a November 2022 voicemail Ishbia left for the CEO

 of AIME (a UWM-bankrolled broker trade group) which reveals his mindset and

 motivations, Ishbia said, of Gilbert and Rocket Mortgage:

             “We fucking took those cocksuckers down. Fuck them.
             And we’re gonna keep fucking sticking it to them forever.


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             Fuck those guys. We’re number one. We kicked the shit
             out of them. Brokers are number one. UWM is number
             one. You’re number one. We’re all number one together.
             And fuck them. I fucking hate them with all my heart.
             And we’re gonna keep kicking their ass every fucking day.
             . . .”109

       152. UWM’s aggressive business practices and market share growth have

 translated into increasing revenue for UWM directly at borrowers’ expense.

 According to an analysis of publicly available data, between 2021 and 2023, UWM

 dramatically drove up closing costs for borrowers by charging substantially higher

 origination fees than its competitors particularly with respect to loans originated

 through brokers who steer a majority of their business to UWM.           The data

 establishes, moreover, that the more a broker funnels loans to UWM, the more the

 borrowers on those loans overpay. For example, in 2022, borrowers who obtained

 a mortgage loan through a broker who funnels 50% of her loans to UWM paid, on

 average, hundreds of dollars more in origination fees than the median amount of

 origination fees in the wholesale market for comparable loans, while borrowers who

 got a loan from a 99% steerer paid over a thousand dollars more.

       153. If mortgage brokers were not conspiring with UWM to perpetrate its

 scheme and instead were actually shopping in a functioning wholesale market,


 109
    From FB Group Rocket Pro TPO vs UWM: Voicemail Mat Ishbia left Anthony
 Casa., Reddit, Feb. 24, 2024,
 https://www.reddit.com/r/pillar7/comments/1ay3wcb/from_fb_group_rocket_pro_t
 po_vs_uwm_voicemail_mat/.


                                         88
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 UWM would also have a strong incentive to lower its origination fees to make its

 offerings more competitive relative to other lenders. A large mortgage company like

 UWM should have a greater ability to drive its overall origination costs down by

 capitalizing on efficiencies and economies of scale to offset overhead expenses

 related to loan administration and processing. These dynamics make UWM’s

 substantially higher origination fees all the more jarring.

         154. In the aggregate and when controlling for interest rate and loan type,

 between 2021 and 2023, UWM borrowers who got a mortgage through brokers who

 send at least 75% of their business to UWM paid at least $400,000,000 more in

 origination fees than those borrowers would have if their brokers had simply

 shopped around and obtained a loan for them with the median amount of origination

 fees.

         155. But as UWM represents to the public, independent brokers have a duty

 not merely to find a median deal for their clients—rather, they have a duty to shop

 around to find them the best deal they can. If the brokers who send 75% or more of

 their loans to UWM had actually shopped around to find their borrowers the best

 deal possible—i.e., a loan with the lowest origination fees available on the market—

 those borrowers would have saved, in the aggregate, well over $2.7 billion. As a

 direct and proximate result of UWM’s scheme, UWM has profited, and borrowers

 have lost, billions of dollars.



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 VI.     The “Loyalist Brokers” Who Participate in UWM’s Scheme Work
         Collectively to Advance Shared Goals
         156. The brokers who participate in this scheme do so pursuant to a common

 understanding that they share with one another and with UWM: namely, that they

 will act in furtherance of UWM’s strategy by (a) funneling high proportions of loans

 to UWM, (b) keeping their UWM-funneling and failure to shop around concealed

 from borrowers, and (c) in so doing, avoiding exposing their co-conspirator brokers

 as UWM loyalists which would undermine the corrupted brokers’ ability to compete

 and thus undercut the scheme’s effectiveness.

         157. Brokers’ conduct in furtherance of UWM’s scheme demonstrates their

 participation in concerted, conspiratorial activity.

         158. First, the brokers who participate in the UWM scheme act collectively

 and in uniform ways. They each funnel high proportions of their loans to UWM to

 impose higher than market costs on their clients.       They falsely claim to be

 “independent” mortgage brokers,110 and they often covertly use UWM-provided

 marketing materials to accomplish that purpose. They are subject to the central

 control of UWM, including through its Wholesale Broker Agreement—and

 consistent with that Agreement, they each have refrained from placing a loan with

 Rocket Mortgage or Fairway Mortgage on or after March 15, 2021.



 110
       See Appendix A.


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       159. Additionally, in furtherance of UWM’s scheme, brokers systematically

 conceal material information from their borrower-clients such that borrowers are

 uniformly underinformed or misinformed when they reach the closing table. Among

 other things, brokers who participate in the scheme fail to disclose:

              a. The fact that they are bound, under UWM’s Wholesale Broker

                 Agreement, to not shop for or present loans from Rocket Mortgage

                 or Fairway Independent Mortgage;

              b. The fact that they are bound, under UWM’s Wholesale Broker

                 Agreement, to not shop for or present loan options from any other

                 lender once the borrower’s interest rate has been locked;

              c. The fact that they face penalties and/or legal exposure for violating

                 any terms in UWM’s Wholesale Broker Agreement that restrict their

                 ability to independently shop;

              d. The fact that, in exchange for originating a larger proportion of their

                 loans with UWM, they are eligible to receive valuable perks and

                 benefits from UWM, including meals, trips, gifts, apparel,

                 entertainment, awards, referrals, access to preferential loan products

                 and discounts, and/or access to preferential placement on UWM’s

                 broker search engine;




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             e. The fact that they use marketing materials that were produced,

                 created, or otherwise reviewed and approved by UWM;

             f. The fact that UWM’s loans are often more expensive than

                 substantially similar alternatives from other lenders in the wholesale

                 market;

             g. The fact that, as a result of UWM’s system of contractual restrictions

                 and incentives, they have conflicts of interest that can impact their

                 performance of services on behalf of their clients;

             h. The fact that they are not independently shopping for loans in the

                 borrower’s best interest; and/or

             i. The fact that they originate the vast majority, or in some cases

                 virtually all, of their loans with UWM.

       160. Had UWM or the brokers not made affirmative misrepresentations

 and/or disclosed these and other material facts to the class members and Plaintiffs,

 those borrowers would not have closed on their mortgages or agreed to the disclosure

 forms presented to them at closing. On information and belief, that is why UWM

 and the brokers do not disclose those facts—such disclosure fundamentally would

 undermine their scheme.

       161. Second, the brokers who participate in the UWM scheme take action

 that would contravene their own self-interest absent the conspiracy to conceal the



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 scheme from prospective borrowers.          As discussed above, brokers must be

 independent and shop from a variety of lenders to be competitive in the wholesale

 brokerage market. Thus, in the ordinary course, it would be against a broker’s self-

 interest to funnel the vast majority of their loans to one lender assuming that material

 fact were disclosed to prospective clients. After all, prospective borrowers are

 paying their broker a fee to shop around to multiple lenders. Prospective borrowers

 would be highly likely to find and choose a different broker who is offering more

 affordable loan products, and the UWM-captive brokers would not be able to

 compete. But, armed with the knowledge that UWM and other conspiring brokers

 would conceal and not disclose this scheme to the market, these conspiring brokers

 participate in the scheme to enrich themselves and to avoid UWM-imposed

 penalties.

       162. Indeed, UWM-captive brokers know that a significant and growing

 population of brokers are likewise captive to UWM and likewise failing to present

 more affordable loan products from non-UWM lenders to their clients, including

 through their knowledge of the terms of the Wholesale Broker Agreement, their

 attendance at UWM-sponsored events, their communications with other brokers,

 their communications with UWM, and with full knowledge of the handsome rewards

 (and severe punishments) that UWM hands out to keep brokers in line.




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       163. With that knowledge, these captive brokers can freely act in ways that

 ordinarily would be against their own self-interest because they are reasonably

 assured that the economic benefits of participating in the scheme will outweigh the

 potential detriments of losing business to the shrinking proportion of brokers who

 are truly independently shopping. Moreover, but for the coordination and concerted

 action between and among the brokers and UWM, it would be easier to expose the

 scheme.

       164. Third, the funneling activity of these brokers and loan officers marks

 an abrupt shift in behavior compared to market practices before UWM started

 implementing its scheme. Historically, wholesale brokers competed with each other

 based on their independence and ability to shop across the wholesale lender market

 on their clients’ behalf. The better terms they could obtain for their clients by

 leveraging competition among numerous wholesale lenders, the more their client

 following grew, and the more revenue they could generate. Now, however, the

 market has changed dramatically. UWM has now put a scheme in place whereby

 UWM and these brokers grow their revenues and market share without having to

 shop around—but the problem is that it relies on misrepresentations and material

 omissions made to consumers and breaches of duties owed to them under state and

 federal law. As a result, the prevalence of loan funneling and UWM’s market share




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 has increased precipitously within a compressed period of time and the participating

 brokers have been enriched, all to the consumer’s detriment.111

          165. Fourth, the brokers and loan officers who participate in the UWM

 scheme share a common motive: to induce prospective borrowers to enter the

 wholesale market channel, to increase the total number and volume of loans they

 originate despite failing to provide loans at competitive rates and costs, and to

 thereby increase the commission and fee revenue they are able to generate. UWM

 and each of these brokers pursue this shared goal, including by cooperating to deploy

 deceptive marketing materials into the marketplace, concealing the reality of the

 these corrupted brokers’ relation with UWM, and failing to disclose these material

 facts at any stage of their work purportedly on behalf of prospective borrowers, all

 in breach of their legal obligations under federal and state laws.

          166. Fifth, to justify their uniform conduct favoring UWM, brokers and loan

 officers who participate in the scheme often use the same pretextual justifications

 for why UWM earns disproportionate amounts of business even if consumers end

 up paying higher costs and/or fees for UWM loans. But none of those justifications

 withstand scrutiny. For example:




 111
       See Figure 9 and Figures 23-25.


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             a. UWM and its captive brokers often claim that UWM offers “easier

                approval processes.” But UWM’s denial rates are comparable to

                those of other wholesale lenders.

             b. UWM and its captive brokers often claim that UWM offers superior

                “state of the art” technology and client services. But much of the

                purportedly “state of the art” technology UWM provides is matched

                by other wholesale brokers, and the value that UWM’s technology

                and client services provide to brokers and loan officers does not

                necessarily translate to the borrower, who is ultimately the broker’s

                client to whom the broker owes duties.

             c. UWM and its captive brokers often claim that UWM offers faster

                turn times and a more efficient underwriting process. But other

                wholesale lenders offer comparable or faster turn times on

                applications. And UWM expressly reserves its fastest guaranteed

                turn times only for loan officers who achieve PRO Elite status,

                including by funneling high proportions of their loans to UWM in

                the first instance.

             d. Moreover, none of UWM’s pretextual justifications even purports

                to explain why it would be necessary for brokers to mislead

                consumers with false representations of “independence” and to



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                   conceal the true nature and extent of their relationship with UWM.

                   The reality is they mislead prospective borrowers and conceal that

                   these brokers are not independent because (i) if they disclosed that,

                   they would cease to be competitive in a market that prospective

                   borrowers enter into because of the promise of having an

                   independent broker working on the borrower’s behalf; (ii) those

                   brokers would cease to be able to funnel high volumes of loans to

                   UWM; and (iii) the commercial purpose of the scheme—to inflate

                   UWM’s and these brokers’ deal-flow and revenues based on

                   deception—would be thwarted.

        167. Sixth, the brokers and loan officers who participate in the UWM scheme

  have numerous opportunities to coordinate, collaborate, and exchange information

  in furtherance of their collective activity. In particular:

               a. UWM strongly encourages in-person visits to its campus in Pontiac,

                   Michigan and attendance at broker training and networking events.

                   As part of its LO Partner Points and PRO Rankings programs, UWM

                   offers loan officers increasing numbers of “points” toward their

                   PRO Ranking status for visiting the campus multiple times in a 12-

                   month period—25 points for two visits, 30 points for three visits.




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                 b. UWM hosts its annual UWM LIVE! event, which convenes

                    thousands of brokers in one place to exchange information on

                    market intelligence and best practices on marketing and technology

                    use.

                 c. UWM sponsors112 and provides funding, organization, and support

                    for numerous networking and training events hosted by AIME,

                    including AIME’s annual “Fuse National Conference,” which it

                    calls the “largest annual gathering of independent mortgage

                    professionals in the country.”113

                 d. Additionally, brokers and loan officers often coordinate,

                    collaborate, and exchange information online, including on social

                    media platforms like Reddit and Facebook. For example, when

                    UWM announced its “All In” policy, it did so during a virtual

                    Facebook Live meeting with brokers, which UWM convened and

                    hosted on its Facebook page. During the meeting, brokers interacted

                    with UWM personnel and one another, including by posting

                    comments encouraging adherence to UWM’s scheme and inviting

                    collusion, such as:


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        Sponsors, https://aimegroup.com/sponsors/.
  113
        Events, https://aimegroup.com/events/.


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                    i. “We are ALL IN”;

                   ii. “We are all family!       Brokers are better when we work
                       together”;

                   iii. “Brokers are family. We don’t go against our family”;

                   iv. “You’re either with the captain [UWM] or off the boat”;

                   v. “Team Broker!”

                   vi. “unstoppable together”

                  vii. “BROKERS---WAKE UP!!!! Stop sending files to the enemy!
                       Protect your book of business”; and

                 viii. “all for one”

        168. As a result of these corrupted brokers cooperating within UWM’s

  scheme, brokers recognize and talk about what the data plainly shows – there are

  two categories of brokers in the wholesale mortgage market now: UWM brokers and

  everybody else. Wholesale brokers have even taken to referring to these corrupted

  brokers as effectively being retail arms of UWM.

        169. Thus, in a context where UWM and these brokers are inducing

  prospective borrowers to enter the wholesale channel rather than the retail channel

  on the promise of them getting the benefit of an “independent” wholesale mortgage

  broker to work on their behalf, UWM and these brokers are working together to

  implement a business model that is predicated on providing those prospective

  borrowers exactly the opposite of what they came for: an experience where the loan

  officer that they hire as an “independent” advisor is effectively a retail arm of UWM,


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  working toward the lender’s and the broker’s interests, rather than the borrower’s.

  Put differently, through this scheme, UWM is leveraging the upside of operating in

  the wholesale channel by marketing to prospective borrowers (including through the

  brokers) the benefit of working with independent brokers in the wholesale channel,

  while growing its revenues and market share by surreptitiously implementing a retail

  channel model through which an army of loyalist brokers effectively operate as its

  retail loan officers and funnel unknowing borrowers into UWM loans. In these

  ways, among others, UWM and these corrupted brokers are functioning as a

  continuous unit, with a unity of purpose, and within a superstructure that UWM

  centrally controls to deceive prospective borrowers in furtherance of UWM’s

  scheme.

  VII. After Plaintiffs Filed This Action, UWM Has Perpetuated Its Scheme
       and Continues to Misrepresent the Nature of Its Relationship with the
       Corrupted Brokers
        170. On April 9, 2024, one week after this action commenced, UWM issued

  a statement addressed to its “Partners”—i.e., mortgage brokers who continue to

  funnel loans to UWM. In the statement, UWM does not dispute that thousands of

  brokers are directing the vast majority of their clients into UWM loans. Instead, it

  purports to now embrace that fact, stating that:

               “It is not uncommon nor illegal for a broker to send most
               or all of their business to a specific lender. This is not
               unique to UWM brokers. Nor this industry. UWM is
               audited by multiple regulators and organizations every


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                   year including FHFA, Fannie Mae and Freddie Mac and
                   every year [sic] and there are zero findings like what is
                   being presented in this shallow article and subsequent
                   lawsuit. We are 100% confident nothing needs to change
                   or will change . . . . The only way they win is if UWM or
                   brokers change behavior.”114

              171. Additionally, in its statement, UWM makes an explicit offer to pay

  attorneys’ fees and other defense costs for any brokers who may be called to serve

  as witnesses in this action, or who otherwise need representation in connection with

  this action. Specifically, the statement provides:

                   “If any of our Partners get roped into their frivolous
                   lawsuit, UWM will cover your attorneys’ fees in
                   connection with these fraudulent claims. We have seen
                   ‘ambulance chasing’ attorneys try to scare consumers and
                   brokers. We will be there to defend you. Keep focused
                   on building your business they way you have been for
                   years – the right way for consumers and brokers, and we
                   will continue to grow and win together.”115




  114
     Figure 26, @uwmlending, Instagram, Apr. 9, 2024,
  https://www.instagram.com/p/C5ipFCqsMc1/.
  115
        Id.


                                             101
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                                       Figure 26




        172. UWM’s April 9, 2024 statement is thus a transparent offer of value—

  cash—to brokers on the overt threat that the brokers would lose if they “change[d]

  behavior.” The statement is part of a clear effort to induce those brokers to remain

  loyal and continue advancing the interests of the enterprise.



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        173. The class action complaint to which UWM’s April 9, 2024 statement

  was responding unmistakenly alleges that UWM’s captive brokers built their

  businesses in recent years by conspiring with UWM to deprive borrowers of the

  honest services they paid to receive. Thus when UWM instructs its broker network

  to “[k]eep focused on building your business they way you have been for years,” it

  is a clarion call for brokers to continue participating in the alleged unlawful conduct.

        174. The statement also makes clear that UWM acknowledges no

  wrongdoing. To the contrary, UWM explicitly states “[w]e are 100% confident

  nothing needs to change or will change” and that “[i]t is not uncommon nor illegal

  for a broker to send most or all of their business to a specific lender.”

        175. Notwithstanding UWM’s statement to its “Partners”—i.e., captive

  brokers—that it purportedly is fine that they funnel clients to UWM, UWM

  continues to outwardly claim that its brokers do the opposite: that they independently

  shop around from hundreds of lenders to get the best loan for their clients. In fact,

  on April 23, 2024 – twenty-two days after Plaintiffs initiated this action and thirteen

  days after it instructed brokers to continue cooperating in the scheme (and offered

  to indemnify them for doing so) – UWM stated the following in a federal court

  pleading:

               UWM is a Pontiac, Michigan-based wholesale mortgage
               lender that works exclusively with independent mortgage
               brokers and non-delegated correspondent lenders
               (“Broker Partners”) across the country. UWM does not


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                 work directly with borrowers—as do retail lenders—until
                 after a loan has funded. Rather, the Broker Partners
                 communicate directly with borrowers and select from
                 over 100 wholesale lenders to choose the lender and loan
                 product they believe to the borrower’s best option.116
        176. That is, of course, plainly inconsistent with the data showing that

  thousands of the “Broker Partners” are not shopping around across “over 100

  wholesale lenders” and that they are instead funneling loans to UWM, as alleged

  above and in Plaintiffs’ April 2, 2024, Complaint. And it is plainly inconsistent with

  UWM, after Plaintiffs initiated this action, instructing its so-called “independent”

  “Broker Partners” to continue funneling loans to UWM and that doing so is

  appropriate.




  116
    United Wholesale Mortgage, LLC v. Madison Atrina LLC d/b/a District
  Lending, Case No. 2:23-cv-13176, ECF No. 17 at ¶¶ 8-9.


                                           104
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  VIII. Plaintiffs’ Mortgage Loans With UWM

        A.     Plaintiffs Therisa and Billy Escue’s UWM Mortgage
        177. Plaintiffs Therisa and Billy Escue (together, the “Escues”) bought their

  home located in Portland, Tennessee in or around 2001.

        178. In or around February 2022, the Escues decided to refinance the

  mortgage on their home. Rather than approaching a retail lender, the Escues hired a

  mortgage broker—James Elkins, who, at the time, was a senior loan officer at NEXA

  Mortgage, LLC (“NEXA”).

        179. Elkins has worked as a mortgage broker for over 25 years. According

  to information available through the Nationwide Multistate Licensing System

  (“NMLS”), Elkins is licensed to originate mortgages in two states—Tennessee and

  Florida. He is currently affiliated with Wholesale Mortgage Group, LLC, an entity

  based in White House, Tennessee. At the time the Escues refinanced their home, he

  headed a branch of NEXA which operated the website LendNationwide.com.

        180. Elkins’s prior firm, NEXA, is a large residential mortgage brokerage

  firm headquartered in Chandler, Arizona. The firm is licensed to do business in 48

  states, along with the District of Columbia, Puerto Rico, and the U.S. Virgin Islands.

  In 2023, NEXA Mortgage originated more than 16,793 mortgage loans across the

  country totaling over $5.7 billion in loan volume. NEXA is what is known in the

  industry as a “mega broker,” a full-service brokerage firm with in house loan



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  processing capabilities that works with thousands of individual loan officers across

  the country.

           181. Elkins and NEXA market themselves as “independent” mortgage

  brokers. For example, on LendNationwide.com, the website for the NEXA branch

  Elkins operated, which was taken down after this action was filed, Elkins and the

  firm represented to the public: “We work with multiple lenders and we can provide

  our clients with extremely competitive pricing. Now you can do all your comparison

  shopping with one company without wasting time with several banks or brokers.”117

  Elkins also represented on his personal Facebook pages that he offers a “Full Suite

  of Loan Products with Over 200 Lenders.”118

                                        Figure 27




  117
        https://lendnationwide.com/index.php.
  118
     Figure 27,
  https://www.facebook.com/photo/?fbid=246469271468519&set=pb.10008316343
  0611.-2207520000;
  https://www.facebook.com/photo/?fbid=1447670722721948&set=ecnf.100024371
  028946.


                                           106
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         182. The Escues, who were acquainted with Elkins through a family

  connection, hired Elkins to serve as their agent in the refinancing process and to

  advise them as to the best and most affordable mortgage loan options available,

  regardless of which entity would act as the lender. Based on discussions the Escues

  had with Elkins, it is the Escues’ understanding, at the time they hired Elkins, that

  Elkins agreed to provide such advice in connection with their mortgage search.

         183. As a result of the confidential relationship of trust and reliance between

  the Escues, on the one hand, and Elkins, on the other, and the fact that Escues hired

  Elkins to serve as their mortgage broker and agent in connection with the refinancing

  of their home, under Tennessee and federal law, Elkins owed fiduciary duties to the

  Escues. In his capacity as a fiduciary, Elkins had a duty, among other things, to (i)

  put the Escues’ interests before his own, (ii) diligently survey the wholesale market

  on the Escues’ behalf; (iii) present the Escues with the best and most affordable loan

  options available to them; and (iv) disclose to the Escues all material facts that might

  affect his ability to perform his responsibilities in a diligent and unconflicted

  manner.

         184. Despite his representations to the contrary, Elkins is not, in fact, an

  “independent” mortgage broker under any definition. Instead, he is a corrupt UWM

  loyalist.




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           185. According to publicly available data, in 2021, Elkins sent 99.5% of his

  loan volume to UWM. In 2022, he sent 100% of his loan volume to UWM.

           186. Elkins, moreover, is among the top mortgage brokers in Tennessee.

  Between 2020 and 2022, Elkins originated more than $242,160,000 in mortgage

  loans.

           187. Elkins does not independently shop for the most competitively priced

  mortgage loans for his borrowers. Rather, he intentionally funnels his borrowers to

  UWM.

           188. Elkins signed UWM’s Wholesale Broker Agreement and, at all relevant

  times, has been bound by the terms and conditions therein, including UWM’s “All-

  In” ultimatum, which prohibits Elkins from sending any loans to Rocket Mortgage.

  Elkins has complied with the provisions of UWM’s Wholesale Broker Agreement,

  including the “All-In” ultimatum, and has not sent any loans to Rocket Mortgage

  since it went into effect on March 15, 2021. Elkins’s agreement to boycott Rocket

  Mortgage did not serve the interests of the Escues, and was not disclosed to them,

  even though it was a material fact that Elkins had a duty to disclose. Elkins

  participates in UWM’s loyalty rewards programs, including the PRO Rankings and

  LO Partner Points programs, and utilizes UWM’s technology products and services.

  He has also visited UWM’s campus, including to network with UWM personnel and




                                           108
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  other brokers, to attend UWM-sponsored meals and parties, and/or to participate in

  UWM-organized training sessions.

         189. When the Escues first approached Elkins about their desire to refinance

  their home, Elkins knew he would refer them to UWM regardless of UWM’s pricing

  vis-à-vis other available options. He did not disclose this fact.

         190. Despite that knowledge, Elkins advised the Escues that he intended to

  diligently survey the loan options available from numerous other wholesale

  mortgage lenders and find the option that was most affordable and best aligned with

  the Escues’ financing needs.

         191. The Escues believed and relied upon Elkins’s representations, which he

  parroted from UWM and amplified through marketing materials and assistance

  received from UWM, that he would diligently and independently shop for a loan in

  their best financial interests. Indeed, the expectation that Elkins would shop for the

  best loan on their behalf was the entire reason why the Escues hired Elkins in the

  first place.

         192. Notwithstanding Elkins’s representations to the Escues and in his

  borrower-facing advertising, Elkins never in fact conducted any meaningful search

  of loan options from non-UWM lenders at all. Instead, Elkins searched for and

  recommended only loan options from UWM. Elkins never seriously considered

  sending the Escues to any lender other than UWM.



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        193. Neither Elkins nor UWM ever disclosed to the Escues that Elkins had

  signed an agreement—UWM’s Wholesale Broker Agreement—which meaningfully

  restricted his ability to shop for mortgage loans in their best interest. Elkins and

  UWM also never disclosed to the Escues that Elkins sent the vast majority of his

  clients to UWM, and that he received valuable benefits from UWM in exchange.

        194. At all relevant times, UWM was aware of Elkins’s and NEXA’s

  fiduciary relationship and responsibilities with respect to their clients, including the

  Escues. However, in pursuit of attaining and sustaining ever increasing market

  share, UWM induced and substantially assisted Elkins’s and NEXA’s breach of their

  fiduciary responsibilities vis-à-vis the Escues through its aggressive tactics of

  restricting Elkins’s and NEXA’s ability to shop multiple lenders and to exercise

  independent judgment while simultaneously providing them value in exchange for

  steering. UWM was fully aware that in steering the vast majority of his loans to a

  single lender—UWM—Elkins was breaching the fiduciary duties he owed to his

  clients, including the Escues.

        195. Ultimately, on February 28, 2022, Elkins originated the Escues’

  refinancing loan from UWM. The Escues’ UWM loan was a conventional 18-year

  fixed rate loan with an interest rate of 3.499% and a principal amount of $243,200.

        196. As a fee for his services, Elkins earned a $2,324 commission which was

  paid by UWM.



                                            110
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        197. According to publicly available data, the mortgage loan Elkins

  procured for the Escues was not the most affordable option on the market. In the

  same month that Elkins originated the Escues’ loan, multiple other wholesale lenders

  were offering loans with the same parameters in all material respects, for borrowers

  with substantially profile to the Escues’, while charging significantly lower rates.

        198. Because Elkins only presented the Escues with options from UWM and

  no other lender, the Escues overpaid significantly for their mortgage loan.

        199. The expensiveness of a mortgage loan is a function of (i) the interest

  rate the borrower pays and (ii) the upfront costs and fees the borrower pays relative

  to the interest rates and upfront cost and fee structures available in the market for a

  comparable borrower seeking a comparable loan at the relevant time.

        200. The Escues’ closing disclosure indicates that they did not pay any

  origination fee or discount points to UWM at the time of closing. So the upfront

  fees and costs on the Escue loan do not indicate its expensiveness. Rather, the

  expensiveness of the Escues’ loan is apparent when considering the interest rate and

  the specific type of loan involved.

        201. The Escues’ loan was a fixed-rate loan with an 18-year term.

  Generally, loans with shorter terms have lower interest rates than equivalent loans

  with longer terms. As of February 3, 2022, a few weeks before the Escues’

  refinancing loan closed, the benchmark interest rate for a 30-year fixed rate



                                           111
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  mortgage loan was 3.55%.119 The benchmark interest rate for a 15-year fixed rate

  mortgage loan was 2.77%.120 The Escues’ interest rate for their 18-year term loan—

  which should have been much closer to a rate for a 15-year loan than a 30-year

  loan—was 3.499%, just 0.051% off the 30-year benchmark rate. The rate was thus

  substantially above-market, given the date and term length of the loan.

              202. Additionally, because Elkins structured the Escues’ loan to provide

  them $2,452.89 cash back at closing, which exceeds a $2,000 threshold set under the

  Fannie Mae and Freddie Mac Selling Guidelines, the Escues’ loan was classified as

  a “cash-out refinance” loan, and thus subject to an additional price increase, making

  their loan even more expensive. Neither Elkins nor UWM ever informed the Escues

  of the consequences of structuring their loan in this way and never explained that by

  taking $2,452.89, they would be increasing their loan costs substantially.

              203. The Escues’ story is just one among thousands. During February 2022,

  the same month the Escues got their UWM loan, Elkins was involved in 13 other

  loan transactions. All 13 went to UWM. Between 2021 and 2022, Elkins was

  involved in 451 loan transactions, 449 of which went to UWM. In the aggregate,

  UWM borrowers who used Elkins over the last three years paid at least hundreds of



  119
     Mortgage Rates, Primary Mortgage Market Survey, Freddie Mac,
  https://www.freddiemac.com/pmms.
  120
        Id.


                                             112
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  thousands more in origination fees and costs than they otherwise would have if

  Elkins had found them the most affordable loan available. In practical effect, Elkins

  was an exclusive loan officer for UWM, given that he originated close to 100% of

  all loans with UWM across the hundreds of mortgages reference above. Elkins did

  not disclose this fact to borrowers. On the contrary, he falsely represented he was

  an independent mortgage broker who would shop for the best loan.

        204. This result is precisely what UWM’s scheme and the steering enterprise

  is designed to produce. UWM ensured that Elkins would put the financial interests

  of UWM and himself above the borrower’s interests by contractually restricting

  Elkins’s ability to independently shop while offering valuable benefits in exchange

  for an increasing rate of referrals.

        205. The Escues are among the classes of individuals who were injured by

  UWM’s conduct alleged in this complaint.

        B.     Plaintiff Kim Schelble’s UWM Mortgage
        206. Plaintiff Kim Schelble and his wife, Yvette Cho, bought their home in

  Chapel Hill, North Carolina on June 3, 2021.

        207. Schelble sought to finance 80% of the purchase price and sought to find

  a competitively priced mortgage.

        208. Schelble hired Whitney Bulbrook as his mortgage broker.




                                          113
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           209. Bulbrook is the founder, owner and president of mortgage brokerage

  firm called Carolina Ventures Mortgage, LLC (“Carolina Ventures”).

           210. Bulbrook has been the top producing mortgage broker in North

  Carolina in each of the last six years. In 2023 alone, she originated $108,075,822 in

  mortgage loan volume, the twenty-seventh highest total of any broker in the

  country.121 Carolina Ventures, is likewise among the top producing firms in the

  state.

           211. In borrower-facing marketing materials and social media, Bulbrook

  holds herself out as a “trusted guide” for her clients whose independence from any

  particular lender allows her to pursue her clients’ “best interest.”122 Nowhere does

  she disclose her relationship with UWM. Nor does she disclose that, in practical

  effect, she is an exclusive loan officer for UWM, by virtue of originating loans with

  UWM close to 100% of the time across hundreds of mortgages. On the contrary,

  Bulbrook falsely represented she was independent and would shop for rates across a

  variety of lenders.




  121
        2023 Top Mortgage Brokers, Scotsman Guide.
  122
     Figure 28, Carolina Ventures’ Facebook Page, Sep. 27, 2023 at 2:00 PM &
  Mar. 28, 2024 at 2:00 PM,
  https://www.facebook.com/CarolinaVenturesMortgage/.


                                          114
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                                       Figure 28




        212. The homepage of Bulbrook’s website features a video that emphasizes

  the concepts of “shopping” and “choices” in describing the benefits of working with

  a mortgage broker as opposed to a retail lender like a bank. The narrator of the video

  says the following:

               Meet your local licensed mortgage broker. She’s not a big
               corporation or a bank. She doesn’t advertise on TV. She
               doesn’t do car loans, trade stocks, or offer checking
               accounts. She does one thing. And she does it better than
               anyone else. She shops for great deals on mortgages. So
               why get a personal shopper for your mortgage? Because
               you want an advocate. And choices. Lot’s of choices.
               Choices set up competition between lenders. And that’s
               good for you. The sales people at banks and big lenders
               can’t show you the big picture. But a broker compares
               deals from hundreds of banks and lenders of all sizes
               across the U.S., then organizes and presents those choices
               based on your location, financial situation, timeline and
               other factors. She can then help you choose the best
               mortgage for your circumstances. And a better mortgage


                                           115
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                 can save you time, frustration, and most importantly, $20,
                 $50, or even $100 or more off your monthly payments. So
                 when it comes to the biggest purchase of your life, don’t
                 take the first offer that comes along. Get an expert who
                 shops on your behalf. Get an independent mortgage
                 broker.123

                                         Figure 29




           213. Many of Bulbrook’s borrower-facing marketing materials are

  developed using UWM’s “Brand 360” suite of marketing resources, including its

  “Brand Builder” tool which enables individual brokers or loan officers to customize

  UWM-produced social media posts, fliers, and other marketing materials and to pass

  them off as their own without any indication that UWM prepared them.

           214. Bulbrook utilizes UWM’s marketing resources for her realtor-facing

  marketing materials as well. In her realtor-facing marketing materials, Bulbrook


  123
        Figure 29, https://www.carolinaventures.com/


                                            116
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  emphasizes her ability to “shop” on her clients’ behalf until she drops their interest

  rates.124

                                        Figure 30




         215. Under North Carolina and federal law, Bulbrook was a fiduciary who

  owed a duty of loyalty to her client, Schelble. In her capacity as a fiduciary, it was

  Bulbrook’s responsibility, among other things, to (i) put Schelble’s interests before

  her own, (ii) diligently survey the wholesale market on Schelble’s behalf; (iii)

  present Schelble with the best and most affordable loan options available to him; and

  (iv) disclose to Schelble all material facts that might affect her ability to discharge

  her duties in a diligent and unconflicted manner.




  124
     Figure 30, Carolina Ventures Mortgage’s Facebook Page, Jun. 1, 2023,
  https://www.facebook.com/CarolinaVenturesMortgage/videos/932812668028132.


                                           117
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           216. Despite her representations to the contrary, however, Bulbrook is not,

  in fact, an “independent” mortgage broker under any reasonable definition. Instead,

  she is a corrupt UWM loyalist. Bulbrook does not independently shop for the most

  competitively priced mortgage loans for her borrowers. Rather, she intentionally

  funnels her borrowers to UWM.

           217. According to publicly available data, from 2019 to 2023, Bulbrook sent

  virtually all—99.6%—of her business to UWM. In other words, Bulbrook sent

  $552,104,915 of loan volume to UWM and only $2,163,000 to all other wholesale

  lenders.125

                                          Figure 31




           218. In 2021, she sent 509 loans (99.4% of all her loans) to UWM, and 3

  loans to another lender. In 2022 and 2023, she sent all her loans (100%) to UWM.


  125
        Figure 31, Analysis of publicly available data.


                                             118
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        219. Bulbrook has signed UWM’s Wholesale Broker Agreement and is

  bound by the terms and conditions therein, including UWM’s “All-In” ultimatum,

  which prohibits Bulbrook from sending any loans to Rocket Mortgage. Bulbrook

  has complied with the provisions of UWM’s Wholesale Broker Agreement,

  including the “All-In” ultimatum, and has not sent any loans to Rocket Mortgage

  since it went into effect on March 15, 2021. Bulbrook also participates in UWM’s

  loyalty rewards programs, including the PRO Rankings and LO Partner Points

  programs. Bulbrook has also visited UWM’s campus multiple times, including to

  network with UWM personnel and other brokers, to attend UWM-sponsored meals

  and parties, and to participate in UWM-organized training sessions. And she has

  been a featured speaker at UWM-sponsored events to present UWM’s sales and

  communication strategies to other brokers.126 UWM, in fact, created the video on

  Bulbrook’s homepage.127




  126
     Figure 32, United Wholesale Mortgage’s Facebook Page, Nov. 18, 2021,
  https://www.facebook.com/UnitedWholesaleMortgage/videos/6374415879299453/
  .
  127
      United Wholesale Mortgage’s Facebook Page, Aug. 9, 2016,
  https://www.facebook.com/UnitedWholesaleMortgage/videos/1015357726076200
  0/.


                                        119
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                                     Figure 32




        220. As a result of Bulbrook’s repeated demonstrations of loyalty and

  referrals of business to UWM, UWM has rewarded her with travel, meals, valuable

  perks, and VIP treatment. For example, six months after UWM went public in 2021,

  Bulbrook was among the select group of brokers that UWM invited on an all

  expenses paid trip to New York to ring the closing bell at the New York Stock

  Exchange with CEO Mat Ishbia in celebration of National Mortgage Broker’s Day.

  Bulbrook attended and stood immediately to Ishbia’s right as he rung the closing

  bell on July 21, 2021.128


  128
     Figure 33, Whitney Bulbrook’s LinkedIn Page,
  https://www.linkedin.com/posts/whitney-bulbrook-cv_congrats-to-my-broker-
  partner-whitney-bulbrook-activity-6825845793128255488-
  h9i4/?trk=public_profile_like_view.


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                                       Figure 33




           221. More importantly, UWM has rewarded Bulbrook with top placement

  on its broker directory website.      When Schelble’s ZIP code is typed into

  MortgageMatchup.com—UWM’s online broker directory—Bulbrook appears

  among the top three results.129

           222. When Schelble first approached Bulbrook about his need for a loan to

  purchase his home, Bulbrook knew she would place Schelble in a UWM loan.


  129
        Figure 17, supra.


                                          121
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        223. Despite that intention, Bulbrook advised Schelble that she intended to

  diligently survey the loan options available from numerous other wholesale

  mortgage lenders, and find the option that was most affordable and best aligned with

  Schelble’s financing needs.      Schelble believed and relied upon Bulbrook’s

  representations, which she parroted from UWM and amplified through marketing

  materials and assistance that UWM provided to her, that she would diligently and

  independently shop for a loan in his best interests. Indeed, the expectation that

  Bulbrook would shop for the best loan on her behalf was the entire reason why

  Schelble hired Bulbrook in the first place.

        224. Notwithstanding Bulbrook’s representations, Bulbrook never in fact

  conducted any meaningful search of loan options from non-UWM lenders at all.

  Instead, Bulbrook searched for and recommended only loan options from UWM.

  Bulbrook never seriously considered sending Schelble to any lender other than

  UWM.

        225. Neither Bulbrook nor UWM ever disclosed to Schelble that Bulbrook

  had signed an agreement—UWM’s Wholesale Broker Agreement—which

  meaningfully restricted her ability to shop for mortgage loans in his best interest.

  Bulbrook and UWM also never disclosed to Schelble that Bulbrook sent virtually all

  of her clients to UWM, or that she received valuable benefits and perquisites from

  UWM.



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        226. At all relevant times, UWM was aware of Bulbrook’s fiduciary

  relationship and responsibilities with respect to her clients, including Schelble.

  However, in pursuit of attaining and sustaining increasing market share, UWM

  induced and substantially assisted Bulbrook’s breach of her fiduciary responsibilities

  vis-à-vis Schelble through its aggressive tactics of restricting Bulbrook’s ability to

  shop multiple lenders and to exercise independent judgment while simultaneously

  providing Bulbrook things of value in exchange for steering. UWM was fully aware

  that in steering the vast majority of her loans to a single lender—UWM—Bulbrook

  was breaching the fiduciary duties she owed to her clients, including Schelble.

        227. Ultimately, on June 3, 2021, Bulbrook originated Schelble’s loan from

  UWM. Schelble’s UWM loan was a conventional 30-year mortgage loan at a fixed

  interest rate of 2.750% for a principal amount of $536,000.

        228. As a fee for her services, Bulbrook earned a 2% commission on the

  principal amount of the loan, totaling $10,720.00, which UWM paid to Carolina

  Ventures Mortgage, LLC

        229. Schelble paid closing costs totaling $25,991.16, of which $5,383.85

  was categorized as loan costs.

        230. Schelble’s top priority for financing his home was securing the most

  competitive interest rate. The 2.750% interest rate Bulbrook secured from UWM

  met Schelble’s expectations. Schelble did not realize at any point prior to closing,



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  that he would be paying $2,953.41 in “discount points” as a condition of securing

  the 2.750% interest rate. Neither Bulbrook nor UWM ever discussed “points” with

  Schelble or explained that his interest rate was conditioned on his purchase of

  “points.” As importantly, Bulbrook and UWM never explained that in achieving a

  lower interest rate by paying for “points,” Schelble would end up with a loan that

  was significantly more expensive overall than substantially similar alternatives

  available in the market.

        231. Publicly available data shows the mortgage loan Bulbrook procured for

  Schelble was not, in fact, anywhere close to the most affordable option on the

  market. Multiple lenders in May and June 2021 were offering substantially similar

  loans, for a borrower of Schelble’s profile, at the same 2.750% interest rate, for

  significantly lower upfront charges.

        232. Specifically, when considering the universe of loans originated by the

  top 25 wholesale lenders in 2021, the median upfront costs charged for a loan with

  the same characteristics, with the same 2.750% interest rate, at the same time (in

  May and June 2021), for a borrower with substantially the same characteristics as

  Schelble, was lower for at least 13 of them, including Everett Financial, Fairway

  Independent Mortgage, Flagstar Bank, Freedom Mortgage, Home Point Financial,

  LoanDepot, New American Funding, OCMBC (LoanStream Mortgage), Pennymac




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  Loan Services, Plains Commerce Bank, Provident Funding Associates, Rocket

  Mortgage, and Stearns Lending.

        233. Indeed, both Fairway Independent Mortgage and Rocket Mortgage—

  the two wholesale lenders that UWM contractually barred Bulbrook from

  considering in connection with originating a loan for Schelble—were offering less

  expensive loans with substantially the same characteristics and the same interest rate.

        234. As a direct and proximate result of UWM’s scheme, Schelble paid at

  least $850 more in upfront costs than the median comparable loan available from

  other non-UWM wholesale lenders, at least $1,000 more than the median

  comparable loan from Fairway Independent Mortgage, and at least $870 more than

  the median comparable loan from Rocket Mortgage, which were available for

  similar borrowers in May through June 2021.

        235. In 2021, the year Bulbrook originated Schelble’s loan, Bulbrook’s

  loans were, on average, 74 basis points more expensive than non-UWM loans

  available in North Carolina with origination costs at the twentieth percentile,

  controlling for loan type and interest rate. In other words, on average, Bulbrook’s

  borrowers paid thousands more for their loans than they would have if she shopped

  around to non-UWM lenders.

        236. Between 2021 and 2023, Bulbrook was involved in at least 985 loan

  transactions, 982 of which went to UWM. For originating those loans, Bulbrook



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  earned approximately $7 million in commissions as compensation for the services

  she provided her borrowers. But over that time period, her borrowers paid, in the

  aggregate, at least $3.3 million more in origination fees and costs than they otherwise

  would have if Bulbrook had found them the most affordable loan available. Nearly

  all of those additional fees went directly to UWM.

        237. This result is precisely what UWM’s scheme is designed to produce.

  UWM ensured that Bulbrook would put the financial interests of UWM and herself

  above the borrower’s interests by contractually restricting Bulbrook’s ability to

  independently shop while offering benefits in exchange for steering.

        238. Schelble is among the classes of individuals who were injured by

  UWM’s conduct alleged in this complaint.

        C.     Plaintiff Brian Weatherill’s UWM Mortgage

        239. Plaintiff Brian Weatherill purchased his home located in Bushnell,

  Florida in or around June 2021.

        240. Weatherill hired Toni Raulerson as his mortgage broker.

        241. Raulerson is affiliated with the Plant City Mortgage Corporation, which

  also does business as Florida Mortgage Firm.

        242. Florida      Mortgage       Firm,    which      operates    the    website

  “BestFloridaRate.com,” markets itself as an independent mortgage brokerage firm.

  On its social media, it tells prospective clients: “Since a second opinion is never a



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  bad idea when it comes to a large transaction, think outside the box and talk to an

  independent brokerage when buying a house. Never BLINDLY use an “in-house”

  lender. In fact, the lender you choose can have a greater impact on your interest rate

  than your actual credit score, in many cases.”130 It also emphasizes, in its marketing,

  that an independent mortgage broker, unlike a retail lender, “Provides consumers

  multiple loan options.”131

                                        Figure 34




        243. Raulerson is among the top mortgage brokers affiliated with Florida

  Mortgage Firm. For six years in a row, from 2016 through 2022, Raulerson was


  130
     Florida Mortgage Firm’s Facebook Page, Jan. 15, 2019,
  https://www.facebook.com/FloridaMortgageFirm.
  131
     Figure 34, Florida Mortgage Firm’s Facebook Page, Jul. 18, 2022,
  https://www.facebook.com/FloridaMortgageFirm.


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  ranked among the top 1% of mortgage brokers in the country in terms of loan volume

  originated. From 2021 through 2023, she originated 818 mortgages, accounting for

  more than $219.2 million in loan volume.

           244. On her website, she represents to her prospective clients: “Whether

  purchasing your first home, refinancing your existing home or investing in a second

  home, I will ensure you get the loan program and rates that fit your individual

  mortgage needs, all with service that is unsurpassed.”132

           245. Weatherill hired Raulerson to serve as his independent mortgage

  broker, believing she would advise him as to the best and most affordable mortgage

  loan options available, regardless of which entity would act as the lender.

           246. As a result of the confidential relationship of trust and reliance between

  Weatherill, on the one hand, and Raulerson, on the other, under Florida and federal

  law, Raulerson owed fiduciary duties to Weatherill in connection with obtaining a

  mortgage for his Bushnell, Florida home. In her capacity a fiduciary, Raulerson had

  a duty, among other things, to (i) put Weatherill’s interests before her own, (ii)

  diligently survey the wholesale market on Weatherill’s behalf; (iii) make an effort

  to present Weatherill with the best and most affordable loan options available to him;

  and (iv) disclose to Weatherill all material facts that might affect her ability to

  perform her responsibilities in a diligent and unconflicted manner.

  132
        https://flamortgagefirm.com/getting-started-with-toni/.


                                             128
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        247. Despite her representations to the contrary, however, Raulerson is not,

  in fact, an “independent” mortgage broker under any definition. Instead, she is a

  corrupt UWM loyalist.

        248. According to publicly available data, in 2021, Raulerson sent 80.5% of

  her loan volume to UWM. In 2022, she sent 86.2%. In 2023, she sent 90.3%.

        249. Raulerson does not independently shop for the most competitively

  priced mortgage loans for her borrowers. Rather, she intentionally funnels her

  borrowers to UWM.

        250. Raulerson signed UWM’s Wholesale Broker Agreement and, at all

  relevant times, has been bound by the terms and conditions therein, including

  UWM’s “All-In” ultimatum, which prohibits her from sending any loans to Rocket

  Mortgage. Raulerson has complied with the provisions of UWM’s Wholesale

  Broker Agreement, including the “All-In” ultimatum, and has not sent any loans to

  Rocket Mortgage since it went into effect on March 15, 2021. Raulerson participates

  in UWM’s loyalty rewards programs, including the PRO Rankings and LO Partner

  Points programs. She has also visited UWM’s campus multiple times, including to

  network with UWM personnel and other brokers, to attend UWM-sponsored meals

  and parties, and to participate in UWM-organized training sessions.




                                         129
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        251. When Weatherill first approached Raulerson about searching for a

  mortgage for his home, Raulerson knew she would refer him to UWM regardless of

  UWM’s pricing vis-à-vis other available options.

        252. Despite that knowledge, Raulerson advised Weatherill that she would

  diligently survey the loan options available from numerous other wholesale

  mortgage lenders and find the option that was most affordable and best aligned with

  Weatherill’s financing needs. Weatherill believed and relied upon Raulerson’s

  representations, which she parroted from UWM and amplified through marketing

  materials and assistance received from UWM, that she would diligently and

  independently shop for a loan in his best financial interests. Indeed, the expectation

  that Raulerson would shop for the most affordable loan on his behalf was the entire

  reason why Weatherill hired Raulerson in the first place.

        253. Notwithstanding Raulerson’s representations to Weatherill, Raulerson

  never in fact conducted any meaningful search of loan options from non-UWM

  lenders at all. Instead, Raulerson searched for and recommended only loan options

  from UWM. Raulerson never seriously considered sending Weatherill to any lender

  other than UWM.

        254. Neither Raulerson nor UWM ever disclosed to Weatherill that

  Raulerson had signed an agreement—UWM’s Wholesale Broker Agreement—

  which meaningfully restricted his ability to shop for mortgage loans in their best



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  interest. Raulerson and UWM also never disclosed to Weatherill that Raulerson sent

  the vast majority of her clients to UWM, and that she received valuable benefits from

  UWM in exchange.

        255. At all relevant times, UWM was aware of Raulerson’s fiduciary

  relationship and responsibilities with respect to her clients, including Weatherill.

  However, in pursuit of attaining and sustaining ever increasing market share, UWM

  induced and substantially assisted Raulerson’s breach of her fiduciary

  responsibilities vis-à-vis Weatherill through its aggressive tactics of restricting

  Raulerson’s ability to shop multiple lenders and to exercise independent judgment

  while simultaneously providing them value in exchange for steering. UWM was

  fully aware that in steering the vast majority of her loans to a single lender—

  UWM—Raulerson was breaching the fiduciary duties she owed to her clients,

  including Weatherill.

        256. Ultimately, on June 8, 2021, Raulerson originated Weatherill’s

  mortgage loan. Weatherill’s UWM loan was a conventional 30-year mortgage loan

  at a fixed interest rate of 2.999% for a principal amount of $343,200.

        257. Weatherill paid $10,682.50 in closing costs, which included an

  origination fee of $3,071.64 (0.895% of the loan amount) paid to UWM.

        258. As a fee for her services, Raulerson earned a commission of $9,438.00

  (2.75% of the loan amount), which was paid by UWM.



                                          131
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          259. According to publicly available data, the mortgage loan Raulerson

  procured for Weatherill was not the most affordable option on the market. In the

  same month that Raulerson originated Weatherill’s loan, multiple other wholesale

  lenders, in the same geographic location, were offering loans with the same

  parameters in all material respects—same type of loans, at the same or similar

  interest rates—while charging significantly lower origination fees.

          260. However, because Raulerson only presented Weatherill with options

  from UWM and no other lender, Weatherill overpaid significantly for his mortgage

  loan.

          261. As a direct and proximate result of UWM’s scheme, Weatherill paid at

  least $2,800 more in upfront costs than the median comparable loan available from

  other non-UWM wholesale lenders in May and June 2021.

          262. Hundreds of other borrowers are in the exact same position as

  Weatherill. During 2021, the same year Weatherill got his UWM loan, Raulerson

  was involved in 446 other loan transactions, 359 of which went to UWM. Between

  2021 and 2023, Raulerson was involved in 818 loan transactions, 686 of which went

  to UWM. In the aggregate, UWM borrowers who used Raulerson over the last three

  years paid millions more in origination fees and costs than they otherwise would

  have if Raulerson had found them the most affordable loan available.




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        263. UWM ensured that Raulerson would put the financial interests of

  UWM, her brokerage firm, and herself above the borrower’s interests by

  contractually restricting her ability to independently shop and offering valuable

  benefits in exchange for referrals.

        264. Weatherill is among the classes of individuals who were injured by

  UWM’s conduct alleged in this complaint.

        D.     Plaintiff Kenneth Morandi’s UWM Mortgage

        265. Plaintiff Kenneth C. Morandi bought his home located in Long Beach,

  California in or around July 2005.

        266. In or around June 2022, Morandi decided to hire a mortgage broker to

  refinance his home rather than approaching a retail lender, believing that a mortgage

  broker would serve Morandi’s best interests in shopping for a competitively priced

  loan. Morandi hired a mortgage broker—Garrett Bradley Todd, a senior loan officer

  at National Trust Lending (“National Trust” aka “Katzman Enterprises”).

        267. Todd has worked as a mortgage broker for over 20 years. According

  to information available through the Nationwide Multistate Licensing System

  (“NMLS”), Todd is licensed to originate mortgages in California, and heads a branch

  which operates the website www.gtmortgage.co.

        268. Todd’s brokerage firm, National Trust, is a large residential mortgage

  brokerage firm headquartered in Van Nuys, California. The firm is licensed to do



                                          133
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  business in California. From 2020 to 2023, National Trust originated 658 mortgage

  loans totaling over $374 million in loan volume.

           269. Todd and National Trust market themselves as “independent” mortgage

  brokers. For example, on NationalTrustLending.com, the firm represents to the

  public: “[National Trust Lending’s] clients receive the best and most customized

  service possible.”133 Indeed, Todd regales the benefits of working with a broker that

  takes the time to shop for their clients, saying on his website, “Garrett Todd will

  analyze your financial position to find the appropriate loan product. Many brokers

  and loan officers in the industry do not spend the extra time comparing loan products

  prior to issuing. That additional research time can make the difference down the road

  of your mortgage.”134       Indeed, Todd represents that he considers “hundreds of

  financing options” and that he is “constantly researching and staying on top of the

  mortgage market to ensure I obtain the best financing options for you and your

  family.”135




  133
        https://nationaltrustlending.com/index.php/first-home/.
  134
        https://www.gtmortgage.co/.
  135
        Figure 35, https://www.gtmortgage.co/gt-philosophy/.



                                            134
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                                       Figure 35




        270. Morandi hired Todd to serve as his agent in the refinance process and

  advise him as to the best and most affordable mortgage loan options available,

  regardless of which entity would act as the lender. Morandi would not have hired

  Todd had he known Todd was not shopping around for Morandi’s benefit.

        271. As a result of the confidential relationship of trust and reliance between

  Morandi, on the one hand, and Todd, on the other, and the fact that Morandi hired

  Todd to serve as his mortgage broker and agent in connection with the refinance of

  his home, under California and federal law, Todd owed fiduciary duties to Morandi.

  In his capacity as a fiduciary, Todd had a duty, among other things, to (i) put

  Morandi’s interests before his own, (ii) diligently survey the wholesale market on

  Morandi’s behalf; (iii) present Morandi with the best and most affordable loan


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  options available to him; and (iv) disclose to Morandi all material facts that might

  affect his ability to perform his responsibilities in a diligent and unconflicted

  manner.

        272. Despite his representations to the contrary, Todd is not, in fact, an

  “independent” mortgage broker under any definition. Instead, he is a UWM loyalist.

        273. According to publicly available data, in 2020, Todd sent 90% of his

  loan volume to UWM. In 2021, he sent 91% and in 2022 (the year Morandi received

  his loan), he sent 96%. Similarly, during the same years National Trust funneled

  87%, 86%, and 88% of its loans, respectively, to UWM. Between 2020 and 2022,

  Todd originated more than $221,515,000 in mortgage loans, making him the third

  largest loan officer in California and a top 10 loan officer nationally.

        274. Todd does not independently shop for the most competitively priced

  mortgage loans for his borrowers. Rather, he intentionally funnels his borrowers to

  UWM.

        275. Todd signed UWM’s Wholesale Broker Agreement and, at all relevant

  times, has been bound by the terms and conditions therein, including UWM’s “All-

  In” ultimatum, which prohibits Todd from sending any loans to Rocket Mortgage.

  Todd has complied with the provisions of UWM’s Wholesale Broker Agreement,

  including the “All-In” ultimatum, and has not sent any loans to Rocket Mortgage

  since it went into effect on March 15, 2021. Todd participates in UWM’s loyalty



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  rewards programs, including the PRO Rankings and LO Partner Points programs.

  He has also visited UWM’s campus multiple times, including to network with UWM

  personnel and other brokers, to attend UWM-sponsored meals and parties, and/or to

  participate in UWM-organized training sessions.

        276. When Morandi first approached Todd about his desire to refinance his

  home, Todd knew he would refer them to UWM regardless of UWM’s pricing vis-

  à-vis other available options.

        277. Despite that knowledge, Todd advised Morandi that he intended to

  diligently survey the loan options available from numerous other wholesale

  mortgage lenders and find the option that was most affordable and best aligned with

  Morandi’s financing needs. Morandi believed and relied upon Todd’s express and

  implied representations, which he parroted from UWM and amplified through

  marketing materials and assistance received from UWM, that he would diligently

  and independently shop for a loan in his best interests. Indeed, the expectation that

  Todd would shop for the best loan on his behalf was the entire reason why Morandi

  hired Todd in the first place.

        278. Notwithstanding Todd’s representations to Morandi and in his

  borrower-facing advertising, Todd never in fact conducted any meaningful search of

  loan options from non-UWM lenders at all.         Instead, Todd searched for and




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  recommended only loan options from UWM. Todd never seriously considered

  sending Morandi to any lender other than UWM.

        279. Neither Todd nor UWM ever disclosed to Morandi that Todd had

  signed an agreement—UWM’s Wholesale Broker Agreement—which meaningfully

  restricted his ability to shop for mortgage loans in his best interest. Todd and UWM

  also never disclosed to Morandi that Todd sent the vast majority of his clients to

  UWM, and that he received valuable benefits from UWM in exchange for Todd’s

  steering of referrals to UWM.

        280. At all relevant times, UWM was aware of Todd’s and National Trust’s

  fiduciary relationship and responsibilities with respect to their clients, including

  Morandi. However, in pursuit of attaining and sustaining ever increasing market

  share, UWM induced and substantially assisted Todd’s and National Trust’s breach

  of their fiduciary responsibilities vis-à-vis Morandi through its aggressive tactics of

  restricting Todd’s and National Trust’s ability to shop multiple lenders and to

  exercise independent judgment, while simultaneously providing them value in

  exchange for steering. UWM was fully aware that Todd was breaching the fiduciary

  duties he owed to his clients, including Morandi, by sending the vast majority of his

  loans to UWM without performing the services that Todd was paid to perform.




                                           138
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        281. Ultimately, on June 16, 2022, Todd originated Morandi’s refinancing

  loan from UWM. Morandi’s UWM loan was a 30-year conventional loan at a fixed

  interest rate of 4.625% for a principal amount of $310,000.

        282. One of Morandi’s top priorities for financing his home was securing the

  most competitive interest rate. The 4.625% interest rate Todd secured from UWM

  met Morandi’s expectations. Morandi did not realize, at any point prior to closing,

  that he would be paying $4,348.31 in “discount points” as a condition of securing

  the 4.625% interest rate. Neither Todd nor UWM ever discussed “points” with

  Morandi or explained that his interest rate was conditioned on his purchase of

  “points.” As importantly, Todd and UWM never explained that in achieving a lower

  interest rate by paying for “points,” Morandi would end up with a loan that was

  significantly more expensive overall than substantially similar alternatives available

  in the market.

        283. As a fee for his services, Todd earned a commission of $7,250 (2.33%

  of the loan amount), which was paid by Morandi to UWM and then sent from UWM

  to Todd.

        284. Morandi paid $14,824.46 in closing costs, which included an

  origination fee of $11,598.31 (3.741% of the loan amount) paid to UWM, including

  the points origination charges and fee to Todd described above.




                                           139
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        285. According to publicly available data, the mortgage loan Todd procured

  for Morandi was not the most affordable option on the market. In the same month

  that Todd originated Morandi’s loan, multiple other wholesale lenders, in the same

  geographic location, were offering loans with the same parameters in all material

  respects—same type of loans, at the same or similar interest rates—while charging

  significantly lower origination fees.

        286. However, because Todd only presented Morandi with options from

  UWM and no other lender, Morandi overpaid significantly for his mortgage loan.

        287. As a direct and proximate result of UWM’s scheme, Morandi paid at

  least $1,800 more than the median market loan and at least $2,100 more than Rocket

  loans for similar borrowers with similar loan terms in June and July 2022

        288. Morandi’s story is just one among many. Between 2021 and 2022,

  Todd was involved in 475 loan transactions, 448 of which went to UWM. In the

  aggregate, UWM borrowers who used Todd over the last three years paid at least

  hundreds of thousands more in origination fees and costs than they otherwise would

  have if Todd had found them the most affordable loan available.

        289. This result is precisely what UWM’s scheme and enterprise is designed

  to produce. UWM ensured that Todd would put the financial interests of UWM and

  himself above the borrower’s interests by contractually restricting Todd’s ability to

  independently shop while offering valuable benefits in exchange for referrals.



                                          140
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        290. Morandi is among the classes of individuals who were injured by

  UWM’s conduct alleged in this complaint.

        E.     Plaintiffs Jill Jeffries’s and Daniel Singh’s UWM Mortgage
        291. Plaintiffs Jill Jeffries and her husband, Daniel Singh, bought their home

  in North Port, Florida on October 3, 2023.

        292. Jeffries and Singh sought to finance over 90% of the purchase price and

  sought to find a competitively priced mortgage.

        293. Jeffries and Singh hired Josh McCombs as their mortgage broker.

        294. McCombs, or “The Mortgage Man” as he brands himself, is a loan

  officer at Core Financial, Inc. (“Core Financial”), a mortgage brokerage firm formed

  and licensed in Florida with 34 sponsored loan officers. McCombs first became

  licensed as a mortgage loan originator in April 2011 and has worked in the mortgage

  industry since that time.

        295. For the last several years, McCombs has been a top producing mortgage

  broker in Florida. From 2020 through 2023, McCombs originated over $81 million

  in mortgages. Core Financial is likewise among the top producing firms in the state.

        296. Indeed, in 2022, UWM ranked McCombs as one of their top 1%

  “partners”.136



  136
     Figure 36, Josh McCombs’ Facebook Page, Jan. 9, 2023,
  https://www.facebook.com/ people/Josh-McCombs-The-Mortgage-Man/.


                                          141
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                                      Figure 36




        297. In borrower-facing marketing materials and social media, McCombs

  holds himself out as a broker with “rates lower than anyone else’s”137 and his

  brokerage firm, Core Financial, “guarantees you the lowest rates in Florida.”138 On

  his social media accounts, McCombs invites borrowers who want to shop around to

  call him to get the best rates.




  137
     Figure 37, Josh McCombs’ Facebook Page, Feb. 24, 2024,
  https://www.facebook.com/ people/Josh-McCombs-The-Mortgage-Man/.
  138
     Core Financial Website - “Mortgage Lending Services”,
  https://corefinancialmortgage.com/mortgage-lending-services/.


                                         142
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                                         Figure 37




        298. Many of McCombs’s borrower-facing marketing materials are

  developed using UWM’s “Brand 360” suite of marketing resources, including its

  “Brand Builder” tool which enables individual brokers or loan officers to customize

  UWM-produced social media posts, fliers, and other marketing materials and to pass

  them off as their own without any indication that UWM prepared them.

        299. Under Florida and federal law, McCombs was a fiduciary who owed a

  duty of loyalty to his clients, Jeffries and Singh. In his capacity as a fiduciary, it was

  McCombs’s responsibility, among other things, to (i) put Jeffries’s and Singh’s

  interests before his own, (ii) diligently survey the wholesale market on Jeffries and

  Singh’s behalf; (iii) present Jeffries and Singh with the best and most affordable loan

  options available to them; and (iv) disclose to Jeffries and Singh all material facts

  that might affect his ability to discharge his duties in a diligent and unconflicted

  manner.




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        300. Despite his representations to the contrary, however, McCombs is not,

  in fact, an “independent” mortgage broker under any reasonable definition. Instead,

  he is a corrupt UWM loyalist. McCombs does not independently shop for the most

  competitively priced mortgage loans for his borrowers. Rather, he intentionally

  funnels his borrowers to UWM.

        301. According to publicly available data, from 2022 to 2023, McCombs

  sent 90.3% of his business to UWM. In other words, McCombs sent $29,777,683

  of loan volume to UWM and only $3,167,035 to all other wholesale lenders.

        302. McCombs has signed UWM’s Wholesale Broker Agreement and is

  bound by the terms and conditions therein, including UWM’s “All-In” ultimatum,

  which prohibits McCombs from sending any loans to Rocket Mortgage. McCombs

  has complied with the provisions of UWM’s Wholesale Broker Agreement,

  including the “All-In” ultimatum, and has not sent any loans to Rocket Mortgage

  since it went into effect on March 15, 2021. McCombs also participates in UWM’s

  loyalty rewards programs, including the PRO Rankings and LO Partner Points

  programs. McCombs has also visited UWM’s campus multiple times, including to

  network with UWM personnel and other brokers, to attend UWM-sponsored meals

  and parties, and to participate in UWM-organized training sessions. McCombs was




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  even invited on an all-expenses paid VIP trip to the New York Stock Exchange for

  National Mortgage Broker Day.139

                                     Figure 38




  139
     Figure 38, Josh McCombs’ Facebook Page, July 18, 2024,
  https://www.facebook.com/ people/Josh-McCombs-The-Mortgage-Man


                                        145
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        303. McCombs’s conduct is especially egregious considering in 2020 he

  only sent 28% of his loan volume to UWM. After signing UWM’s Wholesale

  Broker Agreement in 2021, McCombs went from being an independent broker to a

  corrupt UWM loyalist sending nearly all his loans to UWM.

        304. More importantly, UWM has rewarded McCombs with top placement

  on its broker directory website. When Jeffries’s and Singh ’s ZIP code is typed into

  MortgageMatchup.com—UWM’s online broker directory—McCombs appears

  among the top ten results.

        305. After Jeffries and Singh first approached McCombs about their need

  for a loan to purchase his home, they visited his Facebook page to understand more

  about his business.

        306. McCombs knew all along, including right after Jeffries and Singh first

  approached him, that he intended to place Jeffries and Singh in a UWM loan.

        307. Despite that intention, McCombs advised Jeffries and Singh that he

  intended to diligently survey the loan options available from numerous other

  wholesale mortgage lenders, and find the option that was most affordable and best

  aligned with Jeffries and Singh ’s financing needs. Jeffries and Singh believed and

  relied upon McCombs’s representations, which he parroted from UWM and

  amplified through marketing materials and assistance that UWM provided to him,

  that he would diligently and independently shop for a loan in their best interests.


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  Indeed, the expectation that McCombs would shop for the best loan on their behalf

  was the entire reason why Jeffries and Singh hired McCombs in the first place.

        308. Notwithstanding McCombs’s representations, McCombs never in fact

  conducted any meaningful search of loan options from non-UWM lenders at all.

  Instead, McCombs searched for and recommended only loan options from UWM.

  McCombs never seriously considered sending Jeffries and Singh to any lender other

  than UWM.

        309. Neither McCombs nor UWM ever disclosed to Jeffries and Singh that

  McCombs had signed an agreement—UWM’s Wholesale Broker Agreement—

  which meaningfully restricted his ability to shop for mortgage loans in their best

  interest. McCombs and UWM also never disclosed to Jeffries and Singh that

  McCombs sent virtually all of his clients to UWM, or that he received valuable

  benefits and perquisites from UWM. Indeed, prior to closing, McCombs never

  discussed UWM in any respect with Jeffries and Singh.

        310. At all relevant times, UWM was aware of McCombs’s fiduciary

  relationship and responsibilities with respect to his clients, including Jeffries and

  Singh. However, in pursuit of attaining and sustaining increasing market share,

  UWM induced and substantially assisted McCombs’s breach of his fiduciary

  responsibilities vis-à-vis Jeffries and Singh through its aggressive tactics of

  restricting McCombs’s ability to shop multiple lenders and to exercise independent



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  judgment while simultaneously providing McCombs things of value in exchange for

  steering. UWM was fully aware that in steering the vast majority of his loans to a

  single lender—UWM—McCombs was breaching the fiduciary duties he owed to his

  clients, including Jeffries and Singh.

        311. Ultimately, on October 3, 2023, McCombs originated Jeffries and

  Singh’s loan from UWM. Jeffries and Singh’s UWM loan was a conventional 30-

  year mortgage loan at a fixed interest rate of 7.5% for a principal amount of

  $320,100.

        312. As a fee for his services, McCombs earned a commission on the

  principal amount of the loan, totaling $4,302.40, which UWM paid to Core

  Financial.

        313. Jeffries and Singh paid closing costs totaling $14,497.15, of which

  $8,933.85 was categorized as loan costs.

        314. Publicly available data shows the mortgage loan McCombs procured

  for Jeffries and Singh was not, in fact, anywhere close to the most affordable option

  on the market. Multiple lenders in September and October 2023 were offering

  substantially similar loans, for a borrower of Jeffries and Singh’s profile, at the same

  7.5% interest rate, for significantly lower upfront charges.

        315. Specifically, when considering the universe of loans originated by the

  top 25 wholesale lenders in 2023, the median upfront costs charged for a loan with



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  the same characteristics, with the same 7.5% interest rate, at the same time (in

  September and October 2023), for a borrower with substantially the same

  characteristics as Jeffries and Singh, was lower for many of them, including A&D

  Mortgage, NewRez, Paramount Residential Mortgage Group, FannyMac Loan

  Services, and Rocket Mortgage.

        316. Indeed, Rocket Mortgage—the wholesale lender that UWM

  contractually barred McCombs from considering in connection with originating a

  loan for Jeffries and Singh—was offering a less expensive loan with substantially

  the same characteristics and the same interest rate.

        317. As a direct and proximate result of UWM’s scheme, Jeffries and Singh

  paid at least $1,505 more in upfront costs than the median comparable loan available

  from other non-UWM wholesale lenders, at least $1,590 more than the median

  comparable loan from Rocket Mortgage, which were available for similar borrowers

  in September and October 2023.

        318. This result is precisely what UWM’s scheme is designed to produce.

  UWM ensured that McCombs would put the financial interests of UWM and himself

  above the borrower’s interests by contractually restricting McCombs’s ability to

  independently shop while offering benefits in exchange for steering.

        319. Jeffries and Singh are among the classes of individuals who were

  injured by UWM’s conduct alleged in this complaint.



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                               TOLLING ALLEGATIONS

           320. Plaintiffs repeat and reallege the foregoing allegations as though they

  were fully set forth in this paragraph.

           321. To the extent any limitations periods potentially apply to bar Plaintiffs’

  and Class Members’ claims, those limitations periods have not run because the

  Defendants have engaged in conduct that justifies application of the doctrines of

  equitable tolling, equitable estoppel, and/or fraudulent concealment.

           322. No Plaintiff knew or reasonably could have known about his or her

  claims prior to 2024. UWM took affirmative steps to conceal the Plaintiffs’ causes

  of action, and Plaintiffs could not have discovered the causes of action even by

  exercising due diligence. UWM’s affirmative acts of concealment and Plaintiffs’

  diligence are also discussed in detail in Section VI, supra, and in Counts 1 and 3,

  infra.

           323. UWM’s concealing conduct included: (1) making repeated affirmative

  misrepresentations through its public statements and marketing materials in 2021,

  2022, and 2023 about the independence of brokers; (2) taking measures to prevent

  brokers from disclosing better priced loan options from UWM’s competitors; (3)

  interfering with the fiduciary duties of mortgage brokers; and (4) the other fraudulent

  conduct alleged in this complaint.




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        324. Plaintiffs’ and Class Members’ corrupted brokers also took affirmative

  steps to conceal the Plaintiffs’ causes of action.140

        325. All of these actions, and inactions where UWM and corrupted brokers

  had a duty to act, were intended to deter Plaintiffs from discovering the factual basis

  of the claims. Additionally, UWM also provided benefits, inducements, and things

  of value to Plaintiffs’ brokers without disclosing them on loan documentation.

        326. Plaintiffs had no practical way to determine their brokers were not

  shopping for the best price loans. Uncovering these facts would require analyzing

  data for which ordinary individuals lack reasonable access. Moreover, it would be

  unreasonable for Plaintiffs to independently analyze whether their mortgage brokers

  were properly assessing loan options because Plaintiffs were specifically paying

  brokers to undertake that function. Information and evidence bearing on Plaintiffs’

  causes of action was not in their possession and was not reasonably obtainable, for

  the reasons alleged in this complaint.




  140
     Non-exhaustive examples of corrupted brokers’ concealing misrepresentations
  are detailed in Section II, supra, and Appendix A.


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                         CLASS ACTION ALLEGATIONS

        327. The classes’ claims all derive directly from a single course of conduct

  by the UWM Defendants. Defendants have engaged in uniform and standardized

  conduct toward the classes. They did not differentiate, in degree of care or candor,

  their actions or inactions, or in the content of their statements or omissions, among

  individual class members. Within each claim for relief asserted by the respective

  classes, the same legal standards govern. Additionally, many states, and for some

  claims all states, share the same legal standards and elements of proof, facilitating

  the certification of multistate classes for some or all claims. Accordingly, Plaintiffs

  bring this lawsuit as a class action on their own behalf and on behalf of all other

  persons similarly situated as members of the proposed class pursuant to Federal

  Rules of Civil Procedure 23(a) and (b)(3) and/or (b)(2) and/or (c)(4). This action

  satisfies the numerosity, commonality, typicality, adequacy, predominance, and

  superiority requirements of those provisions.

  I.    Class Definitions

        A.     The Nationwide Class

        328. Plaintiffs bring this action and seek to certify and maintain it as a class

  action under Rules 23(a); (b)(2); and/or (b)(3); and/or (c)(4) of the Federal Rules of

  Civil Procedure on behalf of themselves and a Nationwide Class defined as follows:

               All persons in the United States with claims arising within
               the applicable statute of limitations, as tolled, who
               obtained a UWM mortgage from March 15, 2021 through

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               the present (“the Class Period”) that was originated by a
               mortgage broker who (a) at the time the mortgage was
               originated, was subject to UWM’s Wholesale Broker
               Agreement, and (b) who during the Class Period both: (i)
               referred 75% or more of his or her mortgage loans to
               UWM; and (ii) originated at least 5 separate loans with
               UWM, or if not, is employed by a brokerage firm that
               refers at least 75% of its mortgage loans to UWM.

        B.     The Statewide/Multi-State Subclasses

               1.     Aiding and Abetting Breach of Fiduciary Duty Subclasses

        329. In the event that Plaintiffs fail to state a claim of aiding and abetting

  breach of fiduciary duty on behalf of a nationwide class, Plaintiffs alternatively bring

  claims of aiding and abetting breach of fiduciary duty and seek an order from this

  Court certifying the subclasses pursuant to Rule 23(a); (b)(2); and/or (b)(3); and/or

  (c)(4); and/or (c)(5) of the Federal Rules of Civil Procedure as defined as follows:

              Aiding and Abetting Breach of Fiduciary Duty Subclass One
               All persons who fall into the definition of the Nationwide
               Class (defined supra ¶ 328) and who purchased a UWM
               mortgage in any of the states set forth in Table A, which
               permit a cause of action for aiding and abetting breach of
               fiduciary duty based on a showing of: (1) a breach of
               fiduciary duty; (2) knowledge of the breach; (3)
               substantial assistance or encouragement in the
               commission of the breach; (4) damages or harm.

                                         Table A

                 Arkansas                      Nevada
                 Colorado                      New Hampshire
                 Delaware                      New Jersey
                 Florida                       New Mexico
                 Hawaii                        New York


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                 Illinois                     Oklahoma
                 Kentucky                     Oregon
                 Maryland                     Pennsylvania
                 Massachusetts                South Carolina
                 Michigan                     South Dakota
                 Minnesota                    Tennessee
                 Mississippi                  Utah
                 Montana                      Vermont

             Aiding and Abetting Breach of Fiduciary Duty Subclass Two

               All persons who fall into the definition of the Nationwide
               Class (defined supra ¶ 328) and who purchased a UWM
               mortgage in any of the states set forth in Table B, which
               permit a cause of action for aiding and abetting breach of
               fiduciary duty based on a showing of: (1) a breach of
               fiduciary duty; (2) knowledge of the breach; (3)
               substantial assistance or encouragement in the
               commission of the breach; (4) a causal relationship
               between the assistance or encouragement and the breach;
               and (5) damages or harm.

                                         Table B

                Arizona                       Georgia
                California

               2.     Civil Conspiracy Subclasses

        330. In the event that Plaintiffs fail to state a claim of civil conspiracy on

  behalf of a nationwide class, Plaintiffs alternatively bring claims of civil conspiracy

  and seek an order from this Court certifying the subclasses pursuant to Rule 23(a);

  (b)(2); and/or (b)(3); and/or (c)(4); and/or (c)(5) of the Federal Rules of Civil

  Procedure as defined as follows:




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                            Civil Conspiracy Subclass One

             All persons who fall into the definition of the Nationwide
             Class (defined supra ¶ 328) and who purchased a UWM
             mortgage in any of the states set forth in Table C, which
             permit a cause of action for civil conspiracy where the
             underlying tort is a breach of fiduciary duty upon a
             showing of the following: (1) two or more persons; (2) a
             wrongful or unlawful purpose; (3) an act in furtherance of
             the purpose; and (4) damages or harm.

                                      Table C

              Arkansas                     Maryland
              Connecticut                  Michigan
              Florida                      Minnesota
              Georgia                      Mississippi
              Hawaii                       Nebraska
              Illinois                     Pennsylvania
              Indiana                      Tennessee
              Kentucky                     Virginia
              Louisiana

                            Civil Conspiracy Subclass Two

             All persons who fall into the definition of the Nationwide
             Class (defined supra ¶ 328) and who purchased a UWM
             mortgage in any of the states set forth in Table D, which
             permit a cause of action for civil conspiracy where the
             underlying tort is a breach of fiduciary duty upon a
             showing of the following: (1) two or more persons; (2) an
             object to be accomplished; (3) an agreement between the
             parties; (4) an unlawful or wrongful act in furtherance; (5)
             damages or harm.

                                      Table D

              Arizona                       New Jersey
              Colorado                      New York
              Delaware                      North Dakota
              Kansas                        Oregon

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                Maine                         South Dakota
                Missouri                      Texas
                Montana                       Utah
                Nevada                        Wyoming
                New Hampshire

               3.     Unjust Enrichment Subclass
        331. In the event that Plaintiffs fail to state a claim of unjust enrichment on

  behalf of a nationwide class, Plaintiffs alternatively bring claims of unjust

  enrichment and seek an order from this Court certifying the subclasses pursuant to

  Rule 23(a); (b)(2); and/or (b)(3); and/or (c)(4); and/or (c)(5) of the Federal Rules of

  Civil Procedure as defined as follows:

               All persons who fall into the definition of the Nationwide
               Class (defined supra ¶ 328) and who purchased a UWM
               mortgage in any of the states set forth in Table E.

                                         Table E

                Alaska                        Nebraska
                Arizona                       Nevada
                California                    New Mexico
                Colorado                      New York
                Connecticut                   North Dakota
                District of Columbia          Ohio
                Delaware                      Oklahoma
                Florida                       Oregon
                Hawaii                        Pennsylvania
                Idaho                         Rhode Island
                Iowa                          South Carolina
                Kansas                        South Dakota
                Kentucky                      Tennessee
                Louisiana                     Utah
                Maine                         Vermont
                Maryland                      Virginia

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                Michigan                     Washington
                Missouri                     Wisconsin
                Montana

               4.    State Consumer Protection Law Subclasses

        332. Plaintiffs bring this action and seek to certify and maintain it as a class

  action under Rules 23(a); (b)(2); and/or (b)(3); and/or (c)(4); and/or (c)(5) of the

  Federal Rules of Civil Procedure on behalf of themselves and statewide and multi-

  state subclasses defined as:

               All persons in the states set forth in Table F below who
               obtained a UWM mortgage loan in the State(s) of
               ______________ (e.g., Tennessee) from March 15, 2021
               through the present (“the Class Period”) that was
               originated by a mortgage broker who (a) at the time the
               mortgage was originated, was subject to UWM’s
               Wholesale Broker Agreement, and (b) who during the
               Class Period both: (i) referred 75% or more of his or her
               mortgage loans to UWM; and (ii) originated at least 5
               separate loans with UWM, or if not, is employed by a
               brokerage firm that refers at least 75% of its mortgage
               loans to UWM.

                                        Table F

                Alaska                        Montana
                Arizona                       Nebraska
                Arkansas                      Nevada
                California                    New Jersey
                Colorado                      New Mexico
                Connecticut                   New York
                Delaware                      North Carolina
                District of Columbia          North Dakota
                Florida                       Oklahoma
                Georgia                       Oregon
                Hawaii                        Pennsylvania


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                Idaho                          South Carolina
                Indiana                        South Dakota
                Illinois                       Tennessee
                Kansas                         Utah
                Kentucky                       Vermont
                Maine                          Washington
                Maryland                       West Virginia
                Massachusetts                  Wisconsin
                Minnesota                      Wyoming
                Missouri

        333. The Nationwide Class and State/Multi-State Subclasses and their

  members are sometimes referred to herein as the “class” or “classes.”

        334. Plaintiffs reserve the right to revise the definition of the classes based

  upon subsequently discovered information and reserve the right to establish sub-

  classes where appropriate.

        335. Excluded from any class are Defendants, its employees, officers,

  directors, legal representatives, heirs, successors and wholly or partly owned

  subsidiaries or affiliates; class counsel and their employees; and judicial officers and

  their immediate family members and associated court staff assigned to this case.

  II.   Rule 23 Allegations

                            Numerosity and Ascertainability

        336. This action satisfies the requirements of Fed. R. Civ. P. 23(a)(1). There

  are hundreds of thousands of at-issue mortgage loans nationwide. Individual joinder

  of all class members is impracticable.




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        337. Each of the classes is ascertainable because its members can be readily

  identified using records kept by UWM or third parties in the usual course of business

  and within their control. Plaintiffs anticipate providing appropriate notice to each

  certified class, in compliance with Fed. R. Civ. P. 23(c)(1)(2)(A) and/or (B), to be

  approved by the Court after class certification, or pursuant to court order under Fed.

  R. Civ. P. 23(d).

                           Predominance of Common Issues

        338. This action satisfies the requirements of Fed. R. Civ. P. 23(a)(2) and

  23(b)(3) because questions of law and fact that have common answers that are the

  same for each of the respective classes predominate over questions affecting only

  individual class members. These include, without limitation, the following:

               a. Whether Defendants knew or should have known about fiduciary

                  duties that brokers owed to class members;

               b. Whether Defendants engaged in conduct to influence the affairs of

                  brokers in relation to their carrying out fiduciary duties to class

                  members;

               c. Whether representations concerning the independence of brokers

                  constitutes a material fact that reasonable borrowers would have

                  considered in deciding whether to hire brokers who had agreed to

                  UWM’s “ultimatum” and its Wholesale Broker Agreement;



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             d. Whether UWM provides things of value to brokers with the intent

                to influence brokers to steer business to UWM;

             e. Whether UWM induces brokers to steer customers to UWM even

                when it is not the best priced option;

             f. Whether Defendants and class members’ respective brokers

                wrongfully concealed Defendants’ violations of 12 U.S.C. § 2607

                and   other   statutory    violations    through   April   1,   2023,

                notwithstanding the class members reasonable diligence in

                discovering such violations;

             g. Whether Defendants omitted and failed to disclose material facts

                about the mortgage products sold to class Members;

             h. Whether Defendants engaged in unfair, deceptive, unlawful and/or

                fraudulent acts or practices in trade or commerce;

             i. Whether Defendants’ unlawful, unfair, and/or deceptive practices

                harmed Plaintiffs and the Classes;

             j. Whether Defendants’ conduct, as alleged herein, was likely to

                mislead a reasonable consumer;

             k. Whether Defendants’ statements, concealments and omissions

                regarding its relationship with brokers were material, in that a




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                 reasonable consumer could consider them important in making

                 financial decisions;

              l. Whether Defendants violated each of the States’ consumer

                 protection statutes, and if so, what remedies are available under

                 those statutes;

              m. Whether Defendants have been unjustly enriched by their conduct;

              n. Whether the Classes are entitled to equitable relief, including, but

                 not limited to, a preliminary and/or permanent injunction;

              o. What aggregate amounts of statutory penalties are sufficient to

                 punish and deter Defendants and to vindicate statutory and public

                 policy;

              p. Whether certain Defendants conspired together to violate RICO; and

              q. Whether certain Defendants associated with any enterprise engaged

                 in, or the activities of which affect, interstate or foreign commerce,

                 to conduct or participate, directly or indirectly, in the conduct of

                 such enterprise’s affairs through a pattern of racketeering activity.

                                        Typicality
        339. This action satisfies the requirements of Fed. R. Civ. P. 23(a)(3)

  because Plaintiffs’ claims are typical of the claims of the class members and arise




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  from the same course of conduct by UWM. The relief Plaintiffs seek is typical of

  the relief sought for the absent class members.

                                Adequate Representation
        340. Plaintiffs will fairly and adequately represent and protect the interests

  of the classes. Plaintiffs have retained counsel with substantial experience in

  prosecuting consumer class actions and financial misconduct.

                                        Superiority
        341. This action satisfies the requirements of Fed. R. Civ. P. 23(b)(2)

  because Defendants have acted and refused to act on grounds generally applicable

  to each Class, thereby making appropriate final injunctive and/or corresponding

  declaratory relief with respect to each Class as a whole.

        342. This action satisfies the requirements of Fed. R. Civ. P. 23(b)(3)

  because a class action is superior to other available methods for the fair and efficient

  adjudication of this controversy. The common questions of law and of fact regarding

  UWM’s conduct and responsibility predominate over any questions affecting only

  individual class members.

        343. Because the damages suffered by each individual class member may be

  relatively small compared to the cost of prosecuting his or her individual claims, the

  expense and burden of individual litigation would make it very difficult or

  impossible for individual class members to redress the wrongs done to each of them



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  individually, such that most or all class members would have no rational economic

  interest in individually controlling the prosecution of specific actions, and the burden

  imposed on the judicial system by individual litigation by even a small fraction of

  the class would be enormous, making class adjudication the superior alternative

  under Fed. R. Civ. P. 23(b)(3)(A).

        344. The conduct of this action as a class action presents far fewer

  management difficulties, far better conserves judicial resources and the parties’

  resources, and far more effectively protects the rights of each class member than

  would piecemeal litigation. Compared to the expense, burdens, inconsistencies,

  economic infeasibility, and inefficiencies of individualized litigation, the challenges

  of managing this action as a class action are substantially outweighed by the benefits

  to the legitimate interests of the parties, the court, and the public of class treatment

  in this court, making class adjudication superior to other alternatives, under Fed. R.

  Civ. P. 23(b)(3)(D).

        345. Plaintiffs are not aware of any obstacles likely to be encountered in the

  management of this action that would preclude its maintenance as a class action.

  Rule 23 provides the Court with authority and flexibility to maximize the efficiencies

  and benefits of the class mechanism and reduce management challenges. The Court

  may, on motion of Plaintiffs or on its own determination, certify nationwide,

  statewide and/or multistate classes for claims sharing common legal questions;



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  utilize the provisions of Rule 23(c)(4) to certify any particular claims, issues, or

  common questions of fact or law for class-wide adjudication; certify and adjudicate

  bellwether class claims; and utilize Rule 23(c)(5) to divide any class into subclasses.

                               CLAIMS FOR RELIEF141
  I.       Claims of the Nationwide Class

                                      COUNT 1
        Violations of the Racketeer Influenced and Corrupt Organizations Act
                                      (“RICO”),
                                  18 U.S.C. § 1962(c)
                      (All Plaintiffs Against UWM and Mat Ishbia)

           346. Plaintiffs repeat and reallege the foregoing allegations as though they

  were fully set forth in this paragraph.

           347. Plaintiffs bring this claim on behalf of themselves and the Nationwide

  Class.

           348. UWM and Mat Ishbia (“Ishbia”) are each a “person” under 18 U.S.C.

  § 1961(3).

           349. UWM and Ishbia each violated 18 U.S.C. § 1962(c) by participating in

  or conducting the affairs of an Enterprise through a pattern of racketeering activity.




  141
     Unless otherwise indicated, references to “brokers” or “mortgage brokers” in
  these Counts refers to the brokers hired by Plaintiffs and the class.


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        350. Plaintiffs and class members are “person[s] injured in his or her

  business or property” by reason of the UWM’s violation of RICO within the

  meaning of 18 U.S.C. § 1964(c).

                                 The RICO Enterprise
        351. The following persons, and others presently unknown, have been

  members of and constitute an “association-in-fact enterprise” within the meaning of

  RICO, and will be referred to herein collectively as the “Steering Enterprise” or

  “Enterprise”:

        352. UWM, which orchestrated the fraudulent scheme and engaged in a

  pattern of conduct that involved misrepresenting material facts, causing or

  conspiring with brokers to withhold information from homebuyers about affordable

  lenders, offering inducements and things of value to brokers to corrupt their

  independence and to prevent them from providing honest services.

        353. UWM officers and executives, including Defendant Ishbia, who

  collaborated and colluded with each other and with other associates in fact in the

  Steering Enterprise by disseminating intentionally misleading information to

  conceal the relationship between UWM and brokers, funding and influencing the

  affairs of trade associations that published information that facilitated the deceptive

  scheme, and employing fraudulent tactics to cause Plaintiffs to purchase UWM loans




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  under false pretenses and without the benefit of disclosures and services that

  Plaintiffs were entitled to receive.

        354. Mortgage brokers and brokerage firms, which breached their fiduciary

  duties by not acting in Plaintiffs’ best interests, made misrepresentations and

  material omissions, colluded with UWM to withhold information, accepted things

  of value from UWM to influence the affairs of the Plaintiffs, and otherwise engaged

  in the conduct alleged in this complaint.

        355. Decisions about buying and financing a home are among the most

  consequential investment decisions most Americans make in their lifetimes.

  Plaintiffs hired mortgage brokers to provide honest and candid services in this

  process, and the mortgage brokers were paid for the represented services. The price

  of a mortgage broker includes the assurance that the broker is acting as a fiduciary

  and with undivided loyalty toward his or her principal, free from conflict, influence,

  or unauthorized influence from another party.

        356. Plaintiffs’ mortgage brokers breached their fiduciary duties by

  colluding with UWM to withhold information about more affordable loan options,

  accepting things of value from UWM to influence the affairs of the Plaintiffs,

  entering agreements with UWM that created conflicts of interest and prevented them

  from providing honest services, and otherwise participating in the Steering

  Enterprise to deceive the plaintiffs.



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        357. The Steering Enterprise is an association-in-fact of individuals and

  corporate entities within the meaning of 18 U.S.C. § 1961(4) and consists of

  “persons” associated together for a common purpose. The Enterprise, which acted

  within and affected interstate commerce, had an ongoing organization with an

  ascertainable structure, and it functioned as a continuing unit with separate roles and

  responsibilities.

        358. While UWM participated in the conduct of the Steering Enterprise, it

  had an existence separate and distinct from the Enterprise. Further, the Enterprise

  was separate and distinct from the pattern of racketeering in which UWM engaged.

        359. At all relevant times, UWM operated, controlled, or managed the

  Steering Enterprise, through a variety of actions. UWM’s participation in the

  Enterprise was necessary for the successful operation of its scheme to defraud

  because UWM sold the mortgages, coordinated with brokers, disseminated false

  information to conceal the corruption, purchased and maintained valuable

  advertising platforms that it offered to brokers as inducements, and profited from

  such concealment.

        360. The members of the Steering Enterprise all served a common purpose:

  to sell as many mortgages as possible, and thereby maximize the revenue and

  profitability of the Enterprise’s members. The members of the Steering Enterprise

  shared the bounty generated by the enterprise, i.e., by sharing in the economics



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  derived from increased sales revenue generated by the scheme. Each member of the

  Steering Enterprise benefited from the common purpose: UWM sold more loans and

  received more profit that it would have otherwise had and gained market share which

  allowed it to impose restrictions on brokers; Ishbia and the UWM officers and

  executives generated more pecuniary gain for themselves; and the brokers generated

  more commissions and tangible and intangible value, and were able to obtain

  valuable advertising and promotion from UWM of their brokerage services, thereby

  generating more commissions and business, which, in turn, they funneled to UWM.

                          Pattern of Racketeering Activity

        361. UWM conducted and participated in the conduct of the affairs of the

  Steering Enterprise through a pattern of racketeering activity that has lasted years,

  and continues to this day, and that consisted of numerous and repeated violations of:

               a. The federal mail and wire fraud statutes,18 U.S.C. §§ 1341, 1343,

                  and 1346, which prohibit the use of any interstate mail or wire

                  facility for the purpose of executing a scheme or artifice to deprive

                  another of money, property, and/or “the intangible right of honest

                  services” under 18 U.S.C. § 1346, violation of which constitutes

                  racketeering under 18 U.S.C. § 1961(1)(B);

               b. The Travel Act, 18 U.S.C. § 1952, which prohibits “unlawful

                  activity” in interstate commerce, including “bribery . . . in violation



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                  of the laws of the State in which committed,” which the U.S.

                  Supreme Court has held includes commercial bribery. Many states’

                  commercial bribery statutes punish anyone who offers things of

                  value to influence a fiduciary’s performance of his or her duties.

              c. State bribery laws, the violation of which constitutes racketeering

                  under 18 U.S.C. § 1961(1)(A) (“racketeering activity” means (A)

                  any act or threat involving . . . bribery”).

        362. For UWM, the purpose of the scheme was to deceive homebuyers about

  the relationship between UWM and brokers, while preventing homebuyers from

  being presented with affordable mortgage options from other lenders. By infiltrating

  and corrupting the fiduciary relationship that existed between homebuyers and their

  hired agents, UWM was able to charge non-competitive prices, impose over-market

  closing costs, increase sales, and avoid competition, knowing that the brokers had

  been influenced to withhold information about available loan options. UWM also

  maintained and boosted consumer confidence in the UWM brand and the value and

  independence of brokers by publishing false and deceptive information about UWM

  brokers and funding organizations to amplify UWM’s false information, all of which

  furthered the scheme to defraud and helped UWM sell more loans at higher prices

  than they would have sold otherwise.




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        363. To further the scheme to defraud, UWM repeatedly misrepresented and

  concealed the relationship between itself and brokers, disseminated false

  information about the independence of brokers, funded trade associations to amplify

  UWM’s deceptive public messages, offered and provided things of value to induce

  brokers to funnel business to UWM, conspired and agreed with brokers for them to

  withhold from their clients material information, and infiltrated the fiduciary

  relationship between brokers and homebuyers to corrupt their independence, which

  UWM repeatedly represented was essential to the integrity of the wholesale

  mortgage market.

        364. UWM conducted or participated in the affairs of the Steering Enterprise

  through the following pattern of racketeering activity that employed the use of the

  mail and wire facilities, in violation of 18 U.S.C. § 1341 (mail fraud), § 1343 (wire

  fraud), and § 1346 (honest services fraud):

               a. UWM devised and furthered the scheme to defraud by use of the

                  mail, telephone, wires, and internet, and transmitted, or caused to be

                  transmitted, by means of mail and wire communication travelling in

                  interstate commerce, writing(s) and/or signal(s), including the

                  UWM website and websites funded and maintained by UWM,

                  communications with and through brokers, statements to the press,




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                  advertisements targeted at consumers, and communications with

                  other members of the Enterprise; and

               b. UWM utilized the interstate mail and wires for the purpose of

                  obtaining money or property, or depriving class members of the

                  intangible right of honest services from their brokers.

        365. Having devised or intending to devise a scheme to defraud, UWM

  engaged in or substantially participated in following acts, among others, using

  interstate mails or wires in furtherance of the scheme:

               a. On approximately July 7, 2021, a trade association funded by UWM

                  represented in its publicity materials that Plaintiffs’ brokers were

                  defined by their unrestricted “ability to work with a variety of

                  lenders,” which would “allow the brokers to shop for the best price

                  and process for their clients.” During all or part of the Class Period,

                  however, Plaintiffs’ brokers were restricted from shopping from

                  some of the largest and most affordable wholesale lenders in

                  America. Additionally, brokers were categorically restricted from

                  shopping for better prices from any lenders once Plaintiffs received

                  price quotes from UWM—even though Plaintiffs were not yet

                  bound to UWM and were entitled to learn about better prices from

                  their brokers.



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             b. Continuously during all or part of the Class Period, UWM

                represented and advertised on its website MortgageMatchup.com

                under the title “5 Facts about Your Local Mortgage Broker” that

                Plaintiffs’ brokers would “work[]s on your behalf” to “present the

                best loan options available,” which UWM knew to be materially

                false, including because (a) UWM actively took measures to prevent

                Plaintiffs from being presented with loan options; and (b) UWM had

                access to information demonstrating to a degree of statistical

                certainty that UWM had successfully induced brokers to regularly

                withhold the best loan options available, because, for example,

                UWM brokers frequently referred upwards of 95% or even 99% of

                their business to UWM even though UWM offered the best overall

                prices only a small percentage of the time.

             c. During all or part of the Class Period, UWM’s website

                advertisements deceptively implied that Plaintiffs’ brokers were the

                opposite of “the type of shopper who always buys at the first store”

                and would instead “shop loans . . . on your behalf to find you the

                best rate.” This was materially false, as UWM took measures to

                restrict Plaintiffs’ ability to obtain the best rates and knew their

                brokers were not shopping on behalf of their clients.



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             d. During all or part of the Class Period, UWM enabled, instructed,

                encouraged, and incentivized Plaintiffs’ brokers and others to use

                marketing tools that were designed and/or approved UWM’s in

                house marketing team for the purpose of standardizing and

                coordinating the promotional appeals that brokers make to

                prospective borrowers, including Plaintiffs. These tools, including

                website templates and UWM’s “Brand Builder” platform, embed

                UWM’s preferred marketing messages, emphasizing, among other

                things, brokers’ “independence,” creating a false and misleading

                impression, through affirmative misrepresentations and omissions,

                that the particular broker or loan officer has no allegiance to any

                single lender, and instead shops around to numerous lenders to find

                borrowers the most competitive, affordable, and/or suitable deals.

                UWM further designs these marketing materials to conceal its own

                involvement in creating them, and instructs brokers that “there is

                nothing UWM” on them, and that they should “not change” any of

                the verbiage in the templates.

             e. On February 15, 2019, UWM’s CEO publicly represented in the

                media that “Mortgage brokers are completely independent. They are

                not captive or connected to my company or any company. They are



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                independently shopping. . . .”    On information and belief, the

                substance of UWM’s marketing and advertisements has been

                materially consistent with this statement during the relevant time

                period.

             f. On March 13, 2019, UWM’s CEO stated “brokers have access to all

                lenders” and access to all unique products offered by lenders. On

                information and belief, UWM disseminated this representation on

                other occasions.

             g. On December 4, 2020, UWM’s CEO publicly represented the

                brokers listed on FindaMortgageBroker.com would shop for

                “cheaper” mortgages and present whichever has the “lower rate,”

                even though the undisclosed purpose and effect of the website was,

                in fact, to funnel customers to brokers who UWM knew were least

                likely to shop for the lowest rate on behalf of their clients. On

                information and belief, UWM repeated this representation, in

                substance, multiple times during the relevant time period.

             h. During all or part of the Class Period, UWM published and

                maintained         its     FindaMortgageBroker.com           and/or

                MortgageMatchup.com       websites   that   published   false   and

                misleading advertisements and information about the relationship



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                between UWM and brokers, as well as about the brokers’ purported

                duty to shop for the best prices on behalf of Plaintiffs. These

                advertisements were intentionally deceptive.

             i. Constantly throughout the Class Period, UWM transmitted through

                interstate mail or wires its Wholesale Broker Agreement, which

                contained provisions that, in substance, required brokers to

                perpetrate honest services fraud on Plaintiffs and make fraudulent

                omissions of material fact. Those Agreements imposed penalties on

                brokers who recommended loan options from UWM’s competitors

                (even when such competitors offered substantially lower prices or

                costs for mortgage services), and did not permit brokers to present

                any loan options to Plaintiffs after they had received a price quote

                from UWM (even though Plaintiffs themselves never agreed to such

                a condition and were legally entitled to price shop). As a result of

                this, UWM participated in the brokers’ breach of fiduciary duty,

                deprived consumers the benefit of honest services, and caused them

                to pay for mortgages or mortgage-related services under false

                pretenses and with incomplete disclosures.

             j. Prior to and on all the dates Plaintiffs hired their brokers and closed

                their loans as alleged above, UWM caused and conspired with



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                Plaintiffs’ brokers to deceive Plaintiffs into believing the brokers

                were independent brokers who were acting on Plaintiffs’ behalf to

                search multiple loan offerings for the most competitively priced

                loans, and caused the brokers to deceive Plaintiffs by, among other

                things, prohibiting the brokers from disclosing material facts about

                the true nature of their relationship with UWM and their pledge not

                to originate loans with UWM’s main competitor. UWM engaged in

                these acts with the specific intent to defraud Plaintiffs so that UWM

                would increase their profits and market share by obtaining business

                they would not otherwise have obtained but for the scheme to

                defraud.

             k. Prior to and on all the dates Plaintiffs hired their brokers and closed

                their loans as alleged above, UWM caused and conspired with

                Plaintiffs’ brokers to systematically conceal material information

                from Plaintiffs to ensure that Plaintiffs would be uniformly and

                materially underinformed or misinformed when they reached the

                closing table. Among other things, UWM caused and conspired

                with Plaintiffs’ brokers to conceal and fail to disclose: (i) the fact

                that Plaintiffs’ brokers are bound, under UWM’s Wholesale Broker

                Agreement, to not shop for or present loans from Rocket Mortgage



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                or Fairway Independent Mortgage; (ii) the fact that Plaintiffs’

                brokers are bound, under UWM’s Wholesale Broker Agreement, to

                not shop for or present loan options from any other lender once the

                borrower’s interest rate has been locked; (iii) the fact that Plaintiffs’

                brokers face penalties and/or legal exposure for violating any terms

                in UWM’s Wholesale Broker Agreement that restrict their ability to

                independently shop; (iv) the fact that, in exchange for originating a

                larger proportion of their loans with UWM, Plaintiffs’ brokers are

                eligible to receive valuable perks and benefits from UWM,

                including meals, trips, gifts, apparel, entertainment, awards,

                referrals, access to preferential loan products and discounts, and/or

                access to preferential placement on UWM’s broker search engine;

                (v) the fact that Plaintiffs’ brokers use marketing materials that were

                produced, created, or otherwise reviewed and approved by UWM;

                (vi) the fact that UWM’s loans are often more expensive than

                substantially similar alternatives from other lenders in the wholesale

                market; (vii) the fact that, as a result of UWM’s system of

                contractual restrictions and incentives, Plaintiffs’ brokers have

                conflicts of interest that can impact their performance of services on

                behalf of their clients; (viii) the fact that Plaintiffs’ brokers are not



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                  independently shopping for loans in the borrower’s best interest;

                  and/or (ix) the fact that Plaintiffs’ brokers originate the vast

                  majority, or in some cases virtually all, of their loans with UWM.

        366. In addition, to carry out or attempt to carry out the scheme, UWM

  conducted or participated in the affairs of the Steering Enterprise through a pattern

  of predicate acts constituting: (i) bribery, which is racketeering under 18 U.S.C.

  § 1961(1)(A); and/or (ii) violations of 18 U.S.C. § 1952, the Travel Act, which

  prohibits carrying on “unlawful activity” in interstate commerce, defined as “bribery

  . . . in violation of the laws of the State in which committed,” and which constitute

  racketeering under 18 U.S.C. § 1961(1)(B). Specifically, Plaintiffs and the class

  allege:

               a. Constantly throughout the relevant period, UWM committed acts

                  constituting bribery under the laws of the State of North Carolina. A

                  person commits commercial bribery under North Carolina law by

                  giving gifts, discounts, bonuses, gratuity, or other consideration to

                  an agent in return for the agent’s efforts to further that person’s

                  interests in business dealings with the principal. Specifically, North

                  Carolina’s bribery statute states:

                      Any person who gives, offers or promises to an
                      agent, employee or servant any gift or gratuity
                      whatever with intent to influence his action in
                      relation to his principal’s, employer’s or master’s


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                     business . . . [and] any agent, employee or servant
                     who, being authorized to procure materials,
                     supplies or other articles either by purchase or
                     contract for his principal, employer or master, or to
                     employ service or labor for his principal, employer
                     or master, receives, directly or indirectly, for
                     himself or for another, a commission, discount or
                     bonus from the person who makes such sale or
                     contract, or furnishes such materials, supplies or
                     other articles, or from a person who renders such
                     service or labor; and any person who gives or offers
                     such an agent, employee or servant such
                     commission, discount or bonus, shall be guilty of a
                     Class 2 misdemeanor.
                    N.C.G.S.A. § 14-353.

              b. In violation of § 14-353, UWM conferred things of value to brokers

                 (including Plaintiff Kim Schelble’s broker Whitney Bulbrook at the

                 time Schelble closed his loan), including advertising, promotion,

                 gifts, templates of marketing materials and related services,

                 discounts, and benefits provided at various loyalty or funneling

                 benchmarks.142 UWM provides these incentives, gifts, and

  142
     Between 2020 and 2021, UWM spent over $10 million to publicize its broker
  referral website during consecutive Super Bowls, making it one of the most
  valuable and high-profile advertising opportunities for brokers. UWM continues to
  spend considerable money for MortgageMatchup.com to occupy the top
  “sponsored” search result from Google for queries related to finding a mortgage
  broker. Having established its website as a uniquely valuable advertising
  platform—one with more consumer traffic than most brokers could afford to
  purchase on their own—UWM confers lucrative advertising opportunities and high
  visibility placement on the website to brokers who compromise their duties of
  loyalty and candor to Plaintiffs and the class—i.e., either because the brokers


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                  consideration to influence brokers in the scope of their agency for

                  Plaintiffs, to exploit their position of trust and confidence, and to

                  steer Plaintiffs to UWM. UWM used mail and wire facilities in

                  interstate commerce to intentionally promote, carry on, and facilitate

                  the unlawful activity of bribery, as defined by 18 U.S.C.

                  § 1952(b)(2).

              c. Constantly throughout the relevant period, UWM committed acts

                  constituting bribery under the laws of the State of Florida.

                  Specifically, Florida’s bribery statute states:

                     Commercial bribery.

                     (1) A person commits the crime of commercial
                     bribery if, knowing that another is subject to a duty
                     described in s. 838.15(1) and with intent to
                     influence the other person to violate that duty, the
                     person confers, offers to confer, or agrees to confer
                     a benefit on the other.
                     (2) Commercial bribery is a third degree felony,
                     punishable as provided in s. 775.082, s. 775.083, or
                     s. 775.084.

                     Fla. Stat. Ann. § 838.16




  agreed to the pro-UWM provisions in the Wholesale Broker Agreement, and/or
  because their referral rates demonstrate they funnel to UWM without shopping for
  the best price. The advertising is conditioned on brokers maintaining a high degree
  of fidelity to UWM.


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             d. In violation of § 838.16, UWM conferred, offered to confer, or

                agreed to confer benefits on brokers (including Plaintiff Weatherill’s

                broker Toni Raulerson at the time Weatherill closed his loan, and

                Plaintiffs Jeffries’s and Singh’s broker Josh McCombs at the time

                Jeffries and Singh closed on their loan), including advertising,

                promotion, gifts, discounts, and benefits provided at various loyalty

                or funneling benchmarks, knowing the brokers were subject to

                fiduciary duties. UWM offered this benefit to influence brokers in

                the scope of their agency for Plaintiffs, to exploit their position of

                trust and confidence, and to steer Plaintiffs to UWM. UWM used

                mail and wire facilities in interstate commerce to intentionally

                promote, carry on, and facilitate unlawful activity of bribery, as

                defined by 18 U.S.C. § 1952(b)(2).

             e. Constantly throughout the relevant period, UWM committed acts

                constituting a violation of the bribery laws of the State of California,

                including aiding and abetting bribery and conspiracy to commit

                bribery. Specifically, California’s bribery statute states:

                   Cal. Penal Code § 641.3
                   Commercial bribery; monetary value; punishment;
                   definitions.




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                   (a) Any employee who solicits, accepts, or agrees to
                   accept money or any thing of value from a person
                   other than his or her employer, other than in trust
                   for the employer, corruptly and without the
                   knowledge or consent of the employer, in return for
                   using or agreeing to use his or her position for the
                   benefit of that other person, and any person who
                   offers or gives an employee money or any thing of
                   value under those circumstances, is guilty of
                   commercial bribery.

                   (b) This section does not apply where the amount of
                   money or monetary worth of the thing of value is
                   two hundred fifty dollars ($250) or less.

                   (c) Commercial bribery is punishable by
                   imprisonment in the county jail for not more than
                   one year if the amount of the bribe is one thousand
                   dollars ($1,000) or less, or by imprisonment in the
                   county jail, or in the state prison for 16 months, or
                   two or three years if the amount of the bribe exceeds
                   one thousand dollars ($1,000).
                   (d) For purposes of this section:
                   (1) “Employee” means an officer, director, agent,
                   trustee, partner, or employee.

                   (2) “Employer” means a corporation, association,
                   organization,   trust, partnership,   or    sole
                   proprietorship.

                   (3) “Corruptly” means that the person specifically
                   intends to injure or defraud (A) his or her employer,
                   (B) the employer of the person to whom he or she
                   offers, gives, or agrees to give the money or a thing
                   of value, (C) the employer of the person from whom
                   he or she requests, receives, or agrees to receive the
                   money or a thing of value, or (D) a competitor of
                   any such employer.



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               f. In violation of § 641.3, UWM conferred, offered to confer, or agreed

                  to confer benefit on brokers (including Plaintiff Morandi’s broker

                  Garrett Todd at the time Morandi closed his loan), including

                  advertising, promotion, gifts, discounts, and benefits provided at

                  various loyalty or funneling benchmarks, knowing the brokers were

                  subject to fiduciary duties. UWM offered this benefit to influence

                  brokers in the scope of their agency for Plaintiffs, to exploit their

                  position of trust and confidence, and to steer Plaintiffs to UWM.

                  UWM used mail and wire facilities in interstate commerce to

                  intentionally promote, carry on, and facilitate unlawful activity of

                  bribery, as defined by 18 U.S.C. § 1952(b)(2).

        367. UWM’s conduct in furtherance of this scheme was intentional.

  Plaintiffs and class members were directly harmed as a result of UWM’s conduct.

        368. As described throughout this Complaint, UWM engaged in a pattern of

  related and continuous predicate acts for years. The predicate acts constituted a

  variety of unlawful activities, conducted with the common purpose of obtaining from

  Plaintiffs and the class money, revenue, and market share that UWM otherwise

  would not have received. The common purpose involved avoiding competition from

  lenders who offered affordable loans and closing costs, by propagating material

  misrepresentations and omissions, and infiltrating the fiduciary relationship between



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  homebuyers and brokers. The predicate acts had the same or similar results,

  participants, victims, and methods of commission. The predicate acts were

  committed or caused to be committed by UWM through their participation in the

  Steering Enterprise and in furtherance of its fraudulent scheme. The predicate acts

  were interrelated and not isolated events. The predicate acts of fraud or attempt to

  defraud were committed each time UWM published or transmitted false information

  about the independence of brokers (as alleged above in this Complaint); each time

  conspiring brokers published or transmitted false information about the nature of the

  services provided or their relationship with UWM in furtherance of the scheme, each

  time UWM’s website FindABroker.com generated search results for “independent”

  brokers who were, in fact, beholden to UWM and obtained their placement in the

  search results by, among other things, funneling loans to UWM and agreeing with

  UWM not to refer any business to UWM’s largest competitor; each time UWM

  transmitted the Wholesale Broker Agreement to Plaintiffs’ brokers in furtherance of

  the scheme to defraud; each time UWM offered things of value to Plaintiffs’ brokers

  to influence them to refer business to UWM; each time UWM and Plaintiffs’ brokers

  concealed and failed to disclose the material facts surrounding the true nature of the

  relationship between UWM and Plaintiffs’ brokers, among other times.

        369. By reason of and as a result of the conduct of UWM its substantial

  participation in the steering scheme in violation of 18 U.S.C. § 1962(c), Plaintiffs



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  and the class were injured in their business and/or property in multiple ways,

  including paying the prices, rates, closing costs, commissions, and fees that Plaintiffs

  paid, directly or indirectly, to UWM and brokers. Alternatively, Plaintiffs and the

  class suffered the economic harms of overpaying for mortgages and for broker

  services, including excess prices, rates, closing costs, commissions, and fees that

  Plaintiffs paid, directly or indirectly, to UWM and brokers.

         370. Plaintiffs and the class were also injured in their business and/or

  property and suffered the economic harms associated with being deprived of their

  rights to:

               a. Hire a loyal, honest, and non-conflicted broker;

               b. Receive complete and candid disclosures and information;

               c. Not be exposed to materially deceptive and false advertising;

               d. Obtain a mortgage with the lowest costs, fees, or pricing;

               e. Obtain a mortgage from a restricted lender;

               f. Make an informed decision based on complete information; and

               g. Receive the services that they paid for.

         371. As a result of the racketeering activity and conspiracy to violate 18

  U.S.C. § 1962(c), Plaintiffs and the class suffered economic injury by paying prices,

  rates, closing costs, commissions, and fees they would not have otherwise paid, and

  for services they did not receive.



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        372. Defendants’ misconduct is the direct cause of the alleged harms. There

  are no intermediate causes, nor any difficulty determining which damages can be

  attributed to the Defendants’ misconduct. UWM has engaged in a scheme to defraud

  that involved making and causing to be made material misstatements or omissions,

  and making inducements in violation of state bribery laws, with the specific intent

  to obtain money from Plaintiffs that UWM otherwise would not have obtained.

  Plaintiffs were the direct targets and victims of UWM’s scheme.

        373. UWM’s actions alleged herein were reasonably calculated to deceive

  persons of ordinary prudence and comprehension, and they were committed with

  reckless indifference to the truth if not the outright intent to deceive, and with the

  intent to deprive Plaintiffs and the class from receiving the disclosures and loyalty

  required by law from independent brokers.

        374. The violations of 18 U.S.C. § 1962(c) were committed with the specific

  intent to defraud, thereby entitling Plaintiffs and the class to treble damages under

  18 U.S.C. § 1964(c), as well as injunctive/equitable relief and costs and reasonable

  attorneys’ fees.




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                                    COUNT 2
                     Violation of RICO, 18 U.S.C. § 1962(d)
        By Conspiring to Violate 18 U.S.C. § 1962(c) (“RICO Conspiracy”)

                      (All Plaintiffs Against UWM and Mat Ishbia)

           375. Plaintiffs repeat and reallege the foregoing allegations as though they

  were fully set forth in this paragraph.

           376. Plaintiffs bring this claim on behalf of themselves and the Nationwide

  Class.

           377. Section 1962(d) of RICO provides that it “shall be unlawful for any

  person to conspire to violate any of the provisions of subsection (a), (b) or (c) of this

  section.”

           378. UWM, Mat Ishbia, and the mortgage brokers (collectively,

  “Coconspirators”) who were hired by Plaintiffs and the class have violated § 1962(d)

  by agreeing and conspiring to violate 18 U.S.C. § 1962(c). The object of the

  conspiracy has been and is to conduct or participate in, directly or indirectly, the

  conduct of the affairs of the § 1962(c) Steering Enterprise described previously

  through a pattern of racketeering activity.

           379. As set forth in detail above, the Coconspirators have engaged in

  numerous overt and predicate unlawful and fraudulent acts, constituting a pattern of

  racketeering activity, in furtherance of the conspiracy.




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        380. Coconspirators intended to engage in the scheme causing Plaintiffs and

  the class to incur costs, commissions, fees, and other expenses associated with their

  mortgages and to pay for the honest services of their brokers that they would not

  have paid but for the conspiracies to violate 18 U.S.C. § 1962(c).

        381. Coconspirators knew that their predicate acts were part of a pattern of

  racketeering activity and agreed to the commission of those acts to further the

  schemes outlined herein.

        382. The nature of the deceptive conduct, material misrepresentations and

  omissions, and concerted actions to steer Plaintiffs in furtherance of the conspiracy,

  as set forth in detail above, demonstrates or gives rise to an inference that

  Coconspirators not only agreed to the objective of an 18 U.S.C. § 1962(d) violation

  of RICO by conspiring to violate 18 U.S.C. § 1962(c), but that they were aware that

  their ongoing unlawful and fraudulent acts have been and are part of an overall

  pattern of racketeering activity.

        383. Coconspirators have engaged (and continue to engage) in the

  commission of overt acts in furtherance of the Steering Enterprise scheme, including

  the following unlawful racketeering predicate acts (as outlined in detail above):

               a. Multiple instances of mail fraud in violations of 18 U.S.C. § 1341;

               b. Multiple instances of wire fraud in violations of 18 U.S.C. § 1343.




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                c. Multiple instances of honest services fraud under 18 U.S.C. § 1346;

                   and

                d. Multiple instances of unlawful bribery in violation of 18 U.S.C. §

                   1952 and various state laws comprising racketeering activity under

                   18 U.S.C. § 1961.

        384. Coconspirators shared information, concealed information, acted in

  concert to steer borrowers, entered written agreements, provided and received things

  of value between each other in furtherance of the conspiracy, shared in the spoils,

  and consistently maintained a false or deceptive public posture regarding the

  relationship between UWM and brokers. Their close cooperation surrounding the

  steering scheme and joint participation in predicate acts is evidence of the

  conspiracy.

        385. Had Coconspirators not concealed or misrepresented these material

  facts, not conspired to violate fiduciary duties, and not engaged in concerted conduct

  in support of the steering scheme in violation of 18 U.S.C. § 1962(c) and (d),

  Plaintiffs would not have suffered economic harms of paying for mortgages and for

  broker services as a result of the unlawful scheme, including prices, rates, closing

  costs, commissions, and fees that Plaintiffs paid, directly or indirectly, to UWM and

  brokers. Alternatively, Plaintiffs would not have suffered the economic harms of

  overpaying for mortgages and for broker services, including excess prices, rates,



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  closing costs, commissions, and fees that Plaintiffs paid, directly or indirectly, to

  UWM and brokers.

         386. Plaintiffs also suffered the harms associated with being deprived of

  their rights to:

                a. Hire a loyal, honest, and non-conflicted broker;

                b. Receive complete and candid disclosures and information;

                c. Not be exposed to materially deceptive and false advertising;

                d. Obtain a mortgage with the lowest costs, fees, or pricing;

                e. Obtain a mortgage from a lender that the Coconspirators agreed to

                     restrict;

                f. Make an informed decision based on complete information;

                g. Receive the services that they paid for.

         387. As a result of the racketeering activity and conspiracy to violate 18

  U.S.C. § 1962(c), Plaintiffs suffered economic injury by paying prices, rates, closing

  costs, commissions, and fees that Plaintiffs would not have otherwise paid, and for

  services Plaintiffs did not receive.

         388. Defendants’ misconduct is the direct cause of the alleged harms. There

  are no other intermediate causes, nor any difficulty determining which damages can

  be attributed to the Defendants’ misconduct. UWM was engaged in scheme to

  defraud that involved making and causing to be made material misstatements or



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  omissions, and making inducements in violation of state bribery laws, with the

  specific intent to obtain money from Plaintiffs that UWM otherwise would not have

  obtained. Plaintiffs were the direct targets and victims of UWM’s scheme.

           389. Coconspirators’ actions alleged herein were reasonably calculated to

  deceive persons of ordinary prudence and comprehension, and were committed with

  the intent to deceive and deprive Plaintiffs from receiving the disclosures and loyalty

  required by law from independent brokers.

           390. The violations of 18 U.S.C. § 1962(c) were committed with the specific

  intent to defraud, thereby entitling Plaintiffs and the class to treble damages under

  18 U.S.C. § 1964(c), as well as injunctive/equitable relief and costs and reasonable

  attorneys’ fees.



                                     COUNT 3
        Violation of the Real Estate Settlement Procedures Act (“RESPA”),
                                  12 U.S.C. § 2607

                              (All Plaintiffs Against UWM)
           391. Plaintiffs repeat and reallege the foregoing allegations as though they

  were fully set forth in this paragraph.

           392. Plaintiffs bring this claim on behalf of themselves and the Nationwide

  Class.




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        393. All transactions at issue in the instant complaint are incident to or part

  of real estate settlement services involving federally related mortgage loans and

  thereby are subject to the provisions of RESPA, 12 U.S.C. § 2601, et seq.

        394. Throughout the Class Period, UWM and the mortgage brokers provided

  “settlement services” and/or engaged in business incident to real estate settlement

  services in respect of “federally-related mortgage loans,” as such terms are defined

  by RESPA Sections 2602(1) and (3).

        395. Throughout the Class Period, the mortgage brokers were paid for

  certain settlement services they did not actually perform, including surveying the

  wholesale market to determine what loan products and rates are available to

  Plaintiffs and class members and counseling Plaintiffs and class members in

  evaluating the options to select the loan with the best pricing.

        396. Plaintiffs and the class obtained federally-related residential mortgage

  loans through UWM. All loans referred to UWM under the steering scheme were

  secured by first or subordinate liens on residential real property and were made in

  whole or in part by UWM and/or its affiliates whose deposits or accounts are insured

  by the Federal Government and/or who are regulated by an agency of the Federal

  Government.

        397. The Coconspirators’ conspiracy extends to violations of 12 U.S.C.

  § 2607.



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        398. 12 U.S.C. § 2607 prohibits referrals and splitting charges in the

  performance of real estate settlement services:

               (a) Business referrals
               No person shall give and no person shall accept any fee,
               kickback, or thing of value pursuant to any agreement or
               understanding, oral or otherwise, that business incident to
               or a part of a real estate settlement service involving a
               federally related mortgage loan shall be referred to any
               person.
               (b) Splitting charges
               No person shall give and no person shall accept any
               portion, split, or percentage of any charge made or
               received for the rendering of a real estate settlement
               service in connection with a transaction involving a
               federally related mortgage loan other than for services
               actually performed.

        399. In connection with transactions involving federally-related mortgage

  loans, UWM made payments and/or gave things of value to brokers, pursuant to an

  agreement or understanding, in exchange for the assignment and referral of business

  incident to or part of a real estate settlement service, in violation 12 U.S.C. § 2607(a),

  which prohibits the payment of referral fees in connection with the origination or

  brokering of federally related mortgage loans.

        400. Additionally, in connection with transactions involving federally-

  related mortgage loans, UWM gave, and brokers accepted, a portion, split or

  percentage of charges received by Plaintiffs and the class for the rendering of real

  estate settlement services and/or business incident to real estate settlement services


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  other than for services actually performed, in violation of RESPA, 12 U.S.C.

  § 2607(b).

         401. The Coconspirators created a self-concealing controlled business

  arrangement based on fraud. The controlled business arrangement facilitated the

  steering scheme fueled by kickbacks and unearned fees provided in exchange for

  referrals.

         402. The Coconspirators engaged in tricks and contrivances intended to

  exclude suspicion and inquiry regarding the steering scheme.

         403. The steering scheme was designed to avoid a paper trail of segregated

  kickback and unearned payments. The self-concealing controlled business

  arrangement based in fraud utilized undisclosed marketing contributions and

  unearned compensation hidden in closing fees.

         404. Specifically, throughout the Class Period UWM has spent millions of

  dollars to promote its consumer-facing broker website. The foundation of such

  marketing efforts is the misrepresentation that brokers found on the website are

  independent, will shop for products from competing lenders, and will counsel the

  borrower in evaluating the competing loan products.

         405. For example, beginning no later than May 2021, the front pages of the

  website stated: “Connecting with an independent mortgage broker means having a

  local expert by your side for one of life’s biggest financial decisions. Because they



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  are independent, licensed professionals, mortgage brokers can shop multiple

  lenders — giving them access to more home loan options than what a bank or

  online lender can offer. The result is a cheaper, faster and easier mortgage for you.

  . . .”143

          406. During the same time, information on the website represented that

  “When you work with an independent mortgage broker, you have a local mortgage

  expert on your side to personally advise you throughout the process, and who has

  your best interest in mind. They’ll shop dozens of lenders to find the right home

  loan for your needs. . . .”144

          407. Other “Guides” and articles on the website likewise describe a

  mortgage broker as “a home loan expert that connects prospective homeowners with

  willing mortgage lenders” and who “shop[s] around to find the best interest rates,

  terms, and loan products” that meet the borrower’s needs.145


  143
     Figure 11, supra, https://findamortgagebroker.com, Retrieved from Internet
  Archive, (archived on May 18, 2021),
  https://web.archive.org/web/20210518114811/https://findamortgagebroker.com/.
  144
     Figure 12, supra, https://findamortgagebroker.com, Retrieved from Internet
  Archive (archived on May 18, 2021),
  https://web.archive.org/web/20210518114811/https://findamortgagebroker.com/.
  145
     5 Facts About Your Local Mortgage Broker, Jan. 22, 2021,
  https://findamortgagebroker.com/resources/guides/all-guides/guides/2021/01/23/5-
  facts-about-working-with-a-local-mortgage-broker, Retrieved from Internet
  Archive (archived on May 18, 2021),
  https://web.archive.org/web/20210518100649/https://findamortgagebroker.com/


                                          195
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        408. In January 2024, UWM rebranded FindAMortgageBroker.com,

  changing its name to MortgageMatchup.com.146 The rebranded website contains

  much of the same content, including the broker search directory and UWM’s

  representations that mortgage brokers “shop around to find the best interest rates,

  terms, and loan products that meet your needs.”147

        409. Notwithstanding such misrepresentations, the website is designed to

  facilitate a controlled business arrangement. While consumers expect to engage

  independent mortgage brokers, they are instead funneled to corrupted brokers.

  Moreover, when consumers search for brokers in a given geographic area, the

  brokers who are most loyal to UWM and who place the highest proportions of their

  loans with UWM appear at the forefront of the search results. Naturally, the

  corrupted brokers operating under the understanding with UWM that they will steer

  loans to UWM without performing the basic duties of a mortgage broker are placed

  at the forefront of search results.




  resources/guides/all-guides/guides/2021/01/23/5-facts-about-working-with-a-local-
  mortgage-broker.
  146
     Press Release, UWM Rebrands FindAMortgageBroker.com to Mortgage
  Matchup, UWM.com, Jan. 17, 2024, https://www.uwm.com/about-us/media-
  resources/press-releases/2024/january-17-2024.
  147
     See Facts About Your Local Mortgage Broker,
  https://mortgagematchup.com/resources/blog/facts-about-your-local-mortgage-
  broker.


                                         196
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           410. To illustrate, if a borrower enters a ZIP code in Chapel Hill, North

  Carolina into the search bar, the top six brokers that appear in the results are Patrick

  Roman (NMLS #204441), Whitney Bulbrook (NMLS #48522), Stephen Fitzpatrick

  (NMLS #92185), Teante Gray (NMLS #2080243), Erica Sanders (NMLS #390083),

  and Robert Bajakian (NMLS #77324).148 Each of those brokers funnel nearly all of

  her or his loans to UWM. Roman sends upwards of 80% of his loans to UWM.

  Bulbrook sends 99%. Fitzpatrick sends 100%. Gray sends 89%. Sanders sends

  86%. Bajakian sends 92%. Accordingly, none of these brokers is actually shopping

  across multiple lenders for the best loans available for their clients. Instead, they are

  sending the vast majority of their clients to one lender: UWM.

           411. Raulerson, McCombs, and Todd—who routinely sent over 90% of their

  loan volume to UWM—similarly appear near the forefront of the website’s search

  results if a borrower enters a ZIP code in Plant City, Florida, North Port, Florida,

  and Van Nuys, California, respectively.

           412. The value of the preferential treatment can hardly be overstated. When

  a corrupted broker performs on the common understanding that he will steer loans

  to UWM, the broker is the direct beneficiary of UWM’s marketing efforts that cost

  millions of dollars. In adhering to the steering scheme, the corrupt broker can free

  ride on UWM’s costly marketing efforts and reap the benefits of steady customers

  148
        Figure 17, https://mortgagematchup.com/search?query=27514.


                                            197
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  funneled in his direction in exchange for his continued referrals of such customers

  back to UWM. The in-kind marketing contribution made to loyalist brokers in

  exchange for continued referrals is not disclosed to borrowers.

        413. UWM provides additional things of value in exchange for corrupted

  brokers’ continued referrals. UWM provides its corrupted brokers with template

  advertising materials for no cost that UWM has produced. These benefits are not

  disclosed to borrowers. Among other things, UWM provides its corrupted brokers

  tools called “Brand 360” and “Brand Builder,” which it describes as “like having

  your own team of marketing professionals without the expense.” These tools enable

  corrupted brokers to take UWM-produced social media and video content, strip it of

  any reference to UWM, insert the broker’s own branding, and present it as their

  own.149

        414. UWM also frequently flies corrupted brokers to its campus in Pontiac,

  Michigan for days-long conventions, training courses, and events, which often

  feature lavish meals and live entertainment, all at UWM’s expense. Numerous

  brokers who have attended UWM’s live events and trainings describe them as

  raucous parties, heavy on free perks for attendees. In exchange for personal

  incentives, corrupted brokers continue to steer loans to UWM.



  149
     Brand 360 Brand Builder, https://www.uwm.com/grow-your-business/brand-
  builder.


                                          198
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           415. Once consumers are funneled towards corrupted brokers, the brokers

  continue the same set of misrepresentations, claiming they are independent brokers

  that will provide shopping and counseling services for consumers. Such statements

  are made with the intent of concealing the nature of their corrupted relationship with

  UWM.

           416. For instance, Elkins and NEXA market themselves as “independent”

  mortgage brokers and represent that they “work with multiple lenders and we can

  provide our clients with extremely competitive pricing. Now you can do all your

  comparison shopping with one company without wasting time with several banks or

  brokers.”150

           417. Similarly, Bulbrook holds herself out as a “trusted guide” for her clients

  whose independence from any particular lender allows her to pursue her clients’

  “best interest.”151 The homepage of the website for Bulbrook’s brokerage firm,

  Carolina Ventures, also features a video stating Bulbrook is a borrower’s “advocate”

  that “shops for great deals on mortgages,” providing “choices. Lot’s of choices” that

  “set up competition between lenders.”152 Marketing the services borrowers come to



  150
        https://lendnationwide.com/index.php.
  151
     Figure 28, supra, Carolina Ventures’s Facebook Page, Sep. 27, 2023 at 2:00 PM
  & Mar. 28, 2024 at 2:00 PM,
  https://www.facebook.com/CarolinaVenturesMortgage/.
  152
        Figure 29, supra, https://www.carolinaventures.com/


                                             199
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  expect and subsequently pay for, Bulbrook’s website states “a broker compares deals

  from hundreds of banks and lenders of all sizes across the U.S., then organizes and

  presents those choices based on your location, financial situation, timeline and other

  factors.”

           418. Likewise, Florida Mortgage Firm, which operates the website

  “BestFloridaRate.com,” markets itself as an independent mortgage brokerage firm.

           419. Todd and National Trust similarly market themselves as “independent”

  mortgage brokers. Todd promotes the benefits of working with a broker that takes

  the time to shop for their clients, saying on his website, “Garrett Todd will analyze

  your financial position to find the appropriate loan product. Many brokers and loan

  officers in the industry do not spend the extra time comparing loan products prior to

  issuing. That additional research time can make the difference down the road of your

  mortgage.”153 Indeed, Todd represents that he considers “hundreds of financing

  options” and that he is “constantly researching and staying on top of the mortgage

  market to ensure I obtain the best financing options for you and your family.”154

           420. McCombs and his firm, Core Financial, claim to be independent as

  well. In borrower-facing marketing materials and social media, McCombs holds




  153
        https://www.gtmortgage.co/.
  154
        Figure 35, supra, https://www.gtmortgage.co/gt-philosophy/.


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  himself out as broker with rates “lower than anyone else’s!”155 On Facebook, he

  represents that the top reason why he doesn’t work for a retail mortgage lender is “I

  want to get my customers the best possible deal!”156

        421. Corrupted brokers, including Elkins, Bulbrook, Raulerson, Todd, and

  McCombs made such misrepresentations throughout the Class Period.

        422. Relying on the ubiquitous misrepresentations, some consumers—

  including Plaintiffs—hire corrupted brokers to provide the represented services.

        423. Once retained, corrupted brokers shirk their represented independence.

  The brokers do not independently shop for competitively priced mortgage loans nor

  counsel their borrowers as to such options.       Rather, they intentionally funnel

  borrowers to UWM.

        424. Because of corrupted brokers’ steering, borrowers pay extra charges,

  fees, or commissions in connection with the closing of their loans, including the

  money paid directly or indirectly to brokers for services they did not provide.

        425. Meanwhile, kickbacks and unearned compensation are paid in

  proportion to the broker’s level of corruption. The more steering the broker provides




  155
     Figure 37, Josh McCombs’s Facebook Page, Feb. 24, 2024,
  https://www.facebook.com/ people/Josh-McCombs-The-Mortgage-Man/.
  156
     Josh McCombs’s Facebook Page, July 28, 2022, https://www.facebook.com/
  people/Josh-McCombs-The-Mortgage-Man/.

                                          201
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  to UWM, the more undisclosed in-kind marketing contributions, personal

  incentives, and unearned fees the broker receives.

        426. There is no industry-wide practice of agreeing to provide brokers

  undisclosed in-kind marketing contributions, personal incentives, and unearned fees

  in exchange for brokers shirking of basic broker services and referring borrowers to

  a single lender regardless of whether the lender’s products are competitive.

        427. Plaintiffs’ loans are instances of referrals made in exchange for things

  of value and unearned compensation. When serving as the Escue’s broker, Elkins

  searched for and recommended only loan options from UWM.               Elkins never

  seriously considered sending the Escues to any lender other than UWM. Because

  Elkins only presented the Escues with options from UWM and no other lender, the

  Escues overpaid significantly for their mortgage. In addition to undisclosed things

  of value provided to Elkins in exchange for referring the Escues, Elkins received

  $2,324.00 in connection with the Escue’s loan. Elkins’ compensation included

  amounts paid for services Elkins did not actually provide, including the basic

  brokerage services of surveying the wholesale market to determine what loan

  products and rates are available to the Escues and counseling the Escues in

  evaluating the options to select the loan with the best pricing.

        428. When serving as Schelble’s broker, Bulbrook searched for and

  recommended only loan options from UWM. Bulbrook never seriously considered



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  sending Schelble to any lender other than UWM. Because Bulbrook only presented

  Schelble with options from UWM and no other lender, Schelble overpaid

  significantly for his mortgage. In addition to undisclosed things of value provided to

  Bulbrook in exchange for referring Schelble, Bulbrook received $10,720.00 in

  connection with Schelble’s loan. Bulbrook’s compensation included amounts paid

  for services Bulbrook did not actually provide, including the basic brokerage

  services of surveying the wholesale market to determine what loan products and

  rates are available to Schelble and counseling Schelble in evaluating the options to

  select the loan with the best pricing.

        429. When serving as Weatherill’s broker, Raulerson searched for and

  recommended only loan options from UWM. Raulerson never seriously considered

  sending Weatherill to any lender other than UWM. Because Raulerson only

  presented Weatherill with options from UWM and no other lender, Weatherill

  overpaid significantly for his mortgage. In addition to undisclosed things of value

  provided to Raulerson in exchange for the referring Weatherill, Raulerson received

  $9,438.00 in connection with Weatherill’s loan. Raulerson’s compensation included

  amounts paid for services Raulerson did not actually provide, including the basic

  brokerage services of surveying the wholesale market to determine what loan

  products and rates are available to Weatherill and counseling Weatherill in

  evaluating the options to select the loan with the best pricing.



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        430. When serving as Morandi’s broker, Todd searched for and

  recommended only loan options from UWM. Todd never seriously considered

  sending Morandi to any lender other than UWM. Because Todd only presented

  Morandi with options from UWM and no other lender, Morandi overpaid

  significantly for his mortgage. In addition to undisclosed things of value provided to

  Todd in exchange for referring Morandi, Todd received $7,250.00 in connection

  with Morandi’s loan. Todd’s compensation included amounts paid for services Todd

  did not actually provide, including the basic brokerage services of surveying the

  wholesale market to determine what loan products and rates are available to Morandi

  and counseling Morandi in evaluating the options to select the loan with the best

  pricing.

        431. When serving as Jeffries’s and Singh’s broker, McCombs searched for

  and recommended only loan options from UWM.              McCombs never seriously

  considered sending Jeffries and Singh to any lender other than UWM. Because

  McCombs only presented Jeffries and Singh with options from UWM and no other

  lender, Jeffries and Singh overpaid significantly for their mortgage. In addition to

  undisclosed things of value provided to McCombs in exchange for referring Jeffries

  and Singh, McCombs received $4,302.40 in connection with their loan. McCombs’s

  compensation included amounts paid for services McCombs did not actually

  provide, including the basic brokerage services of surveying the wholesale market



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  to determine what loan products and rates are available to Jeffries and Singh and

  counseling Jeffries and Singh in evaluating the options to select the loan with the

  best pricing.

        432. Ishbia engages in affirmative acts to contribute to and further conceal

  the steering scheme.

        433. For instance, on or around July 16, 2021, Ishbia joined Bloomberg’s

  “Masters in Business” podcast where he stated “we’re wholesale, which means we

  offer lower rates. And you have to get our rates through an independent mortgage

  broker. Mortgage brokers offer lower rates and fees to consumers. It’s not my

  opinion. It’s fact. It's backed up by data after data, the data point that if you go alone

  to, uh, you know, mortgage broker, findamortgagebroker.com or wherever you

  may go to find a local mortgage broker, you will get lower rates.”157

        434. When misrepresenting the relationship between UWM and the

  corrupted brokers appearing on findamortgagebroker.com, Ishbia made such

  statements with the purpose and intent of influencing consumers and funneling them

  towards corrupted brokers. On or around October 14, 2021, Ishbia stated “the biggest




  157
     Masters in Business, Mat Ishbia on Leadership and Mortgage Lending,
  BLOOMBERG, at 17:00, July 16, 2021,
  https://www.bloomberg.com/news/audio/2021-07-16/mat-ishbia-on-leadership-
  and-mortgage-lending-podcast. (emphasis added).


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  challenge is education in the market,” but that “I have a bigger stage. I'm able to

  educate more people, move the needle. And that's what we're focused on.”158

              435. When engaged in that “education” of consumers unfamiliar with the

  mortgage          market,   Ishbia   represented    consumers      should     “go    to

  findamortgagebroker.com. They will find the right place for you. They are the expert

  to solve it for you. It's cheaper, faster and easier. And I'm not saying every time, but

  it's like 99.99% time. It's almost every time. There's no reason to ever look

  elsewhere.”159

              436. On or around November 4, 2021, Ishbia joined “The Casey Adams

  Show,” where he stated “What excites me is the impact we can make on consumers

  because consumers don’t know how to get a mortgage. They still think you call a

  bank or you ask your parents and you put 20 percent down. It’s just the wrong way.

  You got to go to findamortgagebroker.com. You find a local person that's an

  expert and they will shop on your behalf.”160 Ishbia and UWM were making an


  158
     From At The Podium with Manuel Amezcua, How Greater Success Comes
  from Failing Faster | Mat Ishbia, at 24:00, Oct 14, 2021,
  https://podcasts.apple.com/us/podcast/how-greater-success-comes-from-failing-
  faster-mat-ishbia/id1536826139?i=1000538559215.
  159
        Id.
  160
     The Casey Adams Show, Mat Ishbia – CEO of United Wholesale Mortgage
  Speaks on Company Culture and Leadership, at 20:30, Nov. 4, 2021,
  https://www.caseyadams.com/the-casey-adams-show-1/episode/30da327d/mat-
  ishbia-ceo-of-united-wholesale-mortgage-speaks-on-company-culture-and-
  leadership. (emphasis added).


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  “impact on consumers.” That impact was excessive fees and costs to consumers’

  detriment because Ishbia represented brokers at findamortgagebroker.com “will

  shop on your behalf.” In fact, the most visible brokers on the platform directly steer

  the consumer back to UWM.

        437. On March 24, 2022, Ishbia joined the “Power House” podcast, where

  he stated within the first minute of the recording that “Brokers are independent loan

  officers that are not captive to one lender, not captive to me, not captive to anyone.

  They’re independent. And if I'm a loan officer, why would I want to be captive? I’d

  rather be independent. And so it's happening.”161 In fact—as Ishbia knew—nearly

  half of the brokers UWM conducted business with were captive, funneling more

  than 75% of their loans to UWM, while a fifth of its brokers funneled over 99% of

  their loans to UWM.

        438. On September 9, 2022, Ishbia joined the “BiggerPockets Real Estate

  Podcast,” where he stated “our job is to empower mortgage brokers. . . They are the

  fastest, easiest, and cheapest way to get a mortgage. And that's not my opinion is

  supported by data and facts. And so what my job is, is to make sure. That they stay

  fastest and easiest. We already know they’re cheaper. So if, if you earn nothing from



  161
     Power House, Mat Ishbia on how UWM is prepared for the 2022 market,
  HousingWire, at 0:20, Mar. 24, 2022, https://podcasts.apple.com/us/podcast/mat-
  ishbia-on-how-uwm-is-prepared-for-the-2022-
  market/id1426081802?i=1000555098554. (emphasis added).


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  me or nothing, like the cheapest way to get a mortgage is through a mortgage

  broker and that's findamortgagebroker.com.”162 Ishbia went on to state “Finding a

  mortgage broker, someone that's shopping on your behalf and has options, has

  different lenders because every lender interprets it differently too.”

         439. Ishbia made such statements with the intent of reaching consumers and

  concealing the nature of UWM’s relationships with corrupted brokers.

         440. Similarly, UWM made additional misrepresentations with the intent of

  concealing the nature of UWM’s relationships with corrupted brokers. On March 1,

  2023, UWM represented “In the wholesale channel, the interests of the Independent

  Mortgage Broker and the borrower are aligned to achieve the best outcome for the

  borrower . . . .”163

         441. Because of the Co-conspirators’ misstatements and the design of the

  self-concealing controlled business arrangement, Plaintiffs had no knowledge of the




  162
     BiggerPockets Real Estate Podcast, Mortgage Rate Predictions from the
  Nation’s #1 Lender w/Mat Ishbia, at 14:00 (September 9, 2022)
  https://podcasts.apple.com/na/podcast/biggernews-september-mortgage-rate-
  predictions-from/id594419649?i=1000578498263. (emphasis added).
  163
     UWM Holdings Corporation, Annual Report (Form 10-K) (“UWM 2022 Form
  10-K”) at 5 (Mar. 1, 2023),
  https://www.sec.gov/ix?doc=/Archives/edgar/data/0001783398/000178339823000
  008/uwmc-20221231.htm. Notably, UWM removed this language from its 2023
  Annual Report.


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  referral and fee-splitting scheme until 2024 following Hunterbrook Media LLC’s

  analysis of the Co-conspirators’ practices.

        442. Because Plaintiffs—consisting of consumers seeking assistance in the

  residential mortgage process—had no practical way to independently detect the

  steering scheme, Plaintiffs did not possess information sufficient to alert a

  reasonable person of the possibility of wrongdoing, notwithstanding Plaintiffs’

  reasonable diligence.

        443. Plaintiffs reviewed the disclosures and documents provided to them,

  but given the self-concealing nature of the scheme, such documents did not suggest

  wrongdoing.

        444. Moreover, Plaintiffs relied on UWM’s, Ishbia’s, and the corrupted

  brokers’ pervasive fraudulent representations regarding the broker’ independence

  and commitment to shopping on Plaintiffs’ behalf. Indeed, Plaintiffs’ reliance on

  such misrepresentations, and their expectation that the corrupted brokers would

  independently shop on Plaintiffs’ behalf and counsel Plaintiffs on their options, is

  the whole reason Plaintiffs hired their respective brokers. Accordingly, Plaintiffs had

  no reason to investigate for information contradicting the brokers’ represented

  independence.

        445. The terms of the Wholesale Broker Agreement were not disclosed to

  Plaintiffs and Plaintiffs were not aware of such terms.



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        446. In any event, only Hunterbrook Media LLC’s complex analysis could

  provide information sufficient to place Plaintiffs on notice of the steering scheme.

        447. Hunterbrook Media LLC’s analysis is well beyond the scope of a

  reasonable residential mortgage consumer’s ability to investigate wrongdoing.

  Hunterbrook Media LLC spent over a thousand hours in-taking publicly available

  data, designing the database behind its investigation, and building out the analytics

  that run on top of it. The investigative team included a certified fraud examiner; a

  machine learning data scientist; and a former mortgage-backed securities trader.

        448. Accordingly, notwithstanding Plaintiffs’ reasonable diligence, because

  of the Co-conspirators’ wrongful concealment of the steering scheme, Plaintiffs

  were not on notice of the RESPA violations until Plaintiffs learned of the steering

  scheme in 2024 following Hunterbrook Media LLC’s analysis

        449. Although concealed prior to Hunterbrook Media LLC’s analysis,

  Plaintiffs and the class were subjected to settlement services and/or business incident

  to real estate settlement services tainted by kickbacks or referrals of business

  inherently tainted and biased by UWM’s unlawful steering scheme. UWM’s

  arrangements with brokers harmed borrowers’ ability to obtain affordable mortgages

  by placing inherent limits on settlement service choice and competition.

        450. Plaintiffs and the class were harmed in that, as a matter of law, they

  were entitled to purchase settlement services from providers that did not participate



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  in unlawful steering, referral, and/or fee-splitting schemes. Congress bestowed upon

  Plaintiffs and the class a right to real estate settlement procedures that are free from

  corruption, unearned commissions, and collusion, and has expressly provided for

  private enforcement of this protected right by empowering consumers to recover

  statutory damages from offending parties. See 12 U.S.C. §§ 2601, 2607(d)(2).

        451. As a result of UWM’s steering scheme and the misconduct alleged in

  this complaint, brokers funneled business to UWM out of consideration for their

  own pecuniary interests, and because UWM provided things of value (including

  promotions, free advertising, gifts, valuable access to services after reaching certain

  benchmarks of loyalty and referrals, etc.). Their decisions were not based upon an

  independent evaluation of the overall price and costs that Plaintiffs would pay for

  their home mortgages.

        452. Payment from UWM to the brokers were not associated with any goods

  or services actually provided by the brokers, or in the alternative, the value of any

  goods or services claimed to be provided by the brokers to UWM is not reasonably

  related to the payment from UWM such that the payment is not “bona fide” or within

  the protection of 12 U.S.C. § 2607(c)(2).

        453. UWM did not disclose the true nature of its relationship with brokers.

  To the contrary, UWM intended to actively mislead consumers that brokers were

  “completely independent” and shopped for the lowest price without restriction. The



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  reduction in healthy competition was itself a harm to Plaintiffs and the class. The

  scheme and unearned fees unnecessarily and artificially inflated the price Plaintiffs

  and the class paid for settlement services.

        454. The RESPA violations resulted in Plaintiffs and the class paying extra

  charges, fees, or commissions in connection with the closing of their loans, including

  the money paid directly or indirectly to brokers for services they did not provide.

        455. For the reasons set forth above, UWM violated RESPA, 12 U.S.C.

  §§ 2607(a) and (b). Pursuant 12 U.S.C. § 2607(d), UWM is liable to Plaintiffs and

  the class members charged for the settlement services involved in UWM’s violation

  in an amount equal to three times the amount of any charge paid for such settlement

  service. In accordance with RESPA, 12 U.S.C. § 2607(d), Plaintiffs also seek

  attorneys’ fees and costs of suit.

  II.   Claims of the Nationwide Class, or, in the Alternative, the
        Statewide/Multi-State Subclasses

                                    COUNT 4
                   Aiding and Abetting Breach of Fiduciary Duty

                        (All Plaintiffs Against All Defendants)

        456. Plaintiffs repeat and reallege the foregoing allegations as though they

  were fully set forth in this paragraph.

        457. Plaintiffs bring this claim on behalf of themselves and the Nationwide

  Class under the common law of aiding and abetting breach of fiduciary duty, as there

  are no true conflicts (case-dispositive differences) among various states’ laws.

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  Specifically, Plaintiffs bring this aiding and abetting breach of fiduciary duty claim

  on behalf of themselves and the Nationwide Class or, alternatively, State/Multi-State

  Subclasses as defined in Paragraph 329 and Tables A and B.

          458. In the alternative, Plaintiffs each bring this claim under the respective

  laws of the states where they purchased mortgages from UWM on behalf of a

  subclass comprised of (a) all class members who purchased UWM mortgages in

  those states, and (b) all class members who purchased UWM mortgages in states

  with substantially similar common law of aiding and abetting breach of fiduciary

  duty.

          459. A fiduciary relationship existed between Plaintiffs’ mortgage brokers

  and Plaintiffs.

          460. Plaintiffs’ mortgage brokers established a special relationship with

  Plaintiffs whereby the brokers caused Plaintiffs to repose confidence and trust in

  them by, inter alia, participating in the steering scheme, holding themselves out as

  “independent” mortgage brokers, and causing Plaintiffs to believe, through their

  affirmative misrepresentations and omissions, that they would act without allegiance

  to any particular lender and undertake a responsibility to provide unconflicted, good

  faith advice to Plaintiffs and to find the most affordable and/or most suitable deals

  on Plaintiffs’ behalf.




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           461. Mortgage brokers, including Plaintiffs’ mortgage brokers, have

  knowledge and expertise superior to the average borrower such that borrowers are

  in an unequal bargaining position as to their broker, who can exercise overmastering

  or dominant influence over borrowers

           462. Plaintiffs’ mortgage brokers exercised such overmastering or dominant

  influence over Plaintiffs when wrongfully recommending and executing the loans at

  issue.

           463. The brokers owed fiduciary duties to Plaintiffs and the class and were

  required to act in their best interests, with a duty of utmost good faith, trust,

  confidence, and candor, and a duty to act with the highest degree of honesty and

  loyalty.

           464. The decisions surrounding the purchase and financing of a home are

  among the most consequential financial decisions most Americans make in their

  lifetimes. Plaintiffs and the class hired mortgage brokers to provide honest and

  candid services in this process, and the mortgage brokers were paid commissions for

  their services. The price of a mortgage broker includes the assurance that the broker

  is acting as a fiduciary and with undivided loyalty toward his or her principal, free

  from conflict, influence, or inducement from another party.

           465. The brokers breached their fiduciary duties by not acting in the best

  interests of Plaintiffs and the class, demonstrating divided loyalties, failing to



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  disclose material facts, colluding with UWM to withhold information about more

  affordable loan options, accepting things of value from UWM to influence the affairs

  of their principals, entering agreements with UWM that created conflicts of interest

  and prevented them from providing honest services, and otherwise participating in

  the scheme alleged in this complaint.

        466. The brokers consented to and benefitted from being falsely advertised

  by UWM as having characteristics they did not possess and/or as performing

  services they could not perform in good faith as advertised.

        467. UWM knew that mortgage brokers owed a fiduciary duty to Plaintiffs,

  and UWM had actual knowledge of breaches of fiduciary duties owed to Plaintiffs

  by their brokers.

        468. UWM knowingly and substantially assisted, enabled, and facilitated,

  without authorization from Plaintiffs, systematic breaches of fiduciary duties owed

  to Plaintiffs. UWM enacted company policies and procedures whose purpose and

  effect was to achieve this result, including UWM’s Wholesale Broker Agreement,

  which was intended to prevent brokers from using their independent judgment on

  behalf of Plaintiffs and to categorically restrict brokers from providing lender

  options even when they were more affordable. Plaintiffs’ brokers were prevented

  by UWM from providing unconflicted recommendations about lenders and pricing.




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        469. As a direct and proximate result of UWM’s actions, substantial

  participation, and aiding and abetting brokers’ breach of fiduciary duty, Plaintiffs

  and the class were damaged.

        470. Because UWM’s acts of aiding and abetting breach of fiduciary duty

  were malicious, willful, and wanton, Plaintiffs and the class are entitled to punitive

  damages.

                                       COUNT 5
                                    Civil Conspiracy
                        (All Plaintiffs Against All Defendants)

        471. Plaintiffs repeat and reallege the foregoing allegations as though they

  were fully set forth in this paragraph.

        472. Plaintiffs bring this claim on behalf of themselves and the Nationwide

  Class under the common law of civil conspiracy to breach a fiduciary duty, as there

  are no true conflicts (case-dispositive differences) among various states’ laws.

  Specifically, Plaintiffs bring this civil conspiracy to breach of fiduciary duty claim

  on behalf of themselves and the Nationwide Class or, alternatively, State/Multi-State

  Subclasses as defined in Paragraphs 330 and Tables C and D.

        473. In the alternative, Plaintiffs each bring this claim under the respective

  laws of the states where they purchased mortgages from UWM on behalf of a

  subclass comprised of (a) all class members who purchased UWM mortgages in




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  those states, and (b) all class members who purchased UWM mortgages in states

  with substantially similar common law of civil conspiracy.

           474. A fiduciary relationship existed between Plaintiffs and their mortgage

  brokers.

           475. Plaintiffs’ mortgage brokers established a special relationship with

  Plaintiffs whereby the brokers caused Plaintiffs to repose confidence and trust in

  them by, inter alia, participating in the steering scheme, holding themselves out as

  “independent” mortgage brokers, and causing Plaintiffs to believe, through their

  affirmative misrepresentations and omissions, that they would act without allegiance

  to any particular lender and undertake a responsibility to provide unconflicted, good

  faith advice to Plaintiffs and to find the most affordable and/or most suitable deals

  on Plaintiffs’ behalf.

           476. Mortgage brokers, including Plaintiffs’ mortgage brokers, have

  knowledge and expertise superior to the average borrower such that borrowers are

  in an unequal bargaining position as to their broker and can exercise overmastering

  or dominant influence over borrowers

           477. Plaintiffs’ mortgage brokers exercised such overmastering or dominant

  influence over Plaintiffs when wrongfully recommending and executing the loans at

  issue.




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        478. The Plaintiffs’ mortgage brokers owed fiduciary duties to Plaintiffs and

  were only permitted to act in the best interests of Plaintiffs.

        479. Plaintiffs’ mortgage brokers breached their fiduciary duties by not

  acting in Plaintiffs’ best interests, demonstrating divided loyalties, failing to disclose

  material facts and conflicts of interest, colluding with UWM to withhold information

  about affordable loan options, accepting things of value from UWM to influence the

  affairs of the Plaintiffs and the class, entering agreements with UWM that created

  conflicts of interest and prevented brokers from providing honest services, and

  otherwise participating in the scheme alleged in this complaint.

        480. The brokers consented to and benefitted from being deceptively

  advertised by UWM as having characteristics they did not possess and/or as

  performing services they could not perform in good faith as advertised. These

  advertisements were designed to influence reasonable homebuyers based on false or

  misleading premises.

        481. UWM entered into one or more express or implied agreements with

  mortgage brokers with the purpose of breaching fiduciary duties owed to Plaintiffs

  and the class.

        482. UWM engaged in unlawful acts with mortgage brokers in furtherance

  of the conspiracy, including publishing false and deceptive advertising, colluding to

  deprive class members of honest services, entering agreements to prevent class



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  members from being informed about affordable loan options from UWM’s

  competitors, providing things of value to influence brokers to steer business to

  UWM, causing brokers to make fraudulent omissions or misrepresentations, and

  otherwise engaging in the conduct alleged in this complaint.

        483. UWM’s conspiracy substantially assisted or encouraged the

  wrongdoing conducted by the mortgage brokers; further, UWM had knowledge of

  this wrongdoing, and UWM’s actions taken in furtherance of the conspiracy were

  committed pursuant to a common scheme.

        484. As a direct and proximate result of UWM’s actions and participation in

  the conspiracy, Plaintiffs and the class were damaged in an amount to be proven at

  trial. Because UWM’s acts were malicious, willful, and wanton, Plaintiffs and the

  class are entitled to punitive damages.

                                       COUNT 6
                                   Unjust Enrichment

                        (All Plaintiffs Against All Defendants)
        485. Plaintiffs repeat and reallege the foregoing allegations as though they

  were fully set forth in this paragraph.

        486. In the event that no adequate legal remedy is available, Plaintiffs bring

  this unjust-enrichment claim on behalf of themselves and the Nationwide Class or,

  alternatively, a State/Multi-State Subclass as defined in Paragraph 331, supra.




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        487. Plaintiffs bring this claim on behalf of the Nationwide Class under the

  common law of unjust enrichment, as there are no material conflicts

  (case-dispositive differences) among the various states’ laws of unjust

  enrichment.164

        488. In the alternative, Plaintiffs, on behalf of the Nationwide Class, each

  bring this unjust-enrichment claim under the respective common law of the states

  where they purchased mortgages from UWM on behalf of a subclass comprised of

  (a) all class members who purchased UWM mortgages in those states, and (b) all

  class members who purchased UWM mortgages in states165 with substantially

  similar common law of unjust enrichment divided into three groups for

  manageability as follows: (i) California, Colorado, Connecticut, Washington D.C.,



  164
     See Powers v. Lycoming Engines, 245 F.R.D. 226, 231 (E.D.Pa.2007)
  (“Although there are numerous permutations of the elements of the [unjust
  enrichment] cause of action in the various states, there are few real differences.”);
  In re Prudential Ins. Co. Am. Sales Prac. Litig. Agent Actions, 148 F.3d 283, 315
  (3d Cir. 1998) (affirming nationwide certification of class for state common law
  claims including unjust enrichment); Singer v. AT&T Corp., 185 F.R.D. 681, 692
  (S.D. Fla. 1998) (granting certification of a nationwide class and holding that
  unjust enrichment is a “universally recognized cause[] of action that [is] materially
  the same throughout the United States.”); In re Abbott Laboratories Norvir Anti–
  Trust Litig., Nos. C 04–1511 CW, C 04–4203 CW, 2007 WL 1689899, at *9 (N.D.
  Cal. June 11, 2007) (“The idiosyncratic differences between state unjust
  enrichment laws are not sufficiently substantive to predominate over the shared
  claims.” (cleaned up)).
  165
     For purposes of this Amended Complaint, “states” includes Washington D.C.
  and Puerto Rico.


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  Hawaii, Illinois, Indiana, Iowa, Michigan, Mississippi, Nebraska, Nevada, New

  Hampshire, New Jersey, New York, Oklahoma, and Vermont; (ii) Arizona,

  Delaware, Louisiana, North Dakota, and Puerto Rico; and (iii) Alabama, Alaska,

  Arkansas, Florida, Georgia, Idaho, Kansas, Kentucky, Maine, Maryland,

  Massachusetts, Minnesota, Missouri, Montana, North Carolina, New Mexico, Ohio,

  Oregon, Pennsylvania, Rhode Island, South Carolina, South Dakota, Tennessee,

  Texas, Utah, Virginia, Washington, West Virginia, Wisconsin, and Wyoming.

        489. In the event that Plaintiffs fail to state a claim of unjust enrichment on

  behalf of a Nationwide Class, Plaintiffs alternatively bring this claim of unjust

  enrichment on behalf of the Statewide/Multi-State Subclasses as defined in

  Paragraph 331, supra.

        490. Plaintiffs and the class have conferred direct benefits on and enriched

  Defendants in the form of significant payments for closing costs, interest, and other

  fees in relation to the mortgage loans UWM sold to them as a result of Defendants’

  illicit steering scheme and enterprise.

        491. The benefits that Plaintiffs and the class conferred to Defendants were

  conferred neither officiously nor gratuitously.

        492. Plaintiffs and the class experienced an impoverishment, detriment, and

  loss by conferring more money to Defendants for a mortgage loan than Plaintiffs and




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  the class otherwise would have paid for a comparable wholesale mortgage loan but

  for Defendants’ illicit steering scheme.

        493. Defendants’ benefit is directly related and connected to Plaintiffs’ and

  the class’s loss because Plaintiffs and the class would not have experienced their loss

  apart from conferring upon Defendants the significant payments for closing costs,

  interest, and other fees as a result of Defendants’ illicit steering scheme.

        494. Defendants appreciate and have knowledge of the conferred benefits

  vis-à-vis the hundreds of millions of dollars reaped through their scheme.

        495. Defendants voluntarily and consciously accepted and retained the

  benefits conferred by Plaintiffs and the class.

        496. Plaintiffs and the class reasonably expected their brokers to operate

  independent of UWM.

        497. Because Defendants devoted substantial marketing efforts to convey

  the falsity that brokers who work with them are independent, Defendants appreciated

  and had knowledge of Plaintiffs’ and the class’s reasonable expectations that their

  brokers operated independently from UWM and were therefore providing the most

  competitive wholesale mortgage loan offers to Plaintiffs and the class.

        498. Defendants acted with conscious disregard of the rights of Plaintiffs and

  the class.




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        499. If Plaintiffs’ and the class’s other claims herein should fail, Plaintiffs

  and the class have no adequate remedy at law and equitable relief is necessary.

        500. No express contract, including Plaintiffs’ and the class’s mortgage loan

  agreements with UWM, covers the subject matter of Defendant’s inequitable

  acceptance and retention of Plaintiffs’ and the class’s money as a result of

  Defendant’s illicit steering scheme.

        501. No express contract, including Plaintiffs’ and the class’s mortgage loan

  agreements with UWM, provides a remedy for Defendant’s inequitable acceptance

  and retention of Plaintiffs’ and the class’s money as a result of Defendant’s illicit

  steering scheme.

        502. It is inequitable for Defendants to retain the conferred benefits from

  Plaintiffs and the class without restitution because Defendants engaged in

  unconscionable conduct; namely, Defendants induced the conferred benefits through

  deception and a steering scheme that would have been impossible but for

  Defendants’ intentional infiltration and corruption of the fiduciary relationships

  between brokers and homebuyers who were making one of the most consequential

  financial decisions in their lives.

        503. Defendants received money and value from their promotion and sale of

  mortgage loans that are traceable to the conduct alleged herein; these benefits have




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  been improperly retained and in good conscience should be returned to Plaintiffs and

  the class.

         504. In addition, Defendants parlayed hundreds of millions of dollars in

  gains from unscrupulously selling mortgages into dominant market share in the

  wholesale mortgage channel, with an economic value to be determined at trial, and

  for which disgorgement should be ordered.

         505. The financial benefits derived by Defendants rightfully belong to

  Plaintiffs and the class. The Court should compel Defendants to disgorge all

  inequitable proceeds received by them in a common fund for the benefit of Plaintiffs

  and the class.    A constructive trust should be imposed upon all wrongful or

  inequitable sums received by Defendants.

  III.   Claims of the State/Multi-State Subclasses

                                      COUNT 7
         Violation of the North Carolina Unfair and Deceptive Practices Act
                                    (“NCUDPA”),
                              N.C. Code §§ 75-1.1 et seq.
                   (Plaintiff Kim Schelble Against All Defendants)

         506. Plaintiffs repeat and reallege the foregoing allegations as though they

  were fully set forth in this paragraph.

         507. Plaintiff Kim Schelble brings this claim under laws of North Carolina

  on behalf of a subclass comprised of all class members who purchased UWM

  mortgages in (a) North Carolina, and (b) all states with substantially similar



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  consumer protection statutes prohibiting unfair and deceptive trade practices. In the

  alternative, Plaintiff brings this claim on behalf of a subclass of only those whose

  claims arise under North Carolina law.

        508. NCUDPA provides civil liability for “unfair or deceptive acts or

  practices in or affecting commerce . . . .” § 75-1.1. Defendants are liable for

  committing an unfair or deceptive act or practice, in or affecting commerce, that

  proximately caused injury to Plaintiffs and the class.

        509. Defendants’ steering scheme constitutes an unfair or deceptive act or

  practice. They made hundreds of millions of dollars, if not over a billion dollars, by

  deceiving Plaintiff and the class, and causing them to be deceived by their brokers.

  Defendants unfair or deceptive conduct, all of which was affecting commerce,

  offends established public policy and/or is immoral, unethical, oppressive,

  unscrupulous, and substantially injurious to consumers.

        510. Decisions about financing a home are among the most consequential

  financial decisions most Americans make, and they involve the most significant

  financial asset most Americans own. Defendants knew that most people have little

  experience surveying loan options for the best overall pricing (including interest

  rates, closing costs, commissions, fees, etc.), since most people have relatively few

  opportunities to purchase homes in their lifetimes. Defendants scheme depended on

  exploiting this fact.



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        511. While representing that consumers are entitled to rely on “completely

  independent” brokers to shop for the best price, free from restrictions on their

  independent judgment, UWM was secretly and causing brokers to systematically

  violate their fiduciary duties to steer business to UWM.

        512. Indeed, through Defendants’ systematic funding, promotion, and

  supporting of its brokers’ efforts to market themselves as “independent,” borrowers

  believed and relied on the supposed independence of these brokers.

        513. Defendants’ representations, omissions, and scheming were unfair,

  deceptive, and designed to mislead reasonable consumers. As the intended and

  inevitable result of Defendants’ conduct, Plaintiff and the class were subject to

  material omissions and non-disclosures from Defendants and their agents.

        514. Defendants owed Plaintiff and the class a duty to disclose the true facts

  about the influence UWM exerted over brokers because: (a) Defendants possessed

  exclusive knowledge that brokers were not and could not have been shopping for the

  overall best prices on behalf of their clients; (b) intentionally concealed the foregoing

  from Plaintiff and the class; and (c) made incomplete representations while

  purposefully withholding material facts that contradicted these representations.

        515. Defendants’ also provided things of value to brokers for the purpose of

  influencing them in their dealings with Plaintiff and the class, in violation of North




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  Carolina’s commercial bribery statute, § 14-353, a violation of which is also a

  violation of G.S. 75-1.1 as an unfair and deceptive trade practice.166

        516. But for the misrepresentations and unscrupulous conduct causing

  Plaintiff and the class to believe and rely on the so-called “independent” broker,

  Plaintiff and the class would not have paid to hire a conflicted broker and would not

  have paid as much for a home mortgage. The injury to Plaintiff and the class is not

  outweighed by any off-setting consumer or competitive benefits, and the injury is

  one which consumers could not reasonably have avoided.

        517. Plaintiff and the class suffered ascertainable loss caused by the

  Defendants’ misrepresentations, false advertising, and failure to disclose material

  information. But for these violations of the NCUDPA, Plaintiff and the class would

  not have paid to hire a conflicted broker and would not have paid as much for a home

  mortgage. Plaintiff and the class did not receive the benefit of their bargain as a result

  of the Defendants’ misconduct.

        518. As a direct and proximate result of its acts and omissions as set forth

  herein, Plaintiff and the class suffered actual damages in an amount to be determined




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     Kewaunee Scientific Corp., 130 N.C. App. at 581, 503 S.E.2d at 420; Media
  Network, Inc. v. Long Haymes Carr, Inc., 678 S.E.2d 671, 684 (N.C. App. 2009)
  (“if a UDTP claimant can establish that [defendant] committed commercial
  bribery, that is sufficient to make the UDTP claim”).


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  at trial. When a party is injured by a violation of the NCUDPA, treble damages must

  be awarded under N.C.G.S.A. § 75-16, in addition to attorneys’ fees.

                                    COUNT 8
           Violation of the Tennessee Consumer Protection Act (TCPA),
                       Tenn. Code Ann. §§ 47–18–101 et seq.
            (Plaintiffs Therisa and Billy Escue Against All Defendants)

        519. Plaintiffs repeat and reallege the foregoing allegations as though they

  were fully set forth in this paragraph.

        520. Plaintiffs Therisa D. Escue and Billy R. Escue, Jr. bring this claim

  under laws of Tennessee on behalf of a subclass comprised of all class members who

  purchased UWM mortgages in (a) Tennessee, and (b) all states with substantially

  similar consumer protection statutes prohibiting unfair and deceptive trade practices.

  In the alternative, Plaintiffs bring this claim on behalf of a subclass of only those

  whose claims arise under Tennessee.

        521. Plaintiffs and the class are “natural persons” and “consumers” within

  the meaning of Tenn. Code Ann. §§ 47-18-103(6), (18).

        522. Defendants are “natural persons” within the meaning of Tenn. Code

  Ann. § 47-18-103(18).

        523. Defendants’ conduct complained of herein involved “[s]ervices

  and a “consumer transaction” within the meaning of Tenn. Code Ann. §§ 47-18-

  103(23), (24).



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         524. Defendants’ conduct complained of herein affected “trade” or

  “commerce” within the meaning of Tenn. Code Ann. § 47-18-103(24).

         525. The TCPA prohibits “[u]nfair or deceptive acts or practices affecting

  the conduct of any trade or commerce,” including but not limited to: “[r]epresenting

  that goods or services have . . . characteristics, [or] . . . benefits . . . that they do not

  have . . .;” “[r]epresenting that . . . services are of a particular standard, quality or

  grade . . . if they are of another;” “[a]dvertising goods or services with intent not to

  sell them as advertised;” “[c]ausing confusion or misunderstanding with respect to

  the authority of a salesperson, representative or agent to negotiate the final terms of

  a consumer transaction;” and “[u]sing statements . . . in any advertisement which

  create a false impression of . . . quality . . . value . . . [or] usability [of] services

  offered, or which may otherwise misrepresent the goods or services in such a manner

  that later, on disclosure of the true facts, there is a likelihood that the buyer may be

  switched from the advertised goods or services to other goods or services.” Tenn.

  Code Ann. § 47-18-104.

         526. Defendants’ steering scheme constitutes an unfair and fraudulent act or

  practice. They made hundreds of millions of dollars, if not over a billion dollars, by

  deceiving Plaintiff and the class, and causing them to be deceived by their brokers,

  in the purchase of products or services. Defendants conduct offends established




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  public policy and/or is immoral, unethical, oppressive, unscrupulous, and

  substantially injurious to consumers.

        527. Decisions about financing a home are among the most consequential

  financial decisions most Americans make, and they involve the most significant

  financial asset most Americans own. Defendants knew that most people have little

  experience surveying loan options for the best overall pricing (including interest

  rates, closing costs, commissions, fees, etc.), since most people have relatively few

  opportunities to purchase homes in their lifetimes. Defendants’ scheme depended on

  exploiting this fact, and counted on Plaintiff and the class to be susceptible to

  misrepresentations and omissions that Defendants made or caused to be made.

        528. While representing that consumers are entitled to rely on “completely

  independent” brokers to shop for the best price, free from restrictions on their

  independent judgment, UWM was secretly and causing brokers to systematically

  violate their fiduciary duties to steer business to UWM.

        529. Indeed, through Defendants’ systematic funding, promotion, and

  supporting of its brokers’ efforts to market themselves as “independent,” borrowers

  believed and relied on the supposed independence of these brokers.

        530. Defendants violated the TCPA by engaging in unfair or deceptive acts,

  including representing that “independent” brokers had characteristics or benefits that

  they did not have; representing the brokers listed on UWM website have value or



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  functions that they did not have; misrepresenting the authority of brokers subject to

  UWM’s “Lock-In” policy to shop for better rates; and advertising with intent that

  Plaintiff and the class did not receive what was advertised.

        531. In the course of their business, Defendants failed to disclose and

  actively concealed the corrupt relationship between UWM and brokers, including

  UWM’s funding, promotion, and support of the brokers’ careers and marketing

  efforts to proclaim the brokers’ supposed independence to borrowers.

        532. Defendants also engaged in unlawful trade practices by employing

  deception, deceptive acts or practices, fraud, misrepresentations, or concealment,

  suppression, or omission of any material fact with intent that others rely upon

  concealment, suppression or omission, in connection with marketing and promoting

  “independent” brokers to Plaintiff and the class.

        533. At all relevant times, Defendants have known their steering scheme,

  deceptive advertising, and misrepresentations or omissions caused homebuyers to

  pay more for the costs associated with home loans because their brokers were not

  providing “completely independent” services and were not shopping for loans to find

  the lowest prices, as Defendants falsely asserted.

        534.   Defendants’ deceptive practices had a tendency or capacity to mislead

  and create a false impression in consumers, and were likely to and did in fact deceive

  reasonable consumers, including Plaintiff and the class, about the relationship



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  between UWM and brokers, and the brokers intent and ability to provide loyal and

  independent services to present the most affordable loan options.

        535. Defendants knew or should have known their conduct violated the

  TCPA.

        536. Defendants owed Plaintiff and the class a duty to disclose the true facts

  about the influence UWM exerted over brokers because: (a) Defendants possessed

  exclusive knowledge that brokers were not and could not have been shopping for the

  overall best prices on behalf of their clients; (b) intentionally concealed the foregoing

  from Plaintiff and the class; and (c) made incomplete representations while

  purposefully withholding material facts that contradicted these representations.

        537. Plaintiffs and the class suffered ascertainable loss caused by the

  Defendants’ misrepresentations, false advertising, and failure to disclose material

  information. But for these violations of the TCPA, Plaintiffs and the class would not

  have paid to hire a conflicted broker and would not have paid as much for a home

  mortgage. Plaintiffs and the class did not receive the benefit of their bargain as a

  result of the Defendants’ misconduct.

        538. Defendants’ violations present a continuing risk to Plaintiffs and the

  class, and the general public. Defendants’ unlawful acts and practices complained of

  here affect the public interest.




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        539. As a direct and proximate result of Defendants’ violations of the TCPA,

  Plaintiffs and the class have suffered injury-in-fact and/or actual damage. Pursuant

  to Tenn. Code Ann. § 74-18-109(a), they seek monetary relief against the

  Defendants measured as actual damages in an amount to be determined at trial, treble

  damages as a result of the Defendants’ willful or knowing violations, and any other

  just and proper relief available under the TCPA, including injunctive relief.

                                      COUNT 9
         Violation of the Florida Deceptive and Unfair Trade Practices Act
                                    (“FDUTPA”),
                             Fla. Stat. §§ 501.201, et seq.
           (Plaintiffs Brian P. Weatherill, Jill Jeffries, and Daniel Singh
                              Against All Defendants)

        540. Plaintiffs repeat and reallege the foregoing allegations as though they

  were fully set forth in this paragraph.

        541. Plaintiffs Weatherill, Jeffries, and Singh bring this claim under laws of

  Florida on behalf of a subclass comprised of all class members who purchased UWM

  mortgages in (a) Florida, and (b) all states with substantially similar consumer

  protection statutes prohibiting unfair and deceptive trade practices. In the alternative,

  Plaintiff brings this claim on behalf of a subclass of only those whose claims arise

  under Florida law. Plaintiffs and the class are “[c]onsumers” within the meaning of

  Fla. Stat. § 501.203(7).




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        542. Defendants’ conduct complained of herein affects “[t]rade” or

  “commerce” within the meaning of Fla. Stat. § 501.203(8).

        543. Defendants violated the Florida Deceptive and Unfair Trade Practices

  Act, Fla. Stat. § 501.204, et seq., by engaging in “[u]nfair methods of competition,

  unconscionable acts or practices, and unfair or deceptive acts or practices in the

  conduct of any trade or commerce.”

        544. Defendants’ steering scheme constitutes both an unfair act or practice,

  and a deceptive act or practice, which offends established public policy and is

  substantially injurious to consumers. Defendants made hundreds of millions of

  dollars, if not over a billion dollars, by deceiving Plaintiffs and the class, exploiting

  UWM’s power and position, and causing Plaintiffs and the class to be deceived by

  their brokers.

        545. While representing that consumers are entitled to rely on “completely

  independent” brokers to shop for the best price, free from restrictions on their

  independent judgment, UWM was secretly and causing brokers to systematically

  violate their fiduciary duties to steer business to UWM.

        546. Indeed, through Defendants’ systematic funding, promotion, and

  supporting of its brokers’ efforts to market themselves as “independent,” borrowers

  believed and relied on the supposed independence of these brokers.




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        547. As the intended and inevitable result of Defendants’ conduct, Plaintiffs

  and the class were subjected to material omissions and non-disclosures from their

  agents, who received unauthorized things of value from UWM for the purpose of

  influencing them in their dealings with Plaintiffs and the class.

        548. Defendants failed to disclose, actively concealed, and affirmatively

  misled Plaintiffs and the class about the corrupt relationship between UWM and

  brokers. Defendants falsely represented and advertised the brokers listed on UWM

  website as having value or functions that they did not have, with intent that Plaintiffs

  and the class would pay for products or services they did not receive.

        549. Defendants’ misrepresentations and material omissions were likely to

  deceive a reasonable person under the circumstances, and Defendants knew this.

  Defendants owed a duty to disclose the true facts about the influence UWM exerted

  over brokers because: (a) Defendants possessed exclusive knowledge that brokers

  were not and could not have been shopping for the overall best prices on behalf of

  their clients; (b) concealed the foregoing from Plaintiffs and the class; and (c) made

  incomplete representations while purposefully withholding material facts that

  contradicted these representations.

        550. But for the misrepresentations and unscrupulous conduct causing

  Plaintiffs and the class to believe and rely on the so-called “independent” broker,

  Plaintiffs and the class would not have paid to hire a conflicted broker and would



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  not have paid as much for a home mortgage. The injury to Plaintiffs and the class is

  not outweighed by any off-setting consumer or competitive benefits, and the injury

  is one which consumers could not reasonably have avoided.

         551. Defendants’ violations present a continuing risk to Plaintiffs and the

  class, and the general public. Defendants’ unlawful acts and practices complained of

  here affect the public interest. Plaintiffs and the class seek monetary relief against

  the Defendants measured as actual damages in an amount to be determined at trial

  and any other just and proper relief under Florida law.

                                     COUNT 10
          Violation of the California Unfair Competition Law (“CUCL”),
                       Cal. Bus. & Prof. Code §§ 17200 et seq.

               (Plaintiff Kenneth C. Morandi Against All Defendants)

         552. Plaintiffs repeat and reallege the foregoing allegations as though they

  were fully set forth in this paragraph.

         553. Plaintiff brings this claim under the laws of California on behalf of a

  subclass comprised of all class members who purchased UWM mortgages in (a)

  California, and (b) all states with substantially similar consumer protection statutes

  prohibiting unfair and deceptive trade practices. In the alternative, Plaintiff brings

  this claim on behalf of a subclass of only those whose claims arise under California

  law.




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        554. Plaintiff and the class are “persons” within the meaning of Cal. Bus. &

  Prof. Code § 17201.

        555. Defendants are “persons” within the meaning of Cal. Bus. & Prof. Code

  § 17201.

        556. The CUCL provides civil liability for “any unlawful, unfair or

  fraudulent business practice.” Cal. Bus. & Prof. Code § 17200. Defendants are liable

  for committing an unlawful, unfair, or fraudulent act or practice, in or affecting

  commerce, that proximately caused injury to Plaintiff and the class.

        557. Defendants’ steering scheme constitutes an unlawful, unfair, or

  fraudulent business practice. They made hundreds of millions of dollars, if not over

  a billion dollars, by deceiving Plaintiff and the class, and causing them to be

  deceived by their brokers. Defendants’ unfair or deceptive conduct, all of which was

  affecting commerce, offends established public policy and/or is immoral, unethical,

  oppressive, unscrupulous, and substantially injurious to consumers.

        558. Decisions about financing a home are among the most consequential

  financial decisions most Americans make, and they involve the most significant

  financial asset most Americans own. Defendants knew that most people have little

  experience surveying loan options for the best overall pricing (including interest

  rates, closing costs, commissions, fees, etc.), since most people have relatively few




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  opportunities to purchase homes in their lifetimes. Defendants scheme depended on

  exploiting this fact.

        559. While representing that consumers are entitled to rely on “completely

  independent” brokers to shop for the best price, free from restrictions on their

  independent judgment, UWM was secretly and causing brokers to systematically

  violate their fiduciary duties to steer business to UWM.

        560. Indeed, through Defendants’ systematic funding, promotion, and

  supporting of its brokers’ efforts to market themselves as “independent,” borrowers

  believed and relied on the supposed independence of these brokers.

        561. Defendants owed Plaintiff and the class a duty to disclose the true facts

  about the influence UWM exerted over brokers because: (a) Defendants possessed

  exclusive knowledge that brokers were not and could not have been shopping for the

  overall best prices on behalf of their clients; (b) intentionally concealed the foregoing

  from Plaintiff and the class; and (c) made incomplete representations while

  purposefully withholding material facts that contradicted these representations.

        562. In the course of their business, Defendants failed to disclose and

  actively concealed the corrupt relationship between UWM and brokers, including

  UWM’s funding, promotion, and support of the brokers’ careers and

  marketing efforts to proclaim the brokers’ supposed independence to borrowers.




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        563. Defendants’ scheme also disseminated or caused to be disseminated

  before the public untrue or misleading representations, which Defendants knew or

  should have known were misleading, in violation of California’s False Advertising

  Law, Cal. Bus. & Prof. Code § 17500, a violation of which is also an unfair trade

  practice in violation of § 17200 as an unlawful or unfair business practice.

        564. But for the misrepresentations and unscrupulous conduct causing

  Plaintiff and the class to believe and rely on the so-called “independent” broker,

  Plaintiff and the class would not have paid to hire a conflicted broker and would not

  have paid as much for a home mortgage. The injury to Plaintiff and the class is not

  outweighed by any off-setting consumer or competitive benefits, and the injury is

  one which consumers could not reasonably have avoided.

        565. Plaintiffs and the class suffered ascertainable loss caused by the

  Defendants’ misrepresentations, false advertising, and failure to disclose material

  information. But for these violations of the UCL, Plaintiffs and the class would not

  have paid to hire a conflicted broker and would not have paid as much for a home

  mortgage. Plaintiffs and the class did not receive the benefit of their bargain as a

  result of the Defendants’ misconduct.

        566. As a direct and proximate result of Defendants’ violations of the CUCL,

  Plaintiff and the class suffered injury-in-fact and are entitled to restitution.




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                                     COUNT 11
              Violation of the California Legal Remedies Act (CLRA),
                            Cal. Civ. Code §§ 1750 et seq.

         567. Plaintiffs repeat and reallege the foregoing allegations as though they

  were fully set forth in this paragraph.

         568. Plaintiff brings this claim under the laws of California on behalf of a

  subclass comprised of all class members who purchased UWM mortgages in (a)

  California, and (b) all states with substantially similar consumer protection statutes

  prohibiting unfair and deceptive trade practices. In the alternative, Plaintiff brings

  this claim on behalf of a subclass of only those whose claims arise under California

  law.

         569. Plaintiff and the class are “[p]erson[s]” and “[c]onsumer[s]” within the

  meaning of Cal. Civ. Code §§ 1761(c), (d).

         570. Defendants are “[p]erson[s]” within the meaning of Cal. Civ. Code §

  1761(c).

         571. Defendants’ conduct complained of herein involved a “transaction” and

  “[g]oods” or “[s]ervices” within the meaning of Cal. Civ. Code §§ 1761(a), (b), (e).

         572. The CLRA provides civil liability for “unfair or deceptive acts or

  practices.” Cal. Civ. Code § 1770(a). Defendants are liable for committing an unfair

  or deceptive act or practice, in or affecting commerce, that proximately caused injury

  to Plaintiff and the class.



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         573. The CLRA prohibits: “[m]isrepresenting the source, sponsorship,

  approval or certification of goods or services;” “[m]isrepresenting the affiliation,

  connection, or association with . . . another;” “ [r]epresenting that goods or services

  have . . . characteristics . . . benefits . . . that they do not have or that a person has a

  sponsorship, approval, status, affiliation, or connection that the person does not

  have;” “[r]epresenting that goods or services are of a particular . . . quality . . . if they

  are of another;” “ [a]dvertising goods or services with intent not to sell them as

  advertised;” and “[m]isrepresenting the authority of a salesperson, representative, or

  agent to negotiate the final terms of a transaction with a consumer.”

         574. Defendants’ steering scheme constitutes an unfair or deceptive act or

  practice. They made hundreds of millions of dollars, if not over a billion dollars, by

  deceiving Plaintiff and the class, and causing them to be deceived by their brokers.

  Defendants’ unfair or deceptive conduct, all of which was affecting commerce,

  offends established public policy and/or is immoral, unethical, oppressive,

  unscrupulous, and substantially injurious to consumers.

         575. Decisions about financing a home are among the most consequential

  financial decisions most Americans make, and they involve the most significant

  financial asset most Americans own. Defendants knew that most people have little

  experience surveying loan options for the best overall pricing (including interest

  rates, closing costs, commissions, fees, etc.), since most people have relatively few



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  opportunities to purchase homes in their lifetimes. Defendants scheme depended on

  exploiting this fact.

        576. While representing that consumers are entitled to rely on “completely

  independent” brokers to shop for the best price, free from restrictions on their

  independent judgment, UWM was secretly and causing brokers to systematically

  violate their fiduciary duties to steer business to UWM.

        577. Indeed, through Defendants’ systematic funding, promotion, and

  supporting of its brokers’ efforts to market themselves as “independent,” borrowers

  believed and relied on the supposed independence of these brokers.

        578. Defendants violated the CLRA by engaging in unfair or deceptive acts,

  including representing that “independent” brokers had characteristics or benefits that

  they did not have; representing the brokers listed on UWM website have value or

  functions that they did not have; advertising with the intent that Plaintiff and the

  class would not receive what was advertised; misrepresenting the authority of

  brokers subject to UWM’s “Lock-In” policy to shop for better rates; and making

  misrepresentations and omissions of material facts relating to brokers’ independence

  that tend to deceive borrowers and the public.

        579. Defendants’ representations, omissions, and scheming were unfair,

  deceptive, and designed to mislead reasonable consumers. As the intended and




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  inevitable result of Defendants’ conduct, Plaintiff and the class were subject to

  material omissions and non-disclosures from Defendants and their agents.

        580. But for the misrepresentations and unscrupulous conduct causing

  Plaintiff and the class to believe and rely on the so-called “independent” broker,

  Plaintiff and the class would not have paid to hire a conflicted broker and would not

  have paid as much for a home mortgage. The injury to Plaintiff and the class is not

  outweighed by any off-setting consumer or competitive benefits, and the injury is

  one which consumers could not reasonably have avoided.

        581. Defendants also engaged in unlawful trade practices by employing

  deception, deceptive acts or practices, fraud, misrepresentations, or concealment,

  suppression, or omission of any material fact with intent that others rely upon

  concealment, suppression or omission, in connection with selling home mortgages

  to Plaintiff and the class.

        582. Plaintiff and the class suffered ascertainable loss caused by the

  Defendants’ misrepresentations, false advertising, and failure to disclose material

  information. But for these violations of the CLRA, Plaintiff and the class would not

  have paid to hire a conflicted broker and would not have paid as much for a home

  mortgage. Plaintiff and the class did not receive the benefit of their bargain as a result

  of the Defendants’ misconduct.




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        583. As a direct and proximate result of its acts and omissions as set forth

  herein, Plaintiff and the class suffered injury-in-fact and/or actual damages in an

  amount to be determined at trial. When a party is injured by a violation of the CLRA,

  punitive damages may be awarded under Cal. Civ. Code § 1780, in addition to

  attorneys’ fees.




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                               PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs, both individually and on behalf of the Nationwide

  Class and State/Mutli-State Subclasses, demand a trial by jury on all claims so

  triable, and respectfully request that the Court (i) certify the proposed Nationwide

  and State Classes, (ii) designate the named Plaintiffs as representatives of the

  Nationwide Class and their respective State/Multi-State Subclasses, (iii) appoint the

  undersigned as Class Counsel, (iv) designate any appropriate issue classes under the

  applicable provisions of Federal Rule of Civil Procedure 23, and (v) enter judgment

  in Plaintiffs’ favor against Defendants including the following relief:

        A. Compensatory damages and costs for economic loss;

        B. Restitution and disgorgement of all profits, direct or indirect, illegally
           obtained;
        C. Equitable and injunctive relief, as permitted by law or equity;
        D. Statutory damages, treble damages, and penalties;

        E. Punitive and exemplary damages as permitted by law;

        F. A determination that Defendants are jointly and severally liable for all
           monetary damages awarded;

        G. A determination that Defendants are financially responsible for all Class
           notices and the administration of Class relief;
        H. An award of Plaintiffs’ attorneys’ fees, costs, and expenses in this action
           to the maximum extent permitted by law;

        I. An award of pre-judgment and post-judgment interest to the maximum
           extent permitted by law; and
        J. Such other and further relief as the Court deems just and proper.


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  Dated: August 30, 2024
         Detroit, Michigan
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